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               EXHIBIT 2
  to Declaration of Micah G. Block in Support of
  Plaintiffs’ Opposition to Defendants’ Motion for
 Summary Judgment or Partial Summary Judgment
             Case 4:19-cv-07123-PJH         Document 679-6        Filed 04/04/25   Page 2 of 139
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3226
     CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                    ·

·1· · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · OAKLAND DIVISION

·4· __________________________________

·5· WHATSAPP INC., a Delaware· · · · · )
· · corporation, and FACEBOOK, INC.,· ·)
·6· a Delaware corporation,· · · · · · )
· · a Delaware corporation,· · · · · · )
·7· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · Plaintiffs,· · · · · · )
·8· · · v.· · · · · · · · · · · · · · ·) Case No.
· · · · · · · · · · · · · · · · · · · ·) 4:19-cv-07123-PJH
·9· NSO GROUP TECHNOLOGIES LIMITED· · ·)
· · and Q CYBER TECHNOLOGIES LIMITED,· )
10· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · ·)
11· · · · · · · Defendants.· · · · · · )
· · ___________________________________)
12

13· · · · HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14· · · · · VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15· · · · · · · · · · ·DEPOSITION OF

16· · · WHATSAPP INC., by and through its Designated

17· · · · · · · · · · ·Representative,

18· · · · · · · · · · · · CARL WOOG

19· · · · · · · ·Palo Alto, California 94304

20· · · · · · · ·Wednesday, August 14, 2024

21

22

23· Reported Stenographically by:
· · MARY J. GOFF
24· CSR No. 13427
· · WA CSR No. 21030779
25· Job No. 3226
· · PAGES 1-384
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                                                 Page 174                                                    Page 175
·1· working with great intensity to identify what was       ·1· and they were working to put to stop.
·2· going on.                                               ·2· · · ·Q· · And do you know what that was based on,
·3· · · ·Q· · So you have never spoken to                   ·3· that attribution to NSO?
·4·          , as far as you know?                          ·4· · · ·A· · Sir, based on their technical expertise.
·5· · · ·A· · Sorry.· I don't believe so, but I don't       ·5· · · ·Q· · So you don't know?
·6· recall if I have.                                       ·6· · · ·A· · I'm not a technical expert, no, sir.
·7· · · ·Q· · Do you know at all what his                   ·7· · · ·Q· · Okay.· So you don't know?
·8· responsibilities with respect to either WhatsApp or     ·8· · · ·A· · No, sir.
·9· Facebook were?                                          ·9· · · · · · ATTORNEY ANDRES:· Objection, asked and
10· · · ·A· · Not that I recall.                            10· answered.
11· · · ·Q· · Do you know whether Mr. Robinson was          11· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Are all
12· attributing the exploitation of this vulnerability      12· WhatsApp chats end-to-end encrypted?
13· to NSO as of May 5, 2019?                               13· · · ·A· · Sir, we have a distinction between what we
14· · · ·A· · Sir I do not know what Mr. Robinson           14· refer to as "personal WhatsApp chats" and chats that
15· determined at that -- at that point in time.            15· are with businesses that use a technology service
16· · · ·Q· · Do you know if WhatsApp more generally was    16· called an "API."We have a White Paper that explains
17· attributing anything to NSO as of May 5, 2019?          17· this.· Generally.
18· · · ·A· · I believe that was our -- our -- our          18· · · · · · I think the way we think of WhatsApp is
19· strongest hypothesis that the team was working to       19· kind of how people like you and me would chat with
20· validate and confirm.                                   20· one another, but we also have these business
21· · · ·Q· · And do you know what that was based on?       21· services.
22· · · ·A· · Sir, I -- my recollection, I recall           22· · · · · · Those business services using the API, we
23· security engineers telling me that they believed        23· do not designate those at end-to-end encrypted.· But
24· that NSO was attacking our users.                       24· what people are thinking of when they are using
25· · · · · · And this was an attack that was underway,     25· their WhatsApp in their handset on their -- on their
                                                 Page 176                                                    Page 177
·1· phones app to app, those are indeed end-to-end          ·1· · · ·Q· · How much does it cost for a user to
·2· encrypted.· We usually refer to those as personal       ·2· establish a WhatsApp account?
·3· images.                                                 ·3· · · ·A· · Sir --
·4· · · ·Q· · All right.· So all WhatsApp personal          ·4· · · · · · ATTORNEY ANDRES:· Objection, relevance.
·5· messages are end-to-end encrypted?                      ·5· · · ·A· · -- sir, accounts are free to establish.
·6· · · ·A· · Yes, sir.                                     ·6· There's no cost.
·7· · · ·Q· · And all WhatsApp calls are end-to-end         ·7· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) So what --
·8· encrypted?                                              ·8· what does a person need in order to set up a
·9· · · ·A· · Yes, sir.                                     ·9· WhatsApp account?
10· · · ·Q· · Is that true both with respect to voice       10· · · ·A· · Sir, you need a mobile phone, and you need
11· calls and video calls?                                  11· the ability to download the app from either the
12· · · ·A· · Yes, voice and video calls are both           12· Apple App Store or the Google Play Store.
13· protected by end-to-end encryption on an                13· · · · · · Or you can also download the app directly
14· application-to-application basis.                       14· from our website, if you're having trouble accessing
15· · · ·Q· · Does a WhatsApp user have to pay extra for    15· those stores.· And then you download that
16· the end-to-end encryption or is that a standard         16· application onto your phone.
17· feature?                                                17· · · · · · And then from there you open the app.
18· · · ·A· · That's a standard feature, sir, and it        18· There'll be some information there about our Terms
19· cannot be turned off.                                   19· of Service that you would need to agree to prior to
20· · · ·Q· · So it's impossible to have a WhatsApp         20· using our service.
21· account -- a personal WhatsApp account without          21· · · · · · And then there's just some initial setup
22· end-to-end encryption, correct?                         22· questions that -- that we have.· And then from there
23· · · ·A· · That is how our service works, sir.           23· you're pretty much off and running.
24· · · ·Q· · So yes?                                       24· · · ·Q· · Well, what are the initial setup
25· · · ·A· · Yes.                                          25· questions?
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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                   Pages· 178..181
                                                 Page 178                                                    Page 179
·1· · · ·A· · Well --                                       ·1· · · ·A· · I believe so.
·2· · · · · · ATTORNEY ANDRES:· Objection, relevance.       ·2· · · ·Q· · It could be symbols?· It doesn't even have
·3· · · ·A· · -- well -- so you have to enter your phone    ·3· to be letters?
·4· number in order to effectively activate your            ·4· · · ·A· · I don't know if you can use symbols.
·5· account.                                                ·5· That -- sometimes apps have trouble with symbols.
·6· · · · · · So you enter your phone number, and that      ·6· · · · · · But perhaps.· I don't know for sure.· You
·7· will send an SMS message to you, which you -- you       ·7· have to put in something, I believe, in that field.
·8· type in a code for that, and then that allows you to    ·8· · · ·Q· · But it doesn't have to be your name?
·9· start your account.                                     ·9· · · ·A· · It does not have to be your name, sir.
10· · · · · · I think we also ask for a name, which is      10· · · ·Q· · Other than what you have described right
11· optional.· You can choose your actual name.· You can    11· now, is there any other vetting that WhatsApp does
12· choose a nickname.· I think there's an option to put    12· prior to granting a user account to someone?
13· in a photo and things like that, which you can do,      13· · · ·A· · Sir, I'm not an expert in this, but we do
14· if you chose.                                           14· have quite a talented group of people that are
15· · · · · · And after that, you're able to chat freely    15· looking for signals of inauthenticity and perhaps
16· and securely.                                           16· abuse right from the setup time.
17· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) So the "Name     17· · · · · · So what we're looking for there is
18· Field" is not required?                                 18· potentially accounts that may be intended to be set
19· · · ·A· · I don't believe so, sir.· I think you have    19· up for spam or automation or other account setup
20· to enter something in that name, but you don't have     20· that is inauthentic in some way.
21· to chose your actual name.                              21· · · · · · I'm drawing to draw a distinction between
22· · · · · · Does that --                                  22· that and a normal person who is just trying to use
23· · · ·Q· · Could --                                      23· WhatsApp for private and secure calls.
24· · · ·A· · -- distinction make sense?                    24· · · ·Q· · So like a -- you're trying to ferret out
25· · · ·Q· · Okay.· It could be literally anything?        25· whether it's an actual person or a bot that's
                                                 Page 180                                                    Page 181
·1· setting the account?                                    ·1· multiple apps on one phone.
·2· · · ·A· · I think that's fair to say, sir, yes.         ·2· · · · · · So for example, we have the WhatsApp app
·3· · · ·Q· · Okay.· But assuming that somebody is an       ·3· and we have WhatsApp Business app.
·4· actual person, literally anybody could sign up for a    ·4· · · · · · And you could use your phone and download
·5· WhatsApp account, as long as they have a mobile         ·5· both instances of WhatsApp on your phone.
·6· phone and the ability to download the WhatsApp app,     ·6· · · · · · And the reason why some people want to do
·7· correct?                                                ·7· that is because they're a small business and they
·8· · · ·A· · Right.· And then that text message            ·8· like to separate their chats from their personal use
·9· authentication that I mentioned.· Those basic steps.    ·9· and their business use.· So it effectively gives
10· · · ·Q· · Right.· But you don't, like, say:· Like,      10· them two Inboxes to do so.
11· well, is this a person who we really want using our     11· · · · · · And the Business app has some of its
12· system?                                                 12· own -- different policies and rules that I'm less
13· · · · · · They just decide themselves, right?           13· familiar with.· But effectively that's designed for
14· · · ·A· · That's right.                                 14· the small business owner that relies on WhatsApp to,
15· · · ·Q· · Can a person have multiple WhatsApp           15· you know, run their business, respond to customer
16· accounts with different phone numbers?                  16· inquiries, and hopefully run a successful business
17· · · ·A· · Yes.· But basically a phone number -- an      17· that -- for their customers.
18· easier way of thinking of it is that an account is      18· · · ·Q· · So let's go back to the names.
19· tied to a phone number.                                 19· · · · · · You said that -- that you have to -- that
20· · · · · · So if you have two phones, then you could     20· your belief is that you have to put in something in
21· have a WhatsApp on one phone and a WhatsApp on the      21· the -- in the "Setup" field that requests a name,
22· other phone.· That would be two accounts, but you       22· but it's incons -- inconsequential what it is that's
23· may be the same -- the same person.· We have that.      23· put into that field; is that fair?
24· · · · · · And then we also have the ability to          24· · · ·A· · That's fair.· It's a user choice.
25· have -- we have multiple -- the ability to install      25· · · ·Q· · And that's permitted by the WhatsApp Terms



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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                               Pages· 382..384
                                                        Page 382                                                           Page 383
·1                                                                 ·1· · · ·I, MARY J. GOFF, CSR No. 13427, Certified
·2                                                                 ·2· Shorthand Reporter of the State of California,
·3                                                                 ·3· certify;
·4· · · ·I, CARL WOOG, do hereby declare under penalty             ·4· · · ·That the foregoing proceedings were taken
·5· of perjury that I have read the foregoing                      ·5· before me at the time and place herein set forth, at
·6· transcript; that I have made any corrections as                ·6· which time the witness declared under penalty of
·7· appear noted, in ink, initialed by me, or attached             ·7· perjury; that the testimony of the witness and all
·8· hereto; that my testimony as contained herein, as              ·8· objections made at the time of the examination were
·9· corrected, is true and correct.
                                                                   ·9· recorded stenographically by me and were thereafter
10· · · ·EXECUTED this_______ day of_________________,
                                                                   10· transcribed under my direction and supervision; that
11· 20____, at___________________, ___________________.
                                                                   11· the foregoing is a full, true, and correct
· · · · · · · (City)· · · · · · · · (State)
                                                                   12· transcript of my shorthand notes so taken and of the
12
                                                                   13· testimony so given;
13
                                                                   14· · · ·That before completion of the deposition,
14· · · · · · · ·_______________________
                                                                   15· review of the transcript ( ) was (XX) was not
· · · · · · · · · · · · CARL WOOG
                                                                   16· requested:· ·(· ·) that the witness has failed or
15
                                                                   17· refused to approve the transcript.
16
                                                                   18· · · ·I further certify that I am not financially
17
                                                                   19· interested in the action, and I am not a relative or
18
19                                                                 20· employee of any attorney of the parties, nor of any

20                                                                 21· of the parties.

21                                                                 22· · · ·I declare under penalty of perjury under the

22                                                                 23· laws of California that the foregoing is true and
23                                                                 24· correct, dated this· · day of· · · ·, 2024.
24                                                                 25· · · · · · · ·_________________________
25                                                                 · · · · · · · · ·MARY J. GOFF

                                                        Page 384
·1· · · · · · · · · · · ERRATA SHEET
·2· · · · · · · · · · · SWIVEL LEGAL
·3· · · · · · · · ·560 W Main Street, C163
·4· · · · · · · ·Alhambra, California 91801
·5· · · · · · · · · · · 213-788-2327
·6· · · · · · · CASE:· WhatsApp v. NSO Group
·7· PAGE· LINE· FROM· · · · · · · · · · · TO
·8· ____|______|_________________________|______________
·9· ____|______|_________________________|______________
10· ____|______|_________________________|______________
11· ____|______|_________________________|______________
12· ____|______|_________________________|______________
13· ____|______|_________________________|______________
14· ____|______|_________________________|______________
15· ____|______|_________________________|______________
16· ____|______|_________________________|______________
17· ____|______|_________________________|______________
18
19· · · · · ______________________________
20· · · · · CARL WOOG
21· Subscribed and sworn to before me
22· this _____ day of _____________, 2024.
23· ______________________________________
24· · · · · · Notary Public
25




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               EXHIBIT 3
  to Declaration of Micah G. Block in Support of
  Plaintiffs’ Opposition to Defendants’ Motion for
 Summary Judgment or Partial Summary Judgment
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     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3296
     WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                              Page 1
                                                                                                   Page 1
1                          UNITED STATES DISTRICT COURT

2                        NORTHERN DISTRICT OF CALIFORNIA

3                                    OAKLAND DIVISION

4     __________________________________

5     WHATSAPP INC., a Delaware          )
      corporation, and FACEBOOK, INC.,   )
6     a Delaware corporation,            )
      a Delaware corporation,            )
7                                        )
                  Plaintiffs,            )
8         v.                             ) Case No.
                                         ) 4:19-cv-07123-PJH
9     NSO GROUP TECHNOLOGIES LIMITED     )
      and Q CYBER TECHNOLOGIES LIMITED, )
10                                       )
                                         )
11                Defendants.            )
      ___________________________________)
12

13               HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14                  VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15                                     DEPOSITION OF

16           WHATSAPP INC., by and through its Designated

17                                     Representative,

18                                   CLAUDIU GHEORGHE

19                           Palo Alto, California 94304

20                              Friday, August 16, 2024

21

22    Reported Stenographically by:
      MARY J. GOFF
23    CSR No. 13427
      WA CSR No. 21030779
24    Job No. 3296
      PAGES 1-295
25
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                                                Page 26                                                      Page 27
1     A I'm confused.                                      1 it?
2     Q Let me rephrase. Scratch that.                     2     A Yes.
3     A Yeah.                                              3     Q And so that structure would involve some
4     Q Are the stanzas in XML?                           4 parameters and parameter values -- sort of parameter
5     A I believe it was an XML protocol, yes.            5 names and parameter values?
6     Q Okay. And so the format of the stanzas is         6        ATTORNEY BLOCK: Objection to form.
7 defined somewhere?                                      7      A It involves that, but not just that.
8     A Like right now?                                   8      Q (BY ATTORNEY WEINBERG) What else does it
9     Q In 2019. All of my questions will be              9 involve?
10 about how the system was in May of 2019.               10     A It involves other types of stanzas as well
11     A Okay. I believe there was a -- like a            11 that are child stanzas. So there's like a hierarchy
12 text document that described the stanzas in the        12 of stanzas, essentially.
13 protocol.                                              13     Q All right. So it's XML, so it's a
14        In one of the repositories that we had, it      14 hierarchical --
15 was called "the common repo" that was referenced by    15     A Yeah.
16 all the client and the server engineers.               16     Q -- structure?
17        And at that time we actually had a formal       17     A Yeah.
18 representation of the protocol in another system       18     Q And so an offer stanza, for example, is a
19 that actually led to the discovery of the attack --    19 kind of VoIP stanza?
20     Q All right.                                       20     A It's a type of stanza, yeah.
21     A -- so there was -- yeah.                         21     Q Okay. And so the structure for that kind
22     Q So a stanza, which you said is an                22 of stanza is defined in this common repo?
23 XML-defined message --                                 23     A Yeah.
24     A Yes.                                             24     Q Okay. Let me put a document in front of
25     Q -- has a certain -- certain structure to         25 you. 1167.
                                                Page 28                                                      Page 29
 1         (Exhibit 1167 was marked for                    1     Q (BY ATTORNEY WEINBERG) And so what's
 2 identification and is attached to the transcript.)      2 reflected here in this document is the actions and
 3     Q (BY ATTORNEY WEINBERG) I want to chat with        3 messages -- actions taken and messages sent for this
 4 you a bit about the stanzaming. Is that how you         4 SEV project, the stanzaming project?
 5 pronounced it, stanzaming?                              5        ATTORNEY BLOCK: Objection to form.
 6     A Stanzaming.                                       6     A Yes.
 7     Q Got it.                                           7     Q (BY ATTORNEY WEINBERG) Okay. I would like
 8         Do you recognize this document?                8 you to take a quick look at page 3. Towards the
 9     A Yes.                                             9 bottom it says that -- there's a message from
10      Q What is it?                                     10                           on Monday, May 6, at -- 2019,
11      A It displays a SEV that was filed for the        11 at 12:27 p.m.?
12 incident.                                              12      A Yes.
13      Q Okay. What is an SEV?                           13      Q And he says that the WhatsApp engineering
14      A Yeah, so a SEV or S-E-V is a formal             14 work for this SEV investigation is coordinated by
15 document used by Facebook to track the operational     15 you; is that accurate?
16 or security incidents within the company.              16      A Yes.
17      Q Okay. And what would I call this kind of        17      Q And what does that mean, it was
18 document? Is this a chat? Is this -- what kind of      18 "coordinate -- well, what is "engineering work" that
19 a system is this kept in?                              19 he is referring to?
20          ATTORNEY BLOCK: Objection to form.            20      A It is the engineering work required to
21      A So I'm trying -- like, I don't know             21 investigate and remediate the attack.
22 exactly how to explain this as a concept. Outside      22      Q And the engineering work comprises what?
23 it -- it's kind of like a task, but it's really not    23      A It involved a lot of steps and a lot of
24 like a task. It's more like a project, like, if I      24 work from -- not just from me, but from a larger
25 would have to explain it in a different way.           25 group of people.
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WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 30..33
                                                 Page 30                                                   Page 31
1     Q Okay. I guess I'm just trying to get a              1    A Ensuring progress in monitoring, yes.
 2 sense of what distinguishes engineering work from        2    Q It lists five tasks that were -- that you
 3 some other category of work that you may have not        3 were coordinating here.
 4 been responsible for.                                    4         Would you be able to just introduce us to
 5       Would you be able to shed some light on            5 each of these five tasks and what they entailed?
 6 that?                                                    6    A So Number 1 -- and by the way, I don't
 7       ATTORNEY BLOCK: Objection to form.                 7 remember all the details of these tasks right now,
8     A Like, what was the nonengineering work?             8 so I'll do my best to say it based on what I
9     Q (BY ATTORNEY WEINBERG) Well, if you're              9 remember.
10 coordinating the engineering work, was there other      10         Number 1, "logging packets from attackers
11 kinds of work that you weren't coordinating or were     11 in EdgeRay," this task was about logging data from
12 you coordinating all the work?                          12 the relay servers for the calls that we flagged at
13       ATTORNEY BLOCK: Objection to form and --          13 "suspicious" and as part of the attack.
14     A I was coordinating just the engineering at        14     Q What are the relay servers?
15 WhatsApp.                                               15     A The relay servers are the servers
16       ATTORNEY BLOCK: -- just pause and give me         16 responsible for handling the realtime traffic
17 a chance to object before you start your answer,        17 between devices during a call on WhatsApp.
18 please.                                                 18     Q So they're a proxy between WhatsApp
19     Q (BY ATTORNEY WEINBERG) Okay. And so what          19 clients?
20 does "coordinating network" mean?                       20         ATTORNEY BLOCK: Objection to form.
21     A Coordination in this case means scoping           21     A They're not just proxy. They are -- they
22 work that needs to be done in order to achieve the      22 have an essential role in establishing the realtime
23 goal.                                                   23 channel between the devices.
24     Q And monitoring its progress as well, I            24     Q (BY ATTORNEY WEINBERG) The relay servers
25 assume?                                                 25 also work in establishing the connection between
                                                 Page 32                                                   Page 33
 1 the --                                                   1       In some scenarios, it's not possible. The
 2    A They --                                             2 network configuration does not allow that to -- to
 3    Q -- clients?                                         3 happen.
 4    A -- facilitate the connection -- the                 4     Q So the relay servers will proxy
 5 realtime connection between the devices.                 5 information between the clients whenever it's not
 6    Q What's difference between facilitating and          6 possible for the clients to communicate with each
 7 establishing?                                            7 other directly; is that accurate?
 8    A In some cases there's direct                        8       ATTORNEY BLOCK: Objection to form.
 9 communication -- realtime communication between the      9     A Yes.
10 devices.                                                10     Q (BY ATTORNEY WEINBERG) I have seen a lot
11        So if I call you, in some scenarios the          11 of references to "signaling servers" in the
12 packets will actually not go through the relay. But     12 documents.
13 in order to establish -- to -- like, in order to        13        What's the difference between the relay
14 establish that channel, you have to go through the      14 servers and the signaling servers?
15 relay first. But the actual packets are not proxied     15     A There are two main flows in establishing
16 in that case.                                           16 the call on WhatsApp. The first part that happens
17        So in about 50 percent of the cases, the         17 at the beginning when you set up the call is called
18 relay acts as a proxy; but in the rest of them, it      18 signaling.
19 does not act as a proxy.                                19        And the second part that happens -- that
20     Q How do you determine -- or how does the           20 transfers the real -- makes the realtime
21 system determine whether the relay will be acting as    21 communication between the devices is the relay.
22 a proxy between clients and when it will not?           22     Q I guess I need some clarification. The --
23     A It is based on heuristics and whether             23 you said earlier that the relay servers facilitate
24 we -- we can establish a direct connection between      24 the creation of the connection?
25 the devices or not.                                     25     A Of the realtime channel.


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                                                 Page 34                                                    Page 35
1       Q Of the realtime channel.                          1    A Yes.
2          So could you clarify what's the difference       2    Q -- in the --
3 between establishing the creation of the realtime         3    A The VoIP signaling is a module within
4 channel versus initiating -- setting up a call,           4 chatd.
5 which is done by the signaling servers?                   5    Q And so the voice signaling uses the chat
6          ATTORNEY BLOCK: Objection to form.               6 functionality of WhatsApp to establish calls?
7       A So just to clarify, the difference between        7    A To start the call.
8 the -- yeah.                                              8    Q To start the call.
9       Q (BY ATTORNEY WEINBERG) Yeah, sorry. The           9         And once it starts the call, the -- the
10 signaling servers, you said, set up the call.           10 relay server establishes the realtime channel?
11          And then you said that the relay servers       11     A Exactly.
12 will help establish the realtime channel and then       12     Q And then half the time -- or some portion
13 sometimes proxy data from one client to the other;      13 of the time that relay server will then proxy data
14 is that accurate?                                       14 between the two clients and in other instance it
15      A Yes.                                             15 will -- the two clients will access -- will
16          ATTORNEY BLOCK: Objection, misstates the       16 communicate directly in a peer-to-peer fashion?
17 testimony.                                              17          ATTORNEY BLOCK: Objection to form.
18      Q (BY ATTORNEY WEINBERG) Could you expound a       18     A Yes.
19 little bit on that -- those two different functions?    19     Q (BY ATTORNEY WEINBERG) So we will get into
20      A Yes. So the setup of the call always             20 all of this in detail in a little bit. I just
21 starts with the signaling server. And the signaling     21 wanted to close the loop on this resume.
22 server is the same server that we use for chat, so      22          In 2019, shortly after the stanzaming
23 it's synonymous with chatserver.                        23 investigation, your title changed to software
24      Q Is that what's referred to as the                24 engineering manager for application security; is
25 chatdservers --                                         25 that correct?
                                                 Page 36                                                    Page 37
 1     A Yes.                                               1 partner that was assigned to WhatsApp.
 2     Q And that was a position you held from 2019         2         And part of the security team was not
 3 to 2021?                                                 3 just -- not just hiring new people that worked full
 4     A Yes.                                               4 time for WhatsApp, but it was also working
 5     Q Could you describe your work and                   5 cross-functionally with other teams in Facebook like
 6 responsibilities in that position?                       6 the Facebook security team.
 7    A So the main responsibility that I had for           7         And there were already people assigned to
 8 the WhatsApp application security team is to drive       8 WhatsApp before we had the team. It was just not
 9 the roadmap for hardening and improving security        9 organized in the same way that we did it after.
10 across WhatsApp.                                        10     Q Do you remember in 2019, when you became
11     Q And was this a new position created in            11 the software engineering manager for application
12 response to the stanzaming incident?                    12 security, who you reported to?
13        ATTORNEY BLOCK: Objection to form;               13     A The first manager that I had was
14 foundation.                                             14       .
15     A I'm not sure what you mean by -- like, in         15     Q And you had another manager after that,
16 response to that.                                       16 evidently?
17     Q (BY ATTORNEY WEINBERG) Was there a                17     A Yeah, he left the company. And then the
18 security team before you took over as the security      18 next manager that I had was                .
19 engineering manager?                                    19     Q And then how big was your team by the end
20        ATTORNEY BLOCK: Objection to form.               20 of 2019?
21     A There were people working on security, but        21     A By the end of 2019, I have to remember,
22 it was not a team dedicated to it.                      22 but I think we only had three years, I believe, in
23     Q (BY ATTORNEY WEINBERG) What's the                 23 the team.
24 difference?                                             24     Q And who were they?
25     A So we had, for instance, a security               25     A I believe                         and
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 1 correct?                                                 1 Facebook and WhatsApp and the ISP?
 2        ATTORNEY BLOCK: Objection to form.                2       ATTORNEY BLOCK: Objection to form.
 3    Q (BY ATTORNEY WEINBERG) I'll rephrase.               3     A Facebook.
 4        The ultimate choice of a physical server          4     Q (BY ATTORNEY WEINBERG) Okay. The -- can a
 5 that processes the request is the result of              5 user choose the specific physical server that
 6 WhatsApp's algorithms by choice?                         6 ultimately would process his request?
 7        ATTORNEY BLOCK: Objection to form;                7       ATTORNEY BLOCK: Objection to form.
 8 misleading.                                             8      A By "user," you mean a human?
 9    A The load balancer that takes the decision          9      Q (BY ATTORNEY WEINBERG) I'll try -- I'll
10 of which physical server is actually provided by        10 start with that, sure.
11 Facebook infrastructure. That's not what the            11     A There's -- we don't provide a way for --
12 WhatsApp team works on.                                 12 for the user to choose what server will process the
13     Q (BY ATTORNEY WEINBERG) So the -- I guess          13 request.
14 we did speak about WhatsApp's DNS. We talked about      14     Q So it's not possible for a client to send
15 ISP's DNS. And now we're talking about Facebook's       15 a request into WhatsApp's infrastructure and specify
16 load balancers, right?                                  16 which server -- physical server will process that
17     A Yes.                                              17 request?
18     Q And those are all components owned by --          18        ATTORNEY BLOCK: Objection to form.
19 or operated by parties other than the user, correct?    19     A By "client," you mean an official WhatsApp
20        ATTORNEY BLOCK: Objection to form.               20 client?
21     A I'm not sure about the concept of, like,          21     Q (BY ATTORNEY WEINBERG) Let's start with
22 parties other than the user. What --                    22 that.
23     Q (BY ATTORNEY WEINBERG) Those are --               23     A Sure. A WhatsApp official client does not
24     A -- does that mean?                                24 allow setting the -- the physical server that will
25     Q Those are server programs controlled by           25 handle the request.
                                                Page 104                                                   Page 105
1     Q Okay. Did Pegasus send requests that                1 application layer, if we could.
2 specified the physical server that would handle the       2         The signaling server, which you said was
3 request?                                                  3 the chatdserver helps a client establish a call, you
4         ATTORNEY BLOCK: Objection to form;                4 said?
5 foundation.                                               5         ATTORNEY BLOCK: Objection to form.
6         You can answer, if you know.                      6    A I don't remember exactly what I said.
7     A I don't know what Pegasus did.                      7    Q (BY ATTORNEY WEINBERG) If you would open
8     Q (BY ATTORNEY WEINBERG) All right. But you           8 up the -- the White Paper, you'll see right there in
9 have no evidence or reason to believe then that           9 that -- on page 4, the "WhatsApp VoIP
10 Pegasus sent requests into this infrastructure and      10 Infrastructure":
11 targeted a specific physical server location?           11             WhatsApp VoIP infrastructure
12         ATTORNEY BLOCK: Objection,                      12         has server and client applications.
13 mischaracterizes; calls for speculation.                13         The server functions as an
14     A I don't know whether they targeted or not.        14         intermediary between the WhatsApp
15 I just don't know.                                      15         applications, helping them to
16     Q (BY ATTORNEY WEINBERG) All right. Can I           16         establish a call, as well as
17 ask you a few questions about the -- hang on.           17         proxying VoIP data between clients
18 Scratch that. All right.                                18         once the call starts.
19         That was a really great side from where we      19         Do you see that?
20 left off with the signaling server. I think that's      20     A Yes.
21 where we left off. We were talking about the            21     Q Okay. So we are talking -- that's two
22 signaling server initiating a VoIP call and how it      22 different operations.
23 did that, and we just discussed the physical and        23         One of them is establishing the call. The
24 transport layer infrastructures, the routing            24 other one is -- is proxying data once the call
25 infrastructures that it uses. So back up to the         25 starts. So I would like, to talk about that first



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1     A So these are concurrent. So as soon as              1 caller; and now if the callee picks up the phone,
2 the caller receives -- the -- the callee receives         2 his device will send an Answer stanza somewhere?
3 the offer, as soon as it's processed and it starts        3     A To the chatd.
4 ringing in the same time, it also sends back a            4        ATTORNEY BLOCK: Objection to form.
5 confirmation to the server that it started ringing.       5     Q (BY ATTORNEY WEINBERG) The caller, once
6        And I don't recollect specifically the             6 the caller picks up the phone, the caller's phone
7 name of that stanza, but I think it's a -- I think        7 will send an Answer stanza back to the chatdserver,
8 it's an offer ACK that is being sent.                     8 right?
9     Q (BY ATTORNEY WEINBERG) Okay. What then              9        ATTORNEY BLOCK: Object to form.
10 does the chatdserver do once it receives this offer     10      A The caller will send back an answer when
11 ACK?                                                    11 the user presses the "Answer" button, yes.
12     A I think what it does is it forwards the           12         ATTORNEY BLOCK: Did you say "caller" or
13 ACK to the call so that the caller can also start       13 "callee" on that one? I got confused.
14 the ring -- the ringing process.                        14      Q (BY ATTORNEY WEINBERG) The callee would
15     Q Have you heard the term "offer" --                15 send the answer?
16 sorry -- "Answer stanza"?                               16         ATTORNEY BLOCK: I think we have got
17     A Yes.                                              17 testimony about the "caller" sending an answer
18     Q I saw it in some of the documents.                18 stanza.
19        What is it is Answer stanza?                     19         ATTORNEY AKROTIRIANAKIS: I'm sure she is
20     A The Answer stanza, I believe, is the              20 going to have to listen when she goes through it, I
21 stanza that is sent from the callee at the moment       21 hope.
22 the user presses the "Answer" button and accepts the    22      A Yeah, that's not accurate. So the answer
23 call.                                                   23 is only sent by the callee.
24     Q All right. So at our current step, the            24      Q (BY ATTORNEY WEINBERG) Got it. All right.
25 chatdserver sent the offer ACK back to the -- to the    25 At that point is there a peer-to-peer connection
                                                Page 116                                                  Page 117
 1 established?                                             1 that the caller has been reached and the offer was
 2    A No.                                                 2 ACK'd by the callee.
 3        ATTORNEY BLOCK: Objection to form.                3        And once they both know that -- both --
 4    Q (BY ATTORNEY WEINBERG) Okay. So what                4 they know about each other, that they're aware that
 5 happens next?                                            5 there's a call happening, this is when the -- the
 6    A Even before the answer happens, there's a           6 relay and bandwidth negotiation starts happening.
 7 negotiation process between the caller and the           7    Q (BY ATTORNEY WEINBERG) Okay. Tell me
 8 callee about the latency, about the bandwidth that       8 about what you mean by "the relay and bandwidth
 9 is going to be used. So all that negotiation             9 negotiation."
10 happens before there's any -- any answer.               10         ATTORNEY BLOCK: Objection to form.
11     Q Okay. So then I'll go back one step.              11     A About each of them or --
12        The chatdserver sent the offer ACK to the        12     Q (BY ATTORNEY WEINBERG) I just want to know
13 caller and now a negotiation process begins, you        13 the steps that are involved in the negotiation
14 say?                                                    14 process that you just mentioned.
15        ATTORNEY BLOCK: Objection to form.               15         ATTORNEY BLOCK: Objection to form.
16     A Sorry. So the -- the caller -- can you            16         Wait for a question.
17 repeat the last part?                                   17     Q (BY ATTORNEY WEINBERG) What are the steps
18     Q (BY ATTORNEY WEINBERG) The callee sends an        18 of the negotiation process you just mentioned?
19 acknowledgment back to the chatdserver, the offer       19         ATTORNEY BLOCK: Objection to form.
20 acknowledgment, and what happens next?                  20     A About what negotiation?
21        You talked about a negotiation process.          21     Q (BY ATTORNEY WEINBERG) You testified that
22        ATTORNEY BLOCK: Objection to form.               22 the chatdserver sends the offer ACK back to the
23     A The chat server will forward the offer ACK        23 caller.
24 or send another stanza that I don't remember its        24         And after that happens and the two -- the
25 name. But it would signal to the callee, the fact       25 caller and the callee know that they are now ready



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1 to communicate, a negotiation process begins wherein      1 callee attempt to connect to every relay in that
2 the caller and callee negotiate the relay and             2 list using the authorization token.
3 bandwidth parameters.                                     3     Q Okay. So to rephrase what you said, the
4         I would like to understand, if you could          4 chatdserver provides a list to the two clients of
5 explain to me, what that negotiation entails.             5 relay servers and provides them authentication
6         ATTORNEY BLOCK: Objection to form;                6 credentials, and each one tries to connect to the --
7 misstates.                                                7 to all of the relay servers provided to them by the
8     A So this negotiation, the relay                      8 chatdserver?
9 negotiation, starts by every -- both caller and           9     A Authorization token.
10 callee probing -- reaching all the relays in the        10         ATTORNEY BLOCK: Objection to the form;
11 list of relays that were distributed by the chat        11 misstates.
12 server.                                                 12      A Authorization token. It's only
13     Q (BY ATTORNEY WEINBERG) Sorry. Say that            13 authorization. It's not authentication.
14 again.                                                  14      Q (BY ATTORNEY WEINBERG) Okay. Tell me --
15     A So both caller and callee will attempt            15 what is that authorization token?
16 connecting to every relay in the list of relays that    16      A So the relay server is designed in a way
17 they both -- they were both given by the signaling      17 that it does not perform advanced authentication of
18 server.                                                 18 the devices that send data to it.
19     Q Okay. What's next?                                19         It operates at a lower security level
20     A This process is done not just by the              20 where the only thing that it does is validates an
21 IP address, but also by an authorization token that     21 authorization token that has a low expiration time.
22 is unique to the call. So both caller and callee        22         So as long as you have a valid token, you
23 will be passed a unique authorization token to use      23 can use the relay. So that is authorization for
24 only those specific relays.                             24 authentication, but we don't -- we don't
25         And using the token, both the caller and        25 authenticate the users of the relay.
                                                Page 120                                                   Page 121
1     Q (BY ATTORNEY WEINBERG) Okay. What is the            1 got done saying that?
2 purpose of trying to connect to all those relays?         2     A Yes, the chatdservers decide that. Yes.
3     A The purpose of connecting to the relays is          3     Q Okay. And then there's a second choice,
4 firstly to see which one is available; and second,        4 evidently, that you talked about just before this
5 to measure the latency to each of them.                   5 where the clients connect to this list of relay
6     Q Let me ask: How does the chatdserver                6 servers and then they -- each one decides which one
7 decide which relay servers to give to these two           7 of the connections to then use; is that --
8 clients?                                                  8     A I think it's a little confusing -- there's
9        ATTORNEY BLOCK: Object to form.                    9 some confusion in there, so let me clarify.
10    A The decision to pick -- to select the list         10     Q Sure.
11 of relays is based on latency measurements. And the     11     A Both the server -- both the signaling
12 information that it uses is the caller IP address       12 server and the clients make a decision in this
13 and the last seen IP of the callee.                     13 process. It's a hybrid decision.
14        The algorithm that we used at that time          14         So the server picks the top five, let's
15 was essentially to find the top three of each --        15 say, or three. But in the end, each client picks
16 based on each IP address, and we merged the list so     16 its own, like, relay to use, and that's just one.
17 that the sum of the latency is -- is the lowest.        17 But the client decides that based on the short list.
18        So we choose the top lowest latency sum in       18     Q Do the two clients have to agree on a
19 that merged list of the relays, and that's the one      19 specific relay server to use?
20 that we delivered to both of them.                      20     A They don't. The -- the network paths are
21    Q (BY ATTORNEY WEINBERG) Okay. So the                21 completely asynchronous and, like, they don't need
22 chatdserver chooses which relay servers the clients     22 to be the same.
23 should attempt to connect to?                           23         So the packets -- if I initiate a voice
24        ATTORNEY BLOCK: Object to form.                  24 video call to you, the packets that I sent to you
25    Q (BY ATTORNEY WEINBERG) I think you just            25 don't need to take the same network path that



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 1 you sent -- the packets that you sent to me.            1      A It's a custom STUN protocol.
 2 They're separate.                                       2      Q STUN?
 3       However, in most cases they'll use a              3      A STUN, S-T-U-N.
 4 similar network path, but that's just statistics.       4      Q STUN?
 5    Q All right. And they make that choice               5      A It is a -- STUN is a -- it's a protocol
 6 based on performance considerations, I assume?          6 format. So the messages are -- are using the STUN
 7    A Yes.                                               7 headers, but the protocol itself is designed by
 8    Q All right. What's an example of the                8 WhatsApp. It's proprietary.
 9 performance considerations?                             9      Q What do you mean by the -- which part of
10     A What do you mean by "performance                  10 it is proprietary and which part of it's not
11 consideration"?                                         11 proprietary?
12     Q The client chooses a relay server based on        12         ATTORNEY BLOCK: Objection to form.
13 which server provides it the best performance,          13      A So for instance, the headers are standard.
14 generally speaking, correct?                            14 They're part of the STUN message format.
15        ATTORNEY BLOCK: Object to form.                  15         But the payload inside the STUN messages
16     A The best latency.                                 16 is customized for the face -- for the WhatsApp
17     Q (BY ATTORNEY WEINBERG) The best latency.          17 network, particularly with regards to encryption.
18        So what is the definition of "latency"?          18      Q (BY ATTORNEY WEINBERG) What sorts of data
19     A It's a roundtrip time between the client          19 is in the payload of these STUN protocol messages?
20 device and the edge location or the relay.              20      A The most important piece of information
21     Q Okay. So now the connection between the           21 that is sent in the payload, it's the authorization
22 clients and the relay server, is there a protocol       22 token that I mentioned before, which is a preshared
23 for establishing that connection?                       23 key ex -- preshared key encryption mechanism that
24     A Yes.                                              24 has built-in expiration.
25     Q And what protocol is that?                        25      Q So explain that to me. You said earlier
                                                Page 124                                                  Page 125
1 that the authentication token or --                      1    Q Okay. So now that the clients are
2     A Authorization token.                               2 connected to their respective relays, what happens
3     Q -- authorization token is different -- is          3 next in the protocol?
4 not authentication.                                      4    A So the clients do probing of the relay
5        So could you help me understand the               5 during this phase of negotiation by sending multiple
6 difference between these two things? I could draw        6 messages and taking a lot of measurements. And the
7 an analogy, but maybe you can as well.                   7 next thing that they do is they exchange that data
8        ATTORNEY BLOCK: Objection to form.                8 between them.
 9    A Between authorization and authentication?          9    Q Exchange what data between them?
10     Q (BY ATTORNEY WEINBERG) Yeah. Is                   10    A The data -- the latency measurements that
11 authorization like you have a key and anybody who       11 each party has done.
12 has a key can walk in and authorization, and            12    Q Okay.
13 authentication is knowing somebody's identity; is       13    A That data is exchanged through a stanza
14 that the difference?                                    14 that is specific. And I don't remember exactly the
15        ATTORNEY BLOCK: Object to form.                  15 name if the stanza, but it's a specific stanza only
16     A That's one way to characterize it, yes,           16 used for VoIP.
17 informally.                                             17        So the signaling server is again involved
18     Q (BY ATTORNEY WEINBERG) Okay. How would            18 with proxying this information from the caller to
19 you characterize it?                                    19 the callee and from the callee to the caller. Both
20     A So authentication requires a higher level         20 ways.
21 of checking. And it involves check -- like,             21    Q Okay. And then what?
22 verifying the identity of the end -- of the endpoint    22    A At that point each -- both the caller and
23 that is trying to connect. Whereas, with                23 the callee knows -- designates a particular relay
24 authorization, as long as you have the token,           24 that they will start using.
25 there's no other checks that are being performed.       25        And nothing else happens as -- until the



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 1    Q Any others?                                        1     A Would you want to be more specific with
 2    A Not from what I remember.                          2 regards to, like, what authorization --
 3    Q Okay. So we spoke about the chatdservers           3     Q (BY ATTORNEY WEINBERG) Sure. Let's start
 4 and the relay servers. I'll start with the              4 with the load balancers. All right.
 5 chatdservers.                                           5         The edge load balancers, when it receives
 6       Where were they implemented? The                  6 a request, will it process it automatically or will
 7 computers that executed the chatd functionality,        7 it check for some kind of authorization?
 8 where were they located?                                8         ATTORNEY BLOCK: Object to form.
 9    A They were located in the data centers that         9     A The edge location, in case of the relay,
10 we just mentioned.                                      10 it will check the author -- authorization token in
11    Q Okay. And the relay servers, were they             11 the STUN message that is sent by the client.
12 also located in the data centers we just mentioned?     12         And if that token is not valid, it will
13    A No.                                                13 not allow the use of the relay.
14    Q Okay. Where were they located?                     14     Q (BY ATTORNEY WEINBERG) And that's those
15    A The relay servers were located in the edge         15 temporary tokens that don't do authorization -- I'm
16 locations that we talked about earlier.                 16 sorry -- that don't do authentication --
17    Q And those edge locations are the 100               17     A Exactly.
18 locations, including the two in California?             18     Q -- but instead do authorization?
19    A Yes.                                               19     A Exactly.
20    Q Okay. In order to access one of these              20     Q And what about the chatdservers? What
21 servers, for example, the chatdserver or the relay      21 kind of credentials are required for accessing the
22 servers or one of these load balancing servers,         22 functionality implemented by the chatdservers?
23 there is presumably some kind of either                 23         ATTORNEY BLOCK: Objection to form.
24 authorization or authentication that occurs? Yes?       24     A The chatdservers -- and just to be clear,
25        ATTORNEY BLOCK: Object to form.                  25 we're talking about the servers in the data centers
                                                Page 136                                                   Page 137
 1 now, not in the edge locations?                          1     Q And the client passes it along with every
 2    Q (BY ATTORNEY WEINBERG) Are the                      2 request that it makes to the chatdserver?
 3 chatdservers in the edge locations?                      3     A It doesn't. It's more complicated.
 4    A No.                                                 4     Q Okay. Tell me --
 5    Q So then the chatdservers in the data                5     A It's -- it's part of the handshake -- the
 6 centers?                                                 6 initial handshake that it does with the chatd. But
 7    A In the data centers, which is only load             7 from that point on, it uses a preshared key to -- it
 8 balancers in the edge locations.                         8 uses a negotiated shared key to encrypt the rest of
 9       And those will not perform authentication          9 the traffic.
10 for the chat traffic. The authentication happens on     10      Q Got it. How are the original credentials
11 the chat servers inside the data centers.               11 obtained?
12        And it's based on -- it's a proprietary          12      A The credentials are obtained through the
13 protocol -- it's the noise protocol that essentially    13 registration process to WhatsApp.
14 provides both encryption and authentication at the      14      Q Okay. And what does WhatsApp then send
15 same time.                                              15 the user that constitutes these credentials?
16     Q Okay. Tell me about this authentication           16         ATTORNEY BLOCK: Object to form.
17 protocol for accessing the chatdservers.                17      A I'm not sure what you mean by "what does
18        ATTORNEY BLOCK: Object to form.                  18 it send to users."
19    A What specifically do you want to know              19      Q (BY ATTORNEY WEINBERG) When the user needs
20 about it?                                               20 to authenticate the chatdservers, it needs to
21    Q (BY ATTORNEY WEINBERG) What is the form of         21 provide some kind of authenticating information, so
22 the credentials?                                        22 I'm asking: What does WhatsApp provide the client
23    A In a simplified way, the credential is             23 to help it authenticate those requests?
24 essentially an identity key that's stored on the        24         ATTORNEY BLOCK: Object to form.
25 client device.                                          25      A So in order to validate -- to



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 1 authenticate, the WhatsApp server sends an               1     A You can refer to it as a private key, yes.
 2 activation code to verify that the person who            2     Q (BY ATTORNEY WEINBERG) Okay. And how does
 3 initiates the registration process has ownership         3 it use that private key to authenticate to the
 4 over the phone number.                                   4 chatdserver?
 5        And it's over SMS. So we'll send the code         5     A It is a complex protocol which is part of
 6 over SMS. In using that code, the client can finish      6 what noise does, but it's essentially a key to
 7 the registration process. And after that is              7 there.
 8 finished, the credentials are being admitted.            8        So there's a public key and a private key.
 9        But just to be clear, that identity key           9 The public key is what is sent to the server so the
10 that I was talking about is never seen by the           10 server can verify that the client is indeed who --
11 server. It's the basis of the internal encryption.      11 who they claim they are.
12 So the identity key -- identity key is never -- does    12         So there's multiple keys involved. And
13 not -- does never leave the client device.              13 this protocol is fairly complex. So I'm not an
14      Q I'm not sure that I followed all of that.        14 encryption expert, by the way, so I can talk to some
15         The identity key is -- how does it arrive       15 aspects of it, but I don't know, like, the -- very
16 at the client device?                                   16 little details of, like, how -- how, like -- all the
17         ATTORNEY BLOCK: Objection to form.              17 steps involved and all the types of keys. There are
18      A It is generated -- like, it is generated         18 multiple keys involved in this process.
19 locally by the client device before the registration    19         But the idea is that the identity key is
20 starts and when someone installs the app on their       20 something that -- or the private key does never
21 phone.                                                  21 leave the client device.
22      Q (BY ATTORNEY WEINBERG) So the client             22      Q Okay. So client device uses this private
23 creates its own identity key kind of like a private     23 key to obtain a negotiated key with a chatdserver
24 key?                                                    24 for each session?
25         ATTORNEY BLOCK: Object to form.                 25         ATTORNEY BLOCK: Object to form.

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1     A Yes.                                                1 chatdserver, the server then decrypts it using the
2     Q (BY ATTORNEY WEINBERG) Okay. And that               2 same shared key.
3 negotiated key is what gets passed to -- from the         3        How does it decide that it's an authentic
4 client to the chatdserver upon each request to the        4 message?
5 chatdserver?                                              5        ATTORNEY BLOCK: Object to form.
6     A The shared key not passed. The shared key           6    A It would not be able to decrypt the
7 is only used an encryption key for the -- as a block      7 content. And it would not pass all the -- the
8 cipher encryption key for the traffic.                    8 checks on the -- so the -- basically, the -- there's
9         And the server uses that shared key to            9 a verification process that checks whether the --
10 decrypt the -- that payload.                            10 the message was tampered with, it was modified.
11    Q And that same shared key is used to                11         And it will do all of that upon receival.
12 encrypt it?                                             12 The chatdserver will do that before using the
13    A By the client, yes.                                13 payload.
14    Q Okay.                                              14     Q (BY ATTORNEY WEINBERG) And that's just
15    A And this is only metadata, by the way. It          15 based on the shared key?
16 does not include, like, the actual content of the       16     A Yes.
17 messages. That's a different -- a different thing.      17     Q Okay. You told us a moment ago about the
18    Q I'm sorry. The key is used to encrypt              18 server locations for the chat features. And I think
19 only metadata?                                          19 that you testified earlier today that the VoIP uses
20    A The -- yes, it's used to encrypt the data          20 the -- those chat servers.
21 that is sent between the client and the server over     21         So I just want to confirm that the --
22 the Internet so that someone cannot just look at the    22 those server locations we discussed just now are for
23 traffic and understand what the client is talking       23 the -- are the servers being used for voice over IP.
24 with the server.                                        24         ATTORNEY BLOCK: Object to the form of the
25    Q When that message arrives at the                   25 question.


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 1    A What kind of server?                                1 can't be targeted by client requests, right?
 2    Q (BY ATTORNEY WEINBERG) Any server                   2        ATTORNEY BLOCK: Object to form.
 3 physically located in California.                        3    Q (BY ATTORNEY WEINBERG) It's -- WhatsApp
 4        ATTORNEY BLOCK: Same objection.                   4 decides to how to route the relay servers -- how to
 5    A Any server owned by Facebook?                       5 write requests to the relay servers?
 6    Q (BY ATTORNEY WEINBERG) Any server in                6        ATTORNEY BLOCK: Object to form.
 7 California owned by anybody.                             7    A So the signaling server picks the relay
 8        The question is: Does -- do Plaintiffs            8 servers from all the available edge locations.
 9 know about any server physically located in              9    Q (BY ATTORNEY WEINBERG) And the signaling
10 California that was specifically targeted by Pegasus    10 server is programmed by WhatsApp?
11 software?                                               11     A By -- yes.
12        ATTORNEY BLOCK: Objection to form.               12     Q And the user can't select the relay server
13     A The only thing that I know is that during         13 to use?
14 the attack that we observed, there were some servers    14     A The user can select the relay server.
15 located in the edge locations in the San Jose and       15         What the signaling server does is selects
16 Los Angeles metro areas that were involved in those     16 from the hundred, it selects the top three or five.
17 attacks, relay servers.                                 17         But ultimately any of the clients can
18        That's the only thing -- the only                18 decide on each -- like, what relay server can you
19 information that I have.                                19 use from the set of three or five.
20     Q (BY ATTORNEY WEINBERG) Okay. But do               20     Q And the relay servers, remind me, are
21 you --                                                  21 located in -- can you confirm that a user cannot
22        ATTORNEY BLOCK: Can we take a short              22 purposely direct requests at a particular relay
23 break?                                                  23 server?
24        ATTORNEY WEINBERG: Just one second.              24         ATTORNEY BLOCK: Object to form.
25     Q (BY ATTORNEY WEINBERG) The relay server           25     A That's not entirely correct. So a user
                                                Page 208                                                  Page 209
1 a -- a client is given a lister of relays.                1 week or so before closing the vulnerability to see
2        And as part of the relay negotiation               2 if they could gain some insight into -- into the
3 process, every client conducts all the relays they        3 incident; is that correct?
4 were given. But ultimately, the data packets that         4        ATTORNEY BLOCK: Object to form.
5 are being sent is up in the decision of each client.      5      A Yes, we firstly detected the suspicious
6 So they decide on their own which relay server to         6 activity. I don't remember exactly the day. I
7 use.                                                      7 think it was Thursday or Friday.
8     Q (BY ATTORNEY WEINBERG) Okay.                        8        And the following Friday -- until the
 9       ATTORNEY BLOCK: Can we take that short             9 following Friday, we did logging of the activity of
10 break?                                                  10 the attack in order to gain an understanding of how
11        ATTORNEY WEINBERG: Sure.                         11 the attack works.
12        THE VIDEOGRAPHER: Off the record at              12         ATTORNEY BLOCK: I don't want to interrupt
13 4:11 p.m.                                               13 you, but I probably should have done it before you
14        (A break was taken from 4:11 p.m. to             14 started. I thought you were going to go there
15 4:30 p.m.)                                              15 first.
16        THE VIDEOGRAPHER: We were on the record          16         As I mentioned to you off the record,
17 at 4:30 p.m.                                            17 during the break Mr. Gheorghe did some rereview of
18     Q (BY ATTORNEY WEINBERG) Thank you.                 18 some of the prep that he did for his incorporate
19        So just before we left off you were              19 representative topics, including with respect to
20 talking about the investigation that WhatsApp           20 QuadraNet, so I commend to you revisiting those
21 conducted for -- I guess it's about -- around the       21 topics when you wish to do so.
22 week of May 2, 2019?                                    22         ATTORNEY WEINBERG: All right. Thank you.
23     A What investigation about the attack?              23      Q (BY ATTORNEY WEINBERG) If you could take a
24     Q The stanzaming investigation. From what I         24 quick look at 1167. That's Exhibit 1167. It's the
25 understand, WhatsApp studied traffic for about a        25 stanzaming chat. Just at page -- I'll remind you



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 1 that at the bottom of page 1, there was this --            1        ATTORNEY BLOCK: Object to form.
 2 actually, I guess, the -- yeah, at the top of page 2       2    A I haven't reviewed that "diff" for, like,
 3 where it says that the suspicious stanza received in       3 years, so I don't know about all the details in it,
 4 this incident was being sent on May 2, 2019. That's        4 but it's likely a change that enforces the
5 the second and third line of that.                          5 validation -- like, the blocking -- it does
6          So this instance sort of began it -- on            6 enforcement for the stanza validation --
7 May 2, 2019, correct?                                       7    Q (BY ATTORNEY WEINBERG) Got it.
8      A Yes.                                                 8    A -- for the signaling server.
9      Q And then if you go down to the next line             9    Q Understood. And it says:
10 where you have got                 speak -- writing on    10             This can mitigate the impact,
11 Friday, May 3, at 4:49 a.m., he says:                     11         but we would like to first identify
12              Here is a "diff" -- with the                 12         the vulnerability, if there is,
13         name of a "diff" -- that will                     13         before modifying this.
14         enforce our servers to only accept                14         And so what he is saying there is: Hey,
15         valid stanzas. This could mitigate                15 let's not push this valid -- this enforcement out to
16         the impact, but we would like to                  16 the server just yet; let's leave it open for a
17         first identify the vulnerability,                 17 while, observe some traffic, and see what we can
18         if there is, before modifying this.               18 learn about this incident?
19         My understanding of the "diff" in this            19         Is that what you guys ended up doing?
20 context is that there's a code change that's              20     A Yes. That is -- and by the way, this is
21 available to push to the server?                          21 an industry standard practice. We're not -- like,
22     A That's exactly right.                               22 we're just following the process, basically.
23     Q And once that gets pushed to the server,            23     Q I see.
24 it will modify the servers to only accept valid           24         So going through all these materials,
25 stanzas; is that correct?                                 25 there were a lot of logs with different names. And
                                                  Page 212                                                   Page 213
1 I just want to go through some of them to figure out        1 chat server about -- at different points in handling
2 which ones of them refer to what and whether there's        2 stanzas.
3 repeats and -- just for nomenclature sake.                  3        So once the trace log -- it's a tool.
4     A Sure.                                                 4 It's an internal tool where we would, for a
5     Q "Server trace logs," what does that                   5 particular number, enable trace logs. And we
6 typically refer to in these documents? And I can            6 would -- once that's enabled, we would see in
7 show you a document, if you're confused about it,           7 realtime all the activity from that number
8 but server trace logs.                                      8 throughout the chat servers.
9     A Refreshing my memory right now, I think               9     Q Did you also have server trace logs for
10 server trace log -- can I see the document? I think       10 the relay servers?
11 that'll be easier.                                        11      A Those are called differently. Those are
12     Q Sure. It's in 1105, the "stanza                     12 called EdgeRay logs.
13 validation project task."                                 13      Q EdgeRay logs.
14         Let's see if I can find exactly where. So         14         And what kind of information is contained
15 May 4, 2019 is page 13 of the document.                   15 in the EdgeRay log?
16     A What page? Sorry.                                   16      A In the EdgeRay log, we did some custom
17     Q Page 13 of the document is -- there's a             17 logging regarding the source IP of the packet, the
18 comment by Jesus on May 4, 2019. He says:                 18 destination IP, the size of the packet, and the
19            Adding server trace logs for                   19 content of the packet, I believe.
20         some number, sending the malicious                20         We were changing that logging format quite
21         stanza.                                           21 a lot, so I don't know off the top of my head, like,
22         ATTORNEY BLOCK: Object to form.                   22 all the fields that we were logging.
23     Q (BY ATTORNEY WEINBERG) The question is:             23         But at a high level, that's -- those are
24 What is the trace log?                                    24 the ones that I remember right now.
25     A The server trace log is a log from the              25      Q Okay. Validation log?
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 1 of the objects of using Pegasus was to read              1 misstates.
 2 information from the phone, including chat logs.         2     Q (BY ATTORNEY WEINBERG) I'll rephrase my
 3        I'm asking if you're aware of the Pegasus         3 question.
 4 software deleting those logs.                            4        Do you have any evidence that Pegasus
 5     A I'm not aware of a deletion.                       5 prevented WhatsApp from accessing the client logs --
 6        ATTORNEY BLOCK: And the same objections           6 devices as it normally would?
 7 to that question.                                        7        ATTORNEY BLOCK: Objection to form.
 8     Q (BY ATTORNEY WEINBERG) Are you aware of            8     A I'm not aware of any information related
 9 Pegasus offering -- altering those logs?                 9 to this.
10         ATTORNEY BLOCK: Same objections. Vague.         10     Q (BY ATTORNEY WEINBERG) Do you have any
11     A I'm not aware.                                    11 evidence that Pegasus prevented WhatsApp users from
12     Q (BY ATTORNEY WEINBERG) Does WhatsApp own          12 using their -- the WhatsApp service?
13 those logs?                                             13        ATTORNEY BLOCK: I object to form and
14         ATTORNEY BLOCK: Objection to form and           14 scope, partial.
15 scope.                                                  15     A What was the question again?
16     A I'm not an expert into, like, the Terms of        16     Q (BY ATTORNEY WEINBERG) Do you have any
17 Service and what data WhatsApp owns and what not, so    17 evidence that Pegasus prevented -- I'm sorry.
18 I don't -- I cannot speak to that.                      18        ATTORNEY WEINBERG: Would you read back
19     Q (BY ATTORNEY WEINBERG) Do you have any            19 the question for me?
20 evidence that Pegasus prevented WhatsApp from           20        (The court reporter read back the
21 accessing the client devices as it normally would?      21 following testimony:
22         I think you testified earlier that              22           Do you have any evidence that
23 WhatsApp was able to send messages to the client        23        Pegasus prevented WhatsApp users
24 devices, pull logs, that kind of thing?                 24        from using their -- the WhatsApp
25         ATTORNEY BLOCK: Object to form;                 25        service?)
                                                Page 256                                                   Page 257
 1        ATTORNEY BLOCK: Same objections.                  1 this -- the attack from the point of view of the
 2     A What do you mean by "the WhatsApp service"         2 victim, like, if you receive some messages from the
 3 in this case?                                            3 server that are passed and those servers are
 4     Q (BY ATTORNEY WEINBERG) WhatsApp provided a         4 supposed to be sent by a legitimate client and they
 5 VoIP service that allowed users to make telephone        5 all seem -- they were supposed to be doing not what
 6 calls and video calls, and that's the service I'm        6 -- what they were doing.
 7 referring to.                                            7        So in our -- the way we think about it in
 8        ATTORNEY BLOCK: Same objections.                  8 this trust model, the server is a trusted entity,
 9     A So I'm -- I'm a little confused by this            9 and it was -- so basically this attack made the
10 question. Like, I don't understand, like, how --        10 server forward some messages that would normally not
11 like, how would Pegasus not allow users to use VoIP     11 be sent by a regular client.
12 and not allow access to VoIP services?                  12         So that -- that actually -- I think I
13     Q (BY ATTORNEY WEINBERG) I guess I'm not            13 would say that breaks the WhatsApp service.
14 sure about your clarification question there.           14     Q (BY ATTORNEY WEINBERG) I didn't mean in a
15         You could imagine that you get some sort        15 metaphysical way. I meant in a technological way,
16 of virus on your phone which prevents you from          16 WhatsApp's VoIP service was still accessible to any
17 making phone calls using WhatsApp. Right?               17 user that --
18         Did Pegasus do that?                            18     A In a technological way, they were causing
19     A I don't have any information about that.          19 crashes. So their -- the victim's application would
20     Q Just generally, did Pegasus cause                 20 crash in many of the cases of the attack.
21 WhatsApp's service to break? That's --                  21         I think that is very clear evidence that
22         ATTORNEY BLOCK: Objection to form.              22 in a technological way, they were impairing our
23     A Cause to break?                                   23 service.
24         I would say yes. Because normally, like,        24      Q So the extent of the impaired service
25 in a regular -- like, if you see -- if you see          25 would be that during a failed installation,



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1 sometimes there would be a crash?                        1 of how you design secure systems. It's the trust
2         ATTORNEY BLOCK: Object to form; misstates        2 model of your system.
3 testimony.                                               3        ATTORNEY WEINBERG: All right. Can we
4     A I think that's one evidence how they were          4 take a short break? Is that all right with you
5 impairing the service, but that was just an example,     5 guys?
6 but...                                                   6        ATTORNEY BLOCK: Yeah.
7     Q (BY ATTORNEY WEINBERG) Well, impairing the         7        THE VIDEOGRAPHER: 6:02 p.m.
8 trust in the service might be a different category.      8        (A break was taken from 6:02 p.m. to
9 I'm just kind of speaking from a technical               9 6:19 p.m.)
10 perspective.                                            10        THE VIDEOGRAPHER: We are on the record at
11        Did the service still provide voice              11 6:19 p.m.
12 services which allowed WhatsApp users to communicate    12     Q (BY ATTORNEY WEINBERG) All right. Do we
13 with one another across long distances?                 13 have Exhibit 1106 out already? I would like to
14        ATTORNEY BLOCK: I object to the preamble         14 direct your attention to page 7 of this.
15 of the question, and I object to the form of the        15     A Would you confirm the number at the
16 question that followed. And --                          16 bottom?
17     A Just to --                                        17     Q Yeah. It's 115245.
18        ATTORNEY BLOCK: -- it --                         18     A All right.
19     A -- be clear, I'm using "trust" here in a          19     Q There's an exchange here where Andrew
20 very technical manner. Trust is an important aspect     20 Stephen Robinson writes at 13:44:15, the time -- he
21 of designing secure systems.                            21 says:
22        And like, having a trust model in your           22            So digging through the logs
23 system influences a lot, like, the security of the      23        for testing you guys -- for
24 system. So I'm not using it in a metaphorical sense     24        testing, are you guys using
25 or in any way. Trust is a big -- an important part      25        emulated devices which can't reach
                                                Page 260                                                   Page 261
1        out to the Internet? Because I'm                   1 trying to repo to see how the attack works. And as
2        seeing actual commands with                        2 part of that, some of the engineers would take one
3        malicious C2s in the payloads                      3 of the malicious payloads that we found, and they
4        between test numbers.                              4 would essentially try to put that in their test
5        And then YuanYuan Wang responds, and               5 devices and tried to simulate how the exploit works.
6 afterwards Andrew Stephen Robinson responds:              6       And Andrew Robinson is concerned here
7            My concern is that you popped                  7 because "popping themselves" means that they would
8        yourselves.                                        8 actually execute the malicious code on their test
9        What do you understand to be this concern          9 devices that would essentially infect them and
10 about the researchers here, quote, popping              10 successfully contact the C2 servers.
11 themselves? What does that mean?                        11        And that is a breach -- "popping
12        ATTORNEY BLOCK: I'll object to having            12 themselves" in this context means that you have
13 omitted YuanYuan's statement in your preamble. And      13 breached -- like, you let the attacker that you
14 I object to scope.                                      14 found out about them.
15        But you can answer, to the extent you            15        So it would -- would completely compromise
16 understand.                                             16 the investigation in that case, so we had to operate
17    A Where is the comment that says "popping            17 at a very silent level where we couldn't let the
18 themselves"?                                            18 attacker know at all that we found out about this
19    Q (BY ATTORNEY WEINBERG) It's at -- the              19 attack in any means -- by any means.
20 comment at 13:47:43. It says:                           20        And I think that's what he means by
21            My concern is you popped                     21 "popping themselves" in this case. Like, reveal to
22        yourselves.                                      22 the attacker that we found the malicious payload.
23     A Yeah, so I think I know what's going on           23     Q And so in these instances, some engineers
24 here.                                                   24 were executing the suspicious offer stanzas --
25        As part of the investigation, we were            25     A On their own devices.



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 1 of the C2 servers was located on AW -- was hosted by     1 remediation of the attack entailed three fixes. Two
 2 AWS. And we tried to reach out to AWS to give us         2 of them were server side, and one of them --
 3 whatever they had on that machine that had that IP.      3     Q Two server side?
 4        I don't know what he means by "payload" in        4     A -- two server-side fixes and one client
 5 this case. Payload is kind of a generic name, so I       5 side fix that was rolled out with all the
 6 don't know what he means by "payload." But that's        6 applications, all the platforms that use WhatsApp,
 7 what I know that we tried to get from AWS.               7 the Android, iPhone, whatever. Like, all the
 8     Q (BY ATTORNEY WEINBERG) I would presume             8 phones.
 9 that the payload from a C2 server is whatever it is      9     Q The client-side fixes were for Android and
10 that the C2 server is programmed to deliver to a        10 iPhone?
11 client, right?                                          11     A Yes. It was a cross -- cross-platform
12         ATTORNEY BLOCK: Object to form; calls for       12 fix. It was the same fix that would apply to both
13 speculation.                                            13 platforms.
14     A Yeah, I don't know what he meant.                 14     Q Okay. So the vulnerability on the client
15     Q (BY ATTORNEY WEINBERG) All right. All             15 was both an Android and an iOS exploit?
16 right. So just about the fixes then.                    16         ATTORNEY BLOCK: Object to form.
17         In this document, do you see on page --         17     A So the vulnerability was in the C code
18 the second page in that same Aby John comment that      18 responsible for handling voice and video calling
19 we just spoke about, it discusses server fixes and      19 logic, and it was the same code running on both of
20 client fixes.                                           20 these platforms.
21         So can you tell me about the remediation        21     Q (BY ATTORNEY WEINBERG) Okay. Did WhatsApp
22 work that WhatsApp did in response to this -- to        22 have any evidence that any iOS devices were
23 this incident?                                          23 compromised using this vulnerability?
24     A Yeah, I can talk about that.                      24     A From what I remember, yes, we had some
25         So the remediation -- the immediate             25 iOS -- some samples of the attacks that were

                                                Page 272                                                   Page 273
 1 targeting iOS devices, but a majority of the             1 server-side fix -- sorry -- the client-side fix, you
 2 samples, from what I remember, was all Android.          2 rolled out an update to the Android Google store?
 3    Q I'll have you take a look at Exhibit 1119.          3     A The Play Store.
 4         (Exhibit 1119 was marked for                     4     Q The Play Store; is that correct?
 5 identification and is attached to the transcript.)       5     A Yes.
 6    A Yeah.                                               6        ATTORNEY BLOCK: Objection to form.
 7    Q (BY ATTORNEY WEINBERG) Just -- my only              7 Sorry. Belated.
 8 questions on this is: This is a WorkChat that you        8     Q (BY ATTORNEY WEINBERG) Did you send the
 9 received on May 14, 2019?                                9 same update to the Apple Store -- App Store?
10     A Yeah.                                             10         ATTORNEY BLOCK: Objection to form.
11     Q I think that's it.                                11      A Yes, we did.
12     A Okay.                                             12      Q (BY ATTORNEY WEINBERG) Tell me about the
13     Q What was the client-side fix that you             13 server-side fixes.
14 talked about?                                           14      A The first fix we rolled out on the server
15     A The client-side fix was preventing the            15 side was for the relay. And we rolled that out on
16 buffer overflow that was used in the remote code        16 Friday. I don't remember the actual date, that
17 execution.                                              17 week.
18          So we limited the buffer size sent -- that     18      Q Okay. So what did you do to the relay
19 is sent from the remote end. We limited it to the       19 server --
20 size of the buffer that we have locally. So after       20      A The relay server --
21 that fix, memory corruption could not occur anymore.    21      Q -- software?
22     Q Was the buffer overflow vulnerability in a        22      A -- sorry?
23 piece of third-party software?                          23      Q The relay server software.
24     A No.                                               24      A Yes. So the relay server fix was about
25     Q And you -- to roll out this                       25 limiting the messages that were used, the SRTPSR and



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 1 RR.                                                     1 temporary change that we made only for this. We
 2       The messages that were used to do -- to           2 pulled it out after we rolled out the client fix.
 3 exploit the buffer overflow were being kept and         3 We did it just to break their exploit, basically.
 4 dropped by the -- by the server. So a normal            4        From a protocol perspective, the
 5 WhatsApp application would not send these really        5 message -- like, you -- it wasn't -- it was just
 6 large SR and RR SRTP packets. So it was very easy       6 very -- something very specific that only those
 7 for us to identify the ones sent by a malicious --      7 clients were sending, so that's why we could do it.
 8 by a fake client.                                       8     Q And in that respect, the change to the
 9       In this case it was the fake client that          9 relay server created an additional barrier to -- to
10 was attacking the victim, so it was very easy for us    10 the exploit that didn't exist before; so it,
11 to basically put some logic in place that would         11 therefore, enhanced the security of the relay server
12 basically -- that would just drop those SRTPRR          12 beyond what it was?
13 messages.                                               13    A It -- it did not enhance the security of
14        And as an effect, we observed immediately        14 the relay server at all. It -- the only reason why
15 a different behavior in the pattern of the attacks,     15 we put that change is to break that specific
16 so we knew for sure that -- that we -- we broke         16 exploit, yes.
17 their exploit.                                          17    Q Did the change restore the server to a
18        It seemed kind of like it was broken, but        18 previous condition?
19 it wasn't clear. It seemed broken, but it wasn't        19       ATTORNEY BLOCK: Objection to form.
20 clear that we actually found it. And we did it --       20    A Restore the server to a previous
21 that intentionally to monitor their behavior.           21 condition? I'm not sure what that means.
22     Q So this change to the relay server                22    Q (BY ATTORNEY WEINBERG) The client-side
23 enhanced the security of the relay server beyond        23 vulnerability, I think that's the one that was
24 what it was before the fix?                             24 reported in the CVE, right?
25     A No, it did not. It was actually a                 25       ATTORNEY BLOCK: Object to form.
                                                Page 276                                                   Page 277
1     A What CVE?                                           1        number. The issue affects WhatsApp
2     Q (BY ATTORNEY WEINBERG) It's this -- the             2        for Android prior to
3 number is listed on the White Paper, if you want to       3        Version 2.19.134, WhatsApp Business
4 look at it, but CVE-2019-3568.                            4        for Android prior to
5     A Can I get that?                                     5        Version 2.19.44, WhatsApp for iOS
6     Q And 1148 is the exhibit number.                     6        prior to Version 2.19.51, and so
7        ATTORNEY BLOCK: You're looking for --              7        on.
8     A Yeah, got it. 3568. Yes, that's the one.            8        All right. So this only refers to the
9     Q (BY ATTORNEY WEINBERG) So just for the              9 client-side vulnerability, right? And this -- this
10 record, you have identified the same CVE number on      10 CVE refers to the client-side vulnerability?
11 the CVE list at Exhibit 1163?                           11         ATTORNEY BLOCK: Object to form.
12    A Yes.                                               12     A Yes.
13    Q So this says that the buffer overflow --           13     Q (BY ATTORNEY WEINBERG) And that
14 I'm looking at Exhibit 1163 at page 4. And I am         14 vulnerability existed in WhatsApp's code as WhatsApp
15 looking at the entry here for CVE-2019-3568.            15 wrote the code, right?
16        And that's the vulnerability that was            16         ATTORNEY BLOCK: Objection to form.
17 closed with the client-side fix, right?                 17     A So the way -- the way I look at the
18    A Yes.                                               18 vulnerability is it's a -- the vulnerability exists
19    Q So this is -- the description of that              19 in the moment when you have an attack that exploits
20 vulnerability, it says:                                 20 it.
21            A buffer overflow                            21     Q (BY ATTORNEY WEINBERG) I don't know if
22        vulnerability in WhatsApp VoIP                   22 that's right. What's the difference between a
23        stack allowed remote code execution              23 vulnerability and an exploit?
24        via a specially crafted series of                24         ATTORNEY BLOCK: Objection to form; scope.
25        RTCP packets sent to a target phone              25     Q (BY ATTORNEY WEINBERG) Isn't it the case



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       Case 4:19-cv-07123-PJH          Document 679-6            Filed 04/04/25      Page 23 of 139
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 278..281
                                                Page 278                                                   Page 279
 1 that a vulnerability is a potential for                  1        ATTORNEY BLOCK: Huh?
 2 exploitation, and an exploit is when the                 2     A They're just flaws. The moment you build
 3 vulnerability is actually exploited?                     3 an attack --
 4        ATTORNEY BLOCK: Objection to form; and            4        ATTORNEY BLOCK: Can you just let the
 5 scope.                                                   5 witness finish his answer before you interrupt?
 6    A So the way I see a vulnerability is in --           6        ATTORNEY WEINBERG: He paused.
 7 like, that exists in the moment you have an attack       7     Q (BY ATTORNEY WEINBERG) Go ahead.
 8 that -- that uses it.                                    8     A So there's always going to be flaws in --
 9    Q (BY ATTORNEY WEINBERG) Don't you have a             9 in the software. Like, it's always there. There's
10 vulnerability the moment you write a code that has a    10 always -- any software that exists today has some
11 vulnerability?                                          11 flaws in it.
12         Like, if I make a fence and the fence has       12         The moment that becomes a vulnerability
13 a gap in it, the fence has a vulnerability. And if      13 and becomes relevant is when someone is able to
14 somebody walks through that fence -- that gap in the    14 exploit it and have an attack that uses it.
15 fence, that's -- that's an exploit of the               15         Until then, it's -- it's just software.
16 vulnerability?                                          16     Q (BY ATTORNEY WEINBERG) Okay. I think we
17     A No, I don't --                                    17 are just having a semantic discussion. So we want
18         ATTORNEY BLOCK: Object to -- sorry.             18 to call the hole in the software that is
19 Objection to form; scope; vagueness; incomplete         19 exploitable, a flaw?
20 hypothetical, et cetera.                                20         ATTORNEY BLOCK: Objection to form.
21     A -- yeah, I don't agree with that.                 21     A I think a vulnerability is -- is a flaw.
22         So software has virtually, like, always         22 My point is that an attack is the one that validates
23 some flaws in it.                                       23 that you can use that flaw to do something bad with
24     Q (BY ATTORNEY WEINBERG) What would you call        24 it.
25 those flaws?                                            25     Q (BY ATTORNEY WEINBERG) And I guess my only
                                                Page 280                                                   Page 281
 1 question is that: That flaw existed in WhatsApp's       1     A -- on the client, yes. They changed the
 2 software as WhatsApp wrote it, right? It wasn't         2 WhatsApp client on -- they changed the WhatsApp code
 3 created by anybody else?                                3 running on the victim's phone.
 4        ATTORNEY BLOCK: Objection to form.               4     Q But the flaw or vulnerability they used to
 5    A So we -- we wrote the software for the             5 do that, which is the vulnerability disclosed at
 6 VoIP stack having in mind all the -- like, we           6 CVE-2019-3568, was a vulnerability that existed in
 7 designed it and we wrote it, assuming that the          7 WhatsApp's code as WhatsApp had released it?
 8 messages being sent are a part of the WhatsApp          8        ATTORNEY BLOCK: Objection to form. It's
 9 network and that they're official clients built by      9 asked and answered. And I think it's time to move
10 the WhatsApp team.                                      10 on.
11        So with that regards, there was no flaw.         11        ATTORNEY WEINBERG: All right. Let's go
12 Voice calling was working perfectly fine.               12 off the record for a bit.
13     Q (BY ATTORNEY WEINBERG) Nobody changed             13        THE VIDEOGRAPHER: It's 6:59 p.m.
14 WhatsApp's code, right?                                 14        (A break was taken from 6:59 p.m. to
15        ATTORNEY BLOCK: Object to form.                  15 7:06 p.m.)
16     Q (BY ATTORNEY WEINBERG) No -- pegasus              16        THE VIDEOGRAPHER: Back on the record at
17 didn't change WhatsApp's code, correct?                 17 7:06 p.m.
18     A I --                                              18     Q (BY ATTORNEY WEINBERG) All right. You
19        ATTORNEY BLOCK: Object to form and scope.        19 said that there were two server changes that were
20     A -- I actually don't agree with that.              20 precipitated by this. The first one was this relay
21 Because they changed the memory layout of the           21 server change.
22 application and they actually did change the            22        What was the second?
23 WhatsApp code.                                          23     A The second fix was on the signaling server
24        They made the --                                 24 that enforced the validation of the stanza -- of the
25     Q (BY ATTORNEY WEINBERG) On the client?             25 offer stanzas and dropped them.



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WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                                      Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                                     Pages· 294..295
                                                          Page 294                                                            Page 295
 1        I, MARY J. GOFF, CSR No. 13427, Certified                   1                         ERRATA SHEET
 2   Shorthand Reporter of the State of California,                   2                         SWIVEL LEGAL
 3   certify;                                                         3                    560 W Main Street, C163
 4        That the foregoing proceedings were taken                   4                  Alhambra, California 91801
 5   before me at the time and place herein set forth, at             5                         213-788-2327
 6   which time the witness declared under penalty of                 6                 CASE:   WhatsApp v. NSO Group
 7   perjury; that the testimony of the witness and all               7   PAGE   LINE   FROM                       TO
 8   objections made at the time of the examination were              8   ____|______|_________________________|______________
 9   recorded stenographically by me and were thereafter
                                                                      9   ____|______|_________________________|______________
10   transcribed under my direction and supervision; that
                                                                     10   ____|______|_________________________|______________
11   the foregoing is a full, true, and correct
                                                                     11   ____|______|_________________________|______________
12   transcript of my shorthand notes so taken and of the
                                                                     12   ____|______|_________________________|______________
13   testimony so given;
                                                                     13   ____|______|_________________________|______________
14        That before completion of the deposition,
                                                                     14   ____|______|_________________________|______________
15   review of the transcript ( ) was (XX) was not
                                                                     15   ____|______|_________________________|______________
16   requested:   (    ) that the witness has failed or
                                                                     16   ____|______|_________________________|______________
17   refused to approve the transcript.
                                                                     17   ____|______|_________________________|______________
18        I further certify that I am not financially
                                                                     18
19   interested in the action, and I am not a relative or
                                                                     19           ______________________________
20   employee of any attorney of the parties, nor of any
21   of the parties.                                                 20           CLAUDIU GHEORGHE

22        I declare under penalty of perjury under the               21   Subscribed and sworn to before me

23   laws of California that the foregoing is true and               22   this _____ day of _____________, 2024.

24   correct, dated this     day of       , 2024.                    23   ______________________________________
25                _________________________                          24             Notary Public
                  MARY J. GOFF                                       25




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              EXHIBIT 15
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries     attacker_phones
                                            ["2401:db00:f01f:0011:face:000 ["cdt1","mba1"]   ["fnedge247.01.cdt1.facebook.co ["Paris,
                                            0:000d:0000","2401:db00:f034:                    m","fnedge020.01.mba1.faceboo FR","Mombasa, KE "]
                                            0001:face:0000:0027:0000"]                       k.com"]
                                            ["2401:db00:f013:4016:face:000 ["dfw5","lga3"]   ["fnedge527.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:0011:0000","2401:db00:f012:                    om","fnedge559.01.lga3.faceboo US","New York, NY,
                                            2002:face:0000:001f:0000"]                       k.com"]                         US"]
                                            ["2401:db00:f030:0007:face:000 ["maa2"]          ["fnedge141.01.maa2.facebook.c ["Chennai,
                                            0:0003:0000","2401:db00:f01b:                    om","2401:db00:f01b:100b:face: India","unknown"]
                                            100b:face:0000:001d:0000"]                       0:1d:0"]
                                            ["2401:db00:f013:1018:face:000 ["dfw5"]          ["fnedge454.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001b:0000","2401:db00:f013:                    om","fnedge150.01.dfw5.facebo
                                            100c:face:0000:0013:0000"]                       ok.com"]
                                            ["2401:db00:f00b:2011:face:000 ["ort2"]          ["fnedge238.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:001b:0000"]                                    m"]
                                            ["2401:db00:f012:200a:face:000 ["lga3"]          ["fnedge819.01.lga3.facebook.co ["New York, NY, US"]
                                            0:0005:0000"]                                    m"]
                                            ["2401:db00:f00b:2004:face:000 ["ort2","lax3"]   ["fnedge364.02.ort2.facebook.co ["Chicago, IL,
                                            0:0019:0000","2401:db00:f00b:                    m","fnedge504.02.ort2.facebook US","Los Angeles, CA,
                                            2007:face:0000:000f:0000","240                   .com","fnedge050.02.lax3.facebo US"]
                                            1:db00:f00d:2006:face:0000:001                   ok.com"]
                                            3:0000"]
                                            ["2401:db00:f01f:0001:face:000 ["cdt1","cdg2"]   ["fnedge013.01.cdt1.facebook.co ["Paris, FR"]
                                            0:0019:0000","2401:db00:f01f:1                   m","fnedge662.01.cdg2.facebook
                                            014:face:0000:000d:0000"]                        .com"]
                                            ["2401:db00:f036:0001:face:000 ["dus1"]          ["fnedge014.01.dus1.facebook.c ["Dusseldorf, DE"]
                                            0:0003:0000","2401:db00:f036:                    om","fnedge080.01.dus1.facebo
                                            0002:face:0000:0027:0000"]                       ok.com"]
                                            ["2401:db00:f01b:0008:face:000 ["amt2","mrs2"]   ["fnedge192.01.amt2.facebook.c ["Amsterdam,
                                            0:0019:0000","2401:db00:f006:                    om","fnedge412.01.mrs2.facebo NL","Marseille, FR"]
                                            1016:face:0000:0027:0000"]                       ok.com"]
                                            ["2401:db00:f01c:0001:face:000 ["frx5"]          ["fnedge481.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:001f:0000"]                                    m"]
                                            ["2401:db00:f02a:0008:face:000 ["bom1"]          ["fnedge206.01.bom1.facebook.c ["Bombay, IN"]
                                            0:0027:0000"]                                    om"]
                                            ["2401:db00:f01b:1010:face:000 ["amt2"]          ["2401:db00:f01b:1010:face:0:13 ["unknown","Amster
                                            0:0013:0000","2401:db00:f01b:                    :0","fnedge042.01.amt2.faceboo dam, NL"]
                                            0004:face:0000:0007:0000"]                       k.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f00b:200e:face:000 ["ort2","msp1"]   ["fnedge300.02.ort2.facebook.co ["Chicago, IL,
                                            0:001f:0000","2401:db00:f033:0                   m","fnedge112.01.msp1.faceboo US","Minneapolis,
                                            005:face:0000:0027:0000"]                        k.com"]                         MN, US"]
                                            ["2401:db00:f00b:200c:face:000 ["ort2","dfw5"]   ["fnedge518.02.ort2.facebook.co ["Chicago, IL,
                                            0:0001:0000","2401:db00:f013:                    m","fnedge468.01.dfw5.faceboo US","Dallas, Texas,
                                            1013:face:0000:000d:0000"]                       k.com"]                         US"]
                                            ["2401:db00:f01b:0012:face:000 ["amt2"]          ["fnedge293.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:0017:0000"]                                    om"]
                                            ["2401:db00:f006:2008:face:000 ["mrs2"]          ["fnedge008.02.mrs2.facebook.c ["Marseille, FR"]
                                            0:0015:0000","2401:db00:f006:                    om","fnedge046.02.mrs2.facebo
                                            2007:face:0000:001f:0000"]                       ok.com"]
                                            ["2401:db00:f00b:0005:face:000 ["ort2"]          ["fnedge433.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:000b:0000","2401:db00:f00b:                    m","fnedge453.01.ort2.facebook
                                            0006:face:0000:0027:0000"]                       .com"]
                                            ["2401:db00:f00d:0012:face:000 ["lax3","ort2"]   ["fnedge764.01.lax3.facebook.co ["Los Angeles, CA,
                                            0:0027:0000","2401:db00:f00b:                    m","fnedge555.02.ort2.facebook US","Chicago, IL, US"]
                                            2009:face:0000:0015:0000"]                       .com"]
                                            ["2401:db00:f013:4013:face:000 ["dfw5","mia3"]   ["fnedge764.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:0007:0000","2401:db00:f000:                    om","fnedge664.02.mia3.facebo US","Miami, Florida,
                                            300f:face:0000:0023:0000"]                       ok.com"]                        US"]
                                            ["2401:db00:f01b:100c:face:000                   ["2401:db00:f01b:100c:face:0:1b ["unknown"]
                                            0:001b:0000"]                                    :0"]
                                            ["2401:db00:f033:0002:face:000 ["msp1","iad3"]   ["fnedge023.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0003:0000","2401:db00:f003:                    om","fnedge679.01.iad3.faceboo US","Washington, DC,
                                            1013:face:0000:0013:0000"]                       k.com"]                         US"]
                                            ["2401:db00:f01b:1008:face:000                   ["2401:db00:f01b:1008:face:0:1d ["unknown"]
                                            0:001d:0000"]                                    :0"]
                                            ["2401:db00:f00b:0010:face:000 ["ort2"]          ["fnedge329.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:001f:0000"]                                    m"]
                                            ["2401:db00:f013:400d:face:000 ["dfw5"]          ["fnedge605.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0005:0000","2401:db00:f013:                    om","fnedge420.01.dfw5.facebo
                                            1007:face:0000:0021:0000"]                       ok.com"]
                                            ["2401:db00:f01c:0003:face:000 ["frx5"]          ["fnedge280.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0001:0000","2401:db00:f01c:0                   m","fnedge077.01.frx5.facebook.
                                            00f:face:0000:0021:0000"]                        com"]
                                            ["2401:db00:f013:1015:face:000 ["dfw5"]          ["fnedge278.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001b:0000"]                                    om"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f00d:2008:face:000 ["lax3","ort2"]   ["fnedge147.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:001b:0000","2401:db00:f00b:                    m","fnedge257.01.ort2.facebook US","Chicago, IL, US"]
                                            0009:face:0000:001b:0000"]                       .com"]
                                            ["2401:db00:f00b:2010:face:000 ["ort2"]          ["fnedge344.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0009:0000"]                                    m"]
                                            ["2401:db00:f01c:0013:face:000 ["frx5","maa2"]   ["fnedge590.01.frx5.facebook.co ["Frankfurt,
                                            0:0027:0000","2401:db00:f030:                    m","fnedge166.02.maa2.faceboo DE","Chennai, India"]
                                            1006:face:0000:001f:0000"]                       k.com"]
                                            ["2401:db00:f01b:0010:face:000 ["amt2"]          ["fnedge290.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:0005:0000","2401:db00:f01b:                    om","fnedge244.01.amt2.facebo
                                            0011:face:0000:0019:0000"]                       ok.com"]
                                            ["2401:db00:f030:1006:face:000 ["maa2"]          ["fnedge167.02.maa2.facebook.c ["Chennai,
                                            0:0019:0000","2401:db00:f01b:                    om","2401:db00:f01b:100f:face: India","unknown"]
                                            100f:face:0000:0005:0000"]                       0:5:0"]
                                            ["2401:db00:f013:4015:face:000 ["dfw5"]          ["fnedge501.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0001:0000"]                                    om"]
                                            ["2401:db00:f01c:200a:face:000 ["frt3"]          ["fnedge538.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0017:0000"]                                    m"]
                                            ["2401:db00:f01a:100e:face:000 ["lhr3"]          ["fnedge184.01.lhr3.facebook.co ["London, UK"]
                                            0:0011:0000","2401:db00:f01a:                    m","fnedge110.01.lhr3.facebook.
                                            1004:face:0000:0013:0000","24                    com","fnedge206.01.lhr3.facebo
                                            01:db00:f01a:1008:face:0000:00                   ok.com"]
                                            05:0000"]
                                            ["2401:db00:f01b:0007:face:000 ["amt2"]          ["fnedge208.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:000b:0000","2401:db00:f01b:                    om","fnedge213.01.amt2.facebo
                                            0010:face:0000:0017:0000"]                       ok.com"]
                                            ["2401:db00:f01a:100e:face:000 ["lhr3","jnb1"]   ["fnedge246.01.lhr3.facebook.co ["London,
                                            0:0025:0000","2401:db00:f01b:                    m","2401:db00:f01b:100b:face:0 UK","unknown","Joha
                                            100b:face:0000:0007:0000","24                    :7:0","fnedge172.01.jnb1.facebo nnesburg, ZA"]
                                            01:db00:f023:0009:face:0000:00                   ok.com"]
                                            25:0000"]
                                            ["2401:db00:f02a:0010:face:000 ["bom1"]          ["fnedge389.01.bom1.facebook.c ["Bombay, IN"]
                                            0:0015:0000"]                                    om"]
                                            ["2401:db00:f02a:000e:face:000 ["bom1"]          ["fnedge212.01.bom1.facebook.c ["Bombay, IN"]
                                            0:0019:0000","2401:db00:f02a:                    om","fnedge416.01.bom1.facebo
                                            000e:face:0000:0007:0000"]                       ok.com"]
                                            ["2401:db00:f02f:0005:face:000 ["ber1"]          ["fnedge113.01.ber1.facebook.c ["Berlin, DE"]
                                            0:000d:0000"]                                    om"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers              server                           center_countries     attacker_phones
                                            ["2401:db00:f01b:100e:face:000 ["lht6"]             ["2401:db00:f01b:100e:face:0:15 ["unknown","London,
                                            0:0015:0000","2401:db00:f01a:                       :0","fnedge454.01.lht6.facebook. UK"]
                                            200b:face:0000:001b:0000","24                       com","fnedge005.01.lht6.facebo
                                            01:db00:f01a:2007:face:0000:00                      ok.com"]
                                            19:0000"]
                                            ["2401:db00:f008:1001:face:000 ["mxp1","mrs2","amt ["fnedge419.01.mxp1.facebook.c ["Milano,
                                            0:0017:0000","2401:db00:f01b: 2"]                   om","fnedge304.01.amt2.facebo IT","Amsterdam,
                                            000b:face:0000:000f:0000","240                      ok.com","fnedge039.01.amt2.fac NL","Marseille, FR"]
                                            1:db00:f01b:0002:face:0000:002                      ebook.com","fnedge289.01.mrs2
                                            1:0000","2401:db00:f006:100e:f                      .facebook.com","fnedge167.01.a
                                            ace:0000:0007:0000","2401:db0                       mt2.facebook.com","fnedge268.
                                            0:f01b:0004:face:0000:001f:000                      01.amt2.facebook.com"]
                                            0","2401:db00:f01b:0001:face:0
                                            000:0025:0000"]
                                            ["2401:db00:f02f:0005:face:000 ["ber1","arn2"]      ["fnedge110.01.ber1.facebook.c ["Berlin,
                                            0:000b:0000","2401:db00:f009:                       om","fnedge030.02.arn2.faceboo DE","Stockholm, SE"]
                                            1002:face:0000:0025:0000"]                          k.com"]
                                            ["2401:db00:f01c:2009:face:000 ["frt3","amt2","mad1 ["fnedge489.01.frt3.facebook.co ["Frankfurt,
                                            0:0005:0000","2401:db00:f01b: "]                    m","fnedge227.01.amt2.faceboo DE","Amsterdam,
                                            0006:face:0000:001d:0000","24                       k.com","fnedge071.01.amt2.face NL","Madrid, ES"]
                                            01:db00:f01b:000b:face:0000:00                      book.com","fnedge885.01.mad1.
                                            27:0000","2401:db00:f004:100d                       facebook.com"]
                                            :face:0000:0003:0000"]
                                            ["2401:db00:f02a:0007:face:000 ["bom1","frx5"]      ["fnedge051.01.bom1.facebook.c ["Bombay,
                                            0:0027:0000","2401:db00:f01c:0                      om","fnedge518.01.frx5.faceboo IN","Frankfurt, DE"]
                                            015:face:0000:0015:0000","240                       k.com","fnedge159.01.frx5.faceb
                                            1:db00:f01c:0004:face:0000:001                      ook.com"]
                                            3:0000"]
                                            ["2401:db00:f01b:1010:face:000                      ["2401:db00:f01b:1010:face:0:1: ["unknown"]
                                            0:0001:0000","2401:db00:f01b:                       0","2401:db00:f01b:100b:face:0:
                                            100b:face:0000:0011:0000"]                          11:0"]
                                            ["2401:db00:f00d:2008:face:000 ["lax3","ort2"]      ["fnedge058.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0015:0000","2401:db00:f00b:                       m","fnedge524.01.ort2.facebook US","Chicago, IL, US"]
                                            000a:face:0000:000b:0000"]                          .com"]
                                            ["2401:db00:f01f:0002:face:000 ["cdt1","mba1"]      ["fnedge205.01.cdt1.facebook.co ["Paris,
                                            0:000b:0000","2401:db00:f034:                       m","fnedge010.01.mba1.faceboo FR","Mombasa, KE "]
                                            0001:face:0000:0013:0000"]                          k.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers               server                          center_countries       attacker_phones
                                            ["2401:db00:f01a:200f:face:000 ["lht6","lhr3"]       ["fnedge074.01.lht6.facebook.co ["London,
                                            0:001f:0000","2401:db00:f01a:2                       m","fnedge293.01.lht6.facebook. UK","unknown"]
                                            006:face:0000:0001:0000","240                        com","fnedge135.01.lhr3.facebo
                                            1:db00:f01a:100c:face:0000:001                       ok.com","2401:db00:f01b:1007:f
                                            7:0000","2401:db00:f01b:1007:f                       ace:0:1f:0"]
                                            ace:0000:001f:0000"]
                                            ["2401:db00:f01b:0004:face:000 ["amt2","mrs2"]       ["fnedge260.01.amt2.facebook.c ["Amsterdam,
                                            0:0023:0000","2401:db00:f006:                        om","fnedge023.02.mrs2.facebo NL","Marseille, FR"]
                                            2006:face:0000:0003:0000"]                           ok.com"]
                                            ["2401:db00:f006:2005:face:000 ["mrs2","amt2"]       ["fnedge082.02.mrs2.facebook.c ["Marseille,
                                            0:0003:0000","2401:db00:f006:                        om","fnedge235.01.mrs2.facebo FR","unknown","Ams
                                            1005:face:0000:0013:0000","24                        ok.com","2401:db00:f01b:100b:f terdam, NL"]
                                            01:db00:f01b:100b:face:0000:00                       ace:0:1:0","2401:db00:f01c:3018
                                            01:0000","2401:db00:f01c:3018:                       :face:0:27:0","fnedge262.01.amt
                                            face:0000:0027:0000","2401:db                        2.facebook.com"]
                                            00:f01b:0008:face:0000:0001:00
                                            00"]
                                            ["2401:db00:f013:400b:face:000 ["dfw5"]              ["fnedge632.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0023:0000"]                                        om"]
                                            ["2401:db00:f033:0001:face:000 ["msp1","lax3","ort2" ["fnedge042.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0011:0000","2401:db00:f00d: ]                      om","fnedge054.02.lax3.faceboo US","Los Angeles, CA,
                                            2007:face:0000:001b:0000","24                        k.com","fnedge131.01.lax3.faceb US","Chicago, IL, US"]
                                            01:db00:f00d:0014:face:0000:00                       ook.com","fnedge481.02.ort2.fac
                                            19:0000","2401:db00:f00b:200f:                       ebook.com"]
                                            face:0000:0005:0000"]
                                            ["2401:db00:f006:1002:face:000 ["mrs2"]              ["fnedge193.01.mrs2.facebook.c ["Marseille,
                                            0:0011:0000","2401:db00:f01b:                        om","2401:db00:f01b:100f:face: FR","unknown"]
                                            100f:face:0000:0015:0000","240                       0:15:0","2401:db00:f01b:1011:fa
                                            1:db00:f01b:1011:face:0000:002                       ce:0:25:0"]
                                            5:0000"]
                                            ["2401:db00:f000:200c:face:000 ["mia3"]              ["fnedge263.01.mia3.facebook.c ["Miami, Florida, US"]
                                            0:0019:0000","2401:db00:f000:                        om","fnedge155.01.mia3.facebo
                                            2010:face:0000:0023:0000"]                           ok.com"]
                                            ["2401:db00:f00c:4018:face:000 ["sin2"]              ["fnedge215.02.sin2.facebook.co ["Singapore"]
                                            0:000b:0000"]                                        m"]
                                            ["2401:db00:f01a:2005:face:000 ["lht6","amt2"]       ["fnedge459.01.lht6.facebook.co ["London,
                                            0:000f:0000","2401:db00:f01b:0                       m","fnedge140.01.amt2.faceboo UK","Amsterdam,
                                            006:face:0000:0001:0000"]                            k.com"]                         NL"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries     attacker_phones
                                            ["2401:db00:f02a:000f:face:000 ["bom1"]          ["fnedge376.01.bom1.facebook.c ["Bombay,
                                            0:000d:0000","2401:db00:f01b:                    om","2401:db00:f01b:1008:face: IN","unknown"]
                                            1008:face:0000:0021:0000"]                       0:21:0"]
                                            ["2401:db00:f01c:000c:face:000 ["frx5","maa2"]   ["fnedge111.01.frx5.facebook.co ["Frankfurt,
                                            0:001d:0000","2401:db00:f030:                    m","fnedge132.02.maa2.faceboo DE","Chennai, India"]
                                            1004:face:0000:0007:0000"]                       k.com"]
                                            ["2401:db00:f004:1012:face:000 ["mad1","cdt1"]   ["fnedge709.01.mad1.facebook.c ["Madrid, ES","Paris,
                                            0:0019:0000","2401:db00:f01f:0                   om","fnedge041.01.cdt1.faceboo FR"]
                                            007:face:0000:0015:0000","240                    k.com","fnedge062.01.cdt1.face
                                            1:db00:f01f:000e:face:0000:001                   book.com"]
                                            7:0000"]
                                            ["2401:db00:f021:1003:face:000 ["bru2","frx5"]   ["fnedge292.01.bru2.facebook.c ["Bruxelles,
                                            0:0005:0000","2401:db00:f01c:0                   om","fnedge427.01.frx5.faceboo BE","Frankfurt, DE"]
                                            018:face:0000:0009:0000"]                        k.com"]
                                            ["2401:db00:f01b:100b:face:000 ["otp1"]          ["2401:db00:f01b:100b:face:0:f: ["Bucharest,
                                            0:000f:0000","2401:db00:f016:0                   0","fnedge106.01.otp1.facebook. RO","unknown"]
                                            012:face:0000:001b:0000","240                    com","2401:db00:f01b:1008:face
                                            1:db00:f01b:1008:face:0000:001                   :0:19:0","2401:db00:f01b:100c:f
                                            9:0000","2401:db00:f01b:100c:f                   ace:0:9:0"]
                                            ace:0000:0009:0000"]
                                            ["2401:db00:f013:400b:face:000 ["dfw5","mia3"]   ["fnedge638.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:001b:0000","2401:db00:f000:                    om","fnedge650.02.mia3.facebo US","Miami, Florida,
                                            300e:face:0000:001b:0000"]                       ok.com"]                        US"]
                                            ["2401:db00:f00b:0005:face:000 ["ort2"]          ["fnedge434.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:000d:0000"]                                    m"]
                                            ["2401:db00:f023:0008:face:000 ["jnb1","lht6"]   ["fnedge136.01.jnb1.facebook.co ["Johannesburg,
                                            0:0001:0000","2401:db00:f01a:                    m","fnedge153.01.lht6.facebook. ZA","London, UK"]
                                            2014:face:0000:000d:0000"]                       com"]
                                            ["2401:db00:f01b:000e:face:000 ["amt2"]          ["fnedge254.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:001f:0000"]                                    om"]
                                            ["2401:db00:f008:1014:face:000 ["mxp1"]          ["fnedge645.01.mxp1.facebook.c ["Milano, IT"]
                                            0:0009:0000","2401:db00:f008:                    om","fnedge147.01.mxp1.facebo
                                            1004:face:0000:000f:0000"]                       ok.com"]
                                            ["2401:db00:f023:0002:face:000 ["jnb1","amt2"]   ["fnedge102.01.jnb1.facebook.co ["Johannesburg,
                                            0:0017:0000","2401:db00:f01b:                    m","fnedge364.01.amt2.faceboo ZA","Amsterdam,
                                            0011:face:0000:0027:0000"]                       k.com"]                         NL"]
                                            ["2401:db00:f011:0009:face:000 ["atl3"]          ["fnedge713.01.atl3.facebook.co ["Atlanda, Georgia,
                                            0:0001:0000"]                                    m"]                             US"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries     attacker_phones
                                            ["2401:db00:f01f:1014:face:000 ["cdg2","cdt1"]   ["fnedge655.01.cdg2.facebook.c ["Paris, FR"]
                                            0:001d:0000","2401:db00:f01f:0                   om","fnedge111.01.cdt1.faceboo
                                            005:face:0000:0023:0000"]                        k.com"]
                                            ["2401:db00:f01c:3012:face:000 ["frt3","mia3"]   ["fnedge206.02.frt3.facebook.co ["Frankfurt,
                                            0:0025:0000","2401:db00:f01c:3                   m","fnedge362.02.frt3.facebook. DE","Miami, Florida,
                                            012:face:0000:0003:0000","240                    com","fnedge269.01.mia3.faceb US"]
                                            1:db00:f000:2011:face:0000:001                   ook.com"]
                                            f:0000"]
                                            ["2401:db00:f00d:2004:face:000 ["lax3","ort2"]   ["fnedge006.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0005:0000","2401:db00:f00b:                    m","fnedge032.02.ort2.facebook US","Chicago, IL, US"]
                                            2002:face:0000:0011:0000"]                       .com"]
                                            ["2401:db00:f01f:0010:face:000 ["cdt1","frx5"]   ["fnedge194.01.cdt1.facebook.co ["Paris,
                                            0:0023:0000","2401:db00:f01c:0                   m","fnedge205.01.frx5.facebook. FR","Frankfurt, DE"]
                                            018:face:0000:0005:0000"]                        com"]
                                            ["2401:db00:f013:400c:face:000 ["dfw5"]          ["fnedge362.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000"]                                    om"]
                                            ["2401:db00:f01c:200b:face:000 ["frt3","bom1"]   ["fnedge549.01.frt3.facebook.co ["Frankfurt,
                                            0:000b:0000","2401:db00:f02a:                    m","fnedge168.02.bom1.faceboo DE","Bombay, IN"]
                                            100b:face:0000:0007:0000"]                       k.com"]
                                            ["2401:db00:f01b:100c:face:000                   ["2401:db00:f01b:100c:face:0:15 ["unknown"]
                                            0:0015:0000"]                                    :0"]
                                            ["2401:db00:f01c:3004:face:000 ["frt3"]          ["fnedge297.02.frt3.facebook.co ["Frankfurt,
                                            0:0009:0000","2401:db00:f01c:3                   m","2401:db00:f01c:3017:face:0: DE","unknown"]
                                            017:face:0000:0021:0000"]                        21:0"]
                                            ["2401:db00:f01c:3013:face:000 ["frt3"]          ["fnedge484.02.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0023:0000","2401:db00:f01c:3                   m","fnedge344.02.frt3.facebook.
                                            005:face:0000:0025:0000"]                        com"]
                                            ["2401:db00:f00b:000d:face:000 ["ort2"]          ["fnedge547.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:000b:0000"]                                    m"]
                                            ["2401:db00:f01a:2009:face:000 ["lht6","lhr3"]   ["fnedge286.01.lht6.facebook.co ["London, UK"]
                                            0:001f:0000","2401:db00:f01a:1                   m","fnedge192.01.lhr3.facebook.
                                            009:face:0000:001b:0000"]                        com"]
                                            ["2401:db00:f01b:0005:face:000 ["amt2"]          ["fnedge307.01.amt2.facebook.c ["Amsterdam,
                                            0:0009:0000","2401:db00:f01b:                    om","2401:db00:f01b:1008:face: NL","unknown"]
                                            1008:face:0000:0023:0000"]                       0:23:0"]
                                            ["2401:db00:f006:1005:face:000 ["mrs2","amt2"]   ["fnedge232.01.mrs2.facebook.c ["Marseille,
                                            0:0023:0000","2401:db00:f01b:                    om","fnedge111.01.amt2.facebo FR","Amsterdam,
                                            0003:face:0000:001d:0000"]                       ok.com"]                        NL"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                           center_countries  attacker_phones
                                            ["2401:db00:f01a:1006:face:000 ["lhr3","amt2"]   ["fnedge059.01.lhr3.facebook.co ["London,
                                            0:0015:0000","2401:db00:f01a:                    m","fnedge246.01.lhr3.facebook. UK","unknown","Ams
                                            100e:face:0000:0025:0000","24                    com","2401:db00:f01b:1009:face terdam, NL"]
                                            01:db00:f01b:1009:face:0000:00                   :0:f:0","2401:db00:f01b:1007:fac
                                            0f:0000","2401:db00:f01b:1007:                   e:0:b:0","2401:db00:f01b:100a:f
                                            face:0000:000b:0000","2401:db                    ace:0:13:0","fnedge145.01.amt2.
                                            00:f01b:100a:face:0000:0013:00                   facebook.com"]
                                            00","2401:db00:f01b:0002:face:
                                            0000:000b:0000"]
                                            ["2401:db00:f00b:000d:face:000 ["ort2"]          ["fnedge551.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0013:0000","2401:db00:f00b:                    m","fnedge489.01.ort2.facebook
                                            000c:face:0000:0013:0000"]                       .com"]
                                            ["2401:db00:f02a:0007:face:000 ["bom1"]          ["fnedge097.01.bom1.facebook.c ["Bombay, IN"]
                                            0:000b:0000","2401:db00:f02a:                    om","fnedge073.02.bom1.facebo
                                            1004:face:0000:000b:0000"]                       ok.com"]
                                            ["2401:db00:f009:1003:face:000 ["arn2"]          ["fnedge081.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:0001:0000","2401:db00:f009:                    m","fnedge062.02.arn2.facebook
                                            1006:face:0000:0019:0000"]                       .com"]
                                            ["2401:db00:f033:0001:face:000 ["msp1","dfw5"]   ["fnedge059.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:001d:0000","2401:db00:f013:                    om","fnedge234.01.dfw5.facebo US","Dallas, Texas,
                                            1014:face:0000:0019:0000","24                    ok.com","fnedge387.01.dfw5.fac US"]
                                            01:db00:f013:1008:face:0000:00                   ebook.com"]
                                            05:0000"]
                                            ["2401:db00:f00c:0016:face:000 ["sin2","lax3"]   ["fnedge420.01.sin2.facebook.co ["Singapore","Los
                                            0:0013:0000","2401:db00:f00c:0                   m","fnedge275.01.sin2.facebook. Angeles, CA, US"]
                                            00d:face:0000:000d:0000","240                    com","fnedge169.01.sin2.facebo
                                            1:db00:f00c:000a:face:0000:001                   ok.com","fnedge936.01.lax3.face
                                            9:0000","2401:db00:f00d:0004:f                   book.com"]
                                            ace:0000:0025:0000"]
                                            ["2401:db00:f01b:1010:face:000 ["amt2"]          ["2401:db00:f01b:1010:face:0:b: ["unknown","Amster
                                            0:000b:0000","2401:db00:f01b:                    0","2401:db00:f01b:100a:face:0: dam, NL"]
                                            100a:face:0000:0001:0000","24                    1:0","fnedge160.01.amt2.facebo
                                            01:db00:f01b:0009:face:0000:00                   ok.com","fnedge055.01.amt2.fac
                                            1f:0000","2401:db00:f01b:000d:                   ebook.com"]
                                            face:0000:0019:0000"]
                                            ["2401:db00:f013:1001:face:000 ["dfw5"]          ["fnedge015.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001b:0000","2401:db00:f013:                    om","fnedge604.02.dfw5.facebo
                                            400d:face:0000:0011:0000"]                       ok.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f02a:1012:face:000 ["bom1"]          ["fnedge367.02.bom1.facebook.c ["Bombay, IN"]
                                            0:0011:0000"]                                    om"]
                                            ["2401:db00:f013:4002:face:000 ["dfw5"]          ["fnedge408.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001d:0000","2401:db00:f013:                    om","fnedge328.01.dfw5.facebo
                                            1010:face:0000:0015:0000"]                       ok.com"]
                                            ["2401:db00:f013:400e:face:000 ["dfw5"]          ["fnedge659.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001b:0000","2401:db00:f013:                    om","fnedge024.01.dfw5.facebo
                                            1003:face:0000:0009:0000"]                       ok.com"]
                                            ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge670.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000d:0000"]                                    om"]
                                            ["2401:db00:f01a:200a:face:000 ["lht6"]          ["fnedge233.01.lht6.facebook.co ["London,
                                            0:0017:0000","2401:db00:f01b:                    m","2401:db00:f01b:100e:face:0 UK","unknown"]
                                            100e:face:0000:001b:0000"]                       :1b:0"]
                                            ["2401:db00:f01b:0012:face:000 ["amt2"]          ["fnedge320.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:000f:0000"]                                    om"]
                                            ["2401:db00:f006:2007:face:000 ["mrs2","cdg2"]   ["fnedge053.02.mrs2.facebook.c ["Marseille,
                                            0:0005:0000","2401:db00:f01f:1                   om","fnedge807.01.cdg2.facebo FR","Paris, FR"]
                                            015:face:0000:0021:0000"]                        ok.com"]
                                            ["2401:db00:f00b:0010:face:000 ["ort2","lax3"]   ["fnedge117.01.ort2.facebook.co ["Chicago, IL,
                                            0:0027:0000","2401:db00:f00d:                    m","fnedge079.02.lax3.facebook. US","Los Angeles, CA,
                                            2001:face:0000:0019:0000"]                       com"]                           US"]
                                            ["2401:db00:f00b:200e:face:000 ["ort2","lax3"]   ["fnedge100.02.ort2.facebook.co ["Chicago, IL,
                                            0:0011:0000","2401:db00:f00d:                    m","fnedge1025.01.lax3.faceboo US","Los Angeles, CA,
                                            0009:face:0000:0027:0000"]                       k.com"]                         US"]
                                            ["2401:db00:f00b:2005:face:000 ["ort2","lax3"]   ["fnedge165.02.ort2.facebook.co ["Chicago, IL,
                                            0:001b:0000","2401:db00:f00d:                    m","fnedge751.01.lax3.facebook. US","Los Angeles, CA,
                                            0010:face:0000:0011:0000","24                    com","fnedge734.01.lax3.facebo US"]
                                            01:db00:f00d:000e:face:0000:00                   ok.com","fnedge056.02.lax3.face
                                            23:0000","2401:db00:f00d:2001                    book.com"]
                                            :face:0000:0009:0000"]
                                            ["2401:db00:f01a:1004:face:000 ["lhr3"]          ["fnedge068.01.lhr3.facebook.co ["London, UK"]
                                            0:0003:0000","2401:db00:f01a:                    m","fnedge041.01.lhr3.facebook.
                                            1001:face:0000:0017:0000"]                       com"]
                                            ["2401:db00:f034:0006:face:000 ["mba1"]          ["fnedge114.01.mba1.facebook.c ["Mombasa, KE "]
                                            0:000b:0000"]                                    om"]
                                            ["2401:db00:f01b:1010:face:000                   ["2401:db00:f01b:1010:face:0:1b ["unknown"]
                                            0:001b:0000"]                                    :0"]




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victim_phone   attacker_ips   victim_ips    server_ips                      centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f000:300f:face:000 ["mia3"]           ["fnedge667.02.mia3.facebook.c ["Miami, Florida, US"]
                                            0:000f:0000","2401:db00:f000:2                    om","fnedge511.01.mia3.facebo
                                            014:face:0000:001d:0000"]                         ok.com"]
                                            ["2401:db00:f013:1011:face:000 ["dfw5"]           ["fnedge304.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0003:0000","2401:db00:f013:                     om","fnedge130.01.dfw5.facebo
                                            100b:face:0000:000f:0000"]                        ok.com"]
                                            ["2401:db00:f01b:100e:face:000                    ["2401:db00:f01b:100e:face:0:27 ["unknown"]
                                            0:0027:0000"]                                     :0"]
                                            ["2401:db00:f01c:0011:face:000 ["frx5"]           ["fnedge034.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0019:0000"]                                     m"]
                                            ["2401:db00:f01f:000f:face:0000 ["cdt1","frx5"]   ["fnedge103.01.cdt1.facebook.co ["Paris,
                                            :0007:0000","2401:db00:f01c:00                    m","fnedge411.01.frx5.facebook. FR","Frankfurt, DE"]
                                            0b:face:0000:0021:0000"]                          com"]
                                            ["2401:db00:f036:0001:face:000 ["dus1"]           ["fnedge004.01.dus1.facebook.c ["Dusseldorf, DE"]
                                            0:000f:0000","2401:db00:f036:0                    om","fnedge016.01.dus1.facebo
                                            001:face:0000:0017:0000"]                         ok.com"]
                                            ["2401:db00:f01b:000c:face:000 ["amt2"]           ["fnedge029.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:0015:0000","2401:db00:f01b:                     om","fnedge210.01.amt2.facebo
                                            000f:face:0000:000d:0000"]                        ok.com"]
                                            ["2401:db00:f01c:0008:face:000 ["frx5"]           ["fnedge620.01.frx5.facebook.co ["Frankfurt,
                                            0:0007:0000","2401:db00:f01b:                     m","2401:db00:f01b:100e:face:0 DE","unknown"]
                                            100e:face:0000:000b:0000"]                        :b:0"]
                                            ["2401:db00:f013:4018:face:000 ["dfw5"]           ["fnedge573.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0019:0000","2401:db00:f013:                     om","fnedge307.01.dfw5.facebo
                                            1011:face:0000:000b:0000"]                        ok.com"]
                                            ["2401:db00:f013:400e:face:000 ["dfw5"]           ["fnedge651.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0009:0000"]                                     om"]
                                            ["2401:db00:f006:1003:face:000 ["mrs2","amt2"]    ["fnedge202.01.mrs2.facebook.c ["Marseille,
                                            0:0003:0000","2401:db00:f01b:                     om","fnedge305.01.amt2.facebo FR","Amsterdam,
                                            0007:face:0000:0007:0000"]                        ok.com"]                        NL"]
                                            ["2401:db00:f01a:200c:face:000 ["lht6"]           ["fnedge113.01.lht6.facebook.co ["London, UK"]
                                            0:0019:0000","2401:db00:f01a:                     m","fnedge221.01.lht6.facebook.
                                            2003:face:0000:001d:0000"]                        com"]
                                            ["2401:db00:f013:4015:face:000 ["dfw5"]           ["fnedge501.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0001:0000"]                                     om"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries        attacker_phones
                                            ["2401:db00:f030:1004:face:000 ["maa2","frx5"]   ["fnedge126.02.maa2.facebook.c ["Chennai,
                                            0:0005:0000","2401:db00:f030:                    om","fnedge026.02.maa2.facebo India","Frankfurt,
                                            1002:face:0000:0025:0000","24                    ok.com","fnedge060.01.frx5.face DE"]
                                            01:db00:f01c:0002:face:0000:00                   book.com","fnedge075.01.frx5.fa
                                            21:0000","2401:db00:f01c:0017:                   cebook.com"]
                                            face:0000:0001:0000"]
                                            ["2401:db00:f01f:1013:face:000 ["cdg2","lht6"]   ["fnedge637.01.cdg2.facebook.c ["Paris, FR","London,
                                            0:0007:0000","2401:db00:f01a:                    om","fnedge454.01.lht6.faceboo UK"]
                                            200b:face:0000:001b:0000"]                       k.com"]
                                            ["2401:db00:f013:1011:face:000 ["dfw5"]          ["fnedge309.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000d:0000"]                                    om"]
                                            ["2401:db00:f00b:2011:face:000 ["ort2","dfw5"]   ["fnedge042.02.ort2.facebook.co ["Chicago, IL,
                                            0:0021:0000","2401:db00:f00b:                    m","fnedge354.01.ort2.facebook US","Dallas, Texas,
                                            0001:face:0000:001b:0000","24                    .com","fnedge739.02.dfw5.faceb US"]
                                            01:db00:f013:4001:face:0000:00                   ook.com"]
                                            1f:0000"]
                                            ["2401:db00:f00b:0006:face:000 ["ort2","msp1"]   ["fnedge449.01.ort2.facebook.co ["Chicago, IL,
                                            0:0019:0000","2401:db00:f033:                    m","fnedge094.01.msp1.faceboo US","Minneapolis,
                                            0004:face:0000:0011:0000"]                       k.com"]                         MN, US"]
                                            ["2401:db00:f01b:100b:face:000 ["bom1"]          ["2401:db00:f01b:100b:face:0:17 ["unknown","Bombay
                                            0:0017:0000","2401:db00:f02a:                    :0","fnedge278.02.bom1.faceboo , IN"]
                                            1011:face:0000:0007:0000"]                       k.com"]
                                            ["2401:db00:f013:1003:face:000 ["dfw5","qro1"]   ["fnedge031.01.dfw5.facebook.c ["Dallas, Texas,
                                            0:0011:0000","2401:db00:f02e:                    om","fnedge181.01.qro1.facebo US","Queretaro, MX"]
                                            000b:face:0000:001d:0000"]                       ok.com"]
                                            ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge665.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0009:0000","2401:db00:f013:                    om","fnedge146.01.dfw5.facebo
                                            100c:face:0000:0007:0000"]                       ok.com"]
                                            ["2401:db00:f033:0005:face:000 ["msp1"]          ["fnedge103.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0017:0000","2401:db00:f033:                    om","fnedge014.01.msp1.facebo US"]
                                            0006:face:0000:0019:0000"]                       ok.com"]
                                            ["2401:db00:f00b:000f:face:000 ["ort2","lax3"]   ["fnedge565.01.ort2.facebook.co ["Chicago, IL,
                                            0:001b:0000","2401:db00:f00d:                    m","fnedge104.02.lax3.facebook. US","Los Angeles, CA,
                                            2003:face:0000:0001:0000"]                       com"]                           US"]
                                            ["2401:db00:f023:0006:face:000 ["jnb1","mba1"]   ["fnedge018.01.jnb1.facebook.co ["Johannesburg,
                                            0:000d:0000","2401:db00:f034:                    m","fnedge104.01.mba1.faceboo ZA","Mombasa, KE "]
                                            0006:face:0000:001f:0000"]                       k.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f000:3008:face:000 ["mia3"]          ["fnedge089.02.mia3.facebook.c ["Miami, Florida, US"]
                                            0:001d:0000","2401:db00:f000:                    om","fnedge188.01.mia3.facebo
                                            2009:face:0000:0027:0000"]                       ok.com"]
                                            ["2401:db00:f02a:000f:face:000 ["bom1"]          ["fnedge375.01.bom1.facebook.c ["Bombay, IN"]
                                            0:0013:0000","2401:db00:f02a:                    om","fnedge302.01.bom1.facebo
                                            0003:face:0000:0011:0000"]                       ok.com"]
                                            ["2401:db00:f01c:2007:face:000 ["frt3"]          ["fnedge515.01.frt3.facebook.co ["Frankfurt,
                                            0:000b:0000","2401:db00:f01c:2                   m","fnedge614.01.frt3.facebook. DE","unknown"]
                                            00d:face:0000:001d:0000","240                    com","2401:db00:f01c:3015:face
                                            1:db00:f01c:3015:face:0000:002                   :0:21:0"]
                                            1:0000"]
                                            ["2401:db00:f013:4016:face:000 ["dfw5"]          ["fnedge522.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0001:0000"]                                    om"]
                                            ["2401:db00:f01c:3002:face:000 ["frt3"]          ["fnedge050.02.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0003:0000","2401:db00:f01c:2                   m","fnedge655.01.frt3.facebook.
                                            010:face:0000:0011:0000"]                        com"]
                                            ["2401:db00:f00c:0018:face:000 ["sin2","sjc3"]   ["fnedge455.01.sin2.facebook.co ["Singapore","San
                                            0:000d:0000","2401:db00:f022:                    m","fnedge694.01.sjc3.facebook. Jose, CA, uS"]
                                            1010:face:0000:0025:0000"]                       com"]
                                            ["2401:db00:f006:100f:face:000 ["mrs2","amt2"]   ["fnedge262.01.mrs2.facebook.c ["Marseille,
                                            0:0013:0000","2401:db00:f01b:                    om","fnedge367.01.amt2.facebo FR","Amsterdam,
                                            000d:face:0000:0013:0000"]                       ok.com"]                        NL"]
                                            ["2401:db00:f00d:0009:face:000 ["lax3","msp1"]   ["fnedge1012.01.lax3.facebook.c ["Los Angeles, CA,
                                            0:0021:0000","2401:db00:f00d:                    om","fnedge148.02.lax3.faceboo US","Minneapolis,
                                            2005:face:0000:0019:0000","24                    k.com","fnedge887.01.lax3.faceb MN, US"]
                                            01:db00:f00d:000b:face:0000:00                   ook.com","fnedge028.01.msp1.f
                                            01:0000","2401:db00:f033:0002                    acebook.com"]
                                            :face:0000:0009:0000"]
                                            ["2401:db00:f01a:2013:face:000 ["lht6"]          ["fnedge361.01.lht6.facebook.co ["London, UK"]
                                            0:0011:0000","2401:db00:f01a:                    m","fnedge399.01.lht6.facebook.
                                            2013:face:0000:0023:0000"]                       com"]
                                            ["2401:db00:f01b:1007:face:000                   ["2401:db00:f01b:1007:face:0:11 ["unknown"]
                                            0:0011:0000"]                                    :0"]
                                            ["2401:db00:f022:1006:face:000 ["sjc3"]          ["fnedge920.01.sjc3.facebook.co ["San Jose, CA, uS"]
                                            0:001b:0000"]                                    m"]
                                            ["2401:db00:f013:4002:face:000 ["dfw5"]          ["fnedge407.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0025:0000","2401:db00:f013:                    om","fnedge702.02.dfw5.facebo
                                            4010:face:0000:000f:0000"]                       ok.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers               server                         center_countries      attacker_phones
                                            ["2401:db00:f02a:000c:face:000 ["bom1","ber1","dus   ["fnedge213.01.bom1.facebook.c ["Bombay,
                                            0:0023:0000","2401:db00:f02f:0 1"]                   om","fnedge015.01.ber1.facebo IN","Berlin,
                                            002:face:0000:0001:0000","240                        ok.com","fnedge118.01.dus1.fac DE","Dusseldorf, DE"]
                                            1:db00:f036:0005:face:0000:001                       ebook.com"]
                                            f:0000"]
                                            ["2401:db00:f013:400f:face:000 ["dfw5"]              ["fnedge671.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0019:0000"]                                        om"]
                                            ["2401:db00:f013:4008:face:000 ["dfw5"]              ["fnedge428.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000","2401:db00:f013:4                       om","fnedge541.02.dfw5.facebo
                                            017:face:0000:0001:0000"]                            ok.com"]
                                            ["2401:db00:f006:1012:face:000 ["mrs2"]              ["fnedge380.01.mrs2.facebook.c ["Marseille, FR"]
                                            0:0011:0000","2401:db00:f006:                        om","fnedge068.02.mrs2.facebo
                                            2009:face:0000:0027:0000"]                           ok.com"]
                                            ["2401:db00:f00b:2011:face:000 ["ort2","lax3"]       ["fnedge238.02.ort2.facebook.co ["Chicago, IL,
                                            0:001b:0000","2401:db00:f00b:                        m","fnedge285.01.ort2.facebook US","Los Angeles, CA,
                                            0008:face:0000:0017:0000","24                        .com","fnedge082.02.lax3.facebo US"]
                                            01:db00:f00d:2006:face:0000:00                       ok.com","fnedge091.02.lax3.face
                                            1d:0000","2401:db00:f00d:2008                        book.com"]
                                            :face:0000:0025:0000"]
                                            ["2401:db00:f033:0005:face:000 ["msp1","dfw5","qro   ["fnedge120.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0013:0000","2401:db00:f013: 1"]                    om","fnedge033.02.dfw5.facebo US","Dallas, Texas,
                                            4006:face:0000:0011:0000","24                        ok.com","fnedge225.01.qro1.fac US","Queretaro, MX"]
                                            01:db00:f02e:0008:face:0000:00                       ebook.com","fnedge155.01.qro1.
                                            0b:0000","2401:db00:f02e:0004                        facebook.com"]
                                            :face:0000:0023:0000"]
                                            ["2401:db00:f009:1001:face:000 ["arn2"]              ["fnedge010.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:0021:0000","2401:db00:f009:                        m","fnedge287.01.arn2.facebook
                                            0010:face:0000:0013:0000"]                           .com"]
                                            ["2401:db00:f00c:4003:face:000 ["sin2"]              ["fnedge077.02.sin2.facebook.co ["Singapore"]
                                            0:0009:0000","2401:db00:f00c:0                       m","fnedge313.01.sin2.facebook.
                                            00f:face:0000:0003:0000"]                            com"]
                                            ["2401:db00:f013:4017:face:000 ["dfw5"]              ["fnedge560.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000","2401:db00:f013:                        om","fnedge525.02.dfw5.facebo
                                            4016:face:0000:000f:0000"]                           ok.com"]
                                            ["2401:db00:f01b:1008:face:000                       ["2401:db00:f01b:1008:face:0:7: ["unknown"]
                                            0:0007:0000"]                                        0"]
                                            ["2401:db00:f01b:100e:face:000 ["amt2"]              ["2401:db00:f01b:100e:face:0:25 ["unknown","Amster
                                            0:0025:0000","2401:db00:f01b:                        :0","fnedge352.01.amt2.faceboo dam, NL"]
                                            000a:face:0000:000b:0000"]                           k.com"]



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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries       attacker_phones
                                            ["2401:db00:f01f:0007:face:000 ["cdt1","jnb1"]   ["fnedge125.01.cdt1.facebook.co ["Paris,
                                            0:0009:0000","2401:db00:f01f:0                   m","fnedge164.01.cdt1.facebook FR","Johannesburg,
                                            005:face:0000:001b:0000","240                    .com","fnedge187.01.jnb1.faceb ZA"]
                                            1:db00:f023:000b:face:0000:000                   ook.com"]
                                            9:0000"]
                                            ["2401:db00:f01b:000f:face:000 ["amt2"]          ["fnedge334.01.amt2.facebook.c ["Amsterdam,
                                            0:001b:0000","2401:db00:f01b:                    om","2401:db00:f01b:1008:face: NL","unknown"]
                                            1008:face:0000:0021:0000"]                       0:21:0"]
                                            ["2401:db00:f013:1015:face:000 ["dfw5"]          ["fnedge264.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000d:0000"]                                    om"]
                                            ["2401:db00:f013:1009:face:000 ["dfw5","msp1"]   ["fnedge440.01.dfw5.facebook.c ["Dallas, Texas,
                                            0:0027:0000","2401:db00:f013:                    om","fnedge321.02.dfw5.facebo US","Minneapolis,
                                            400c:face:0000:0001:0000","24                    ok.com","fnedge010.01.msp1.fac MN, US"]
                                            01:db00:f033:0006:face:0000:00                   ebook.com"]
                                            03:0000"]
                                            ["2401:db00:f013:100e:face:000 ["dfw5","lga3"]   ["fnedge197.01.dfw5.facebook.c ["Dallas, Texas,
                                            0:0027:0000","2401:db00:f012:                    om","fnedge115.01.lga3.faceboo US","New York, NY,
                                            200d:face:0000:0003:0000"]                       k.com"]                         US"]
                                            ["2401:db00:f00b:2011:face:000 ["ort2"]          ["fnedge205.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0003:0000","2401:db00:f00b:                    m","fnedge512.02.ort2.facebook
                                            2007:face:0000:001d:0000"]                       .com"]
                                            ["2401:db00:f01f:1003:face:000 ["cdg2"]          ["fnedge450.01.cdg2.facebook.c ["Paris, FR"]
                                            0:0005:0000"]                                    om"]
                                            ["2401:db00:f013:100c:face:000 ["dfw5"]          ["fnedge148.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000d:0000"]                                    om"]
                                            ["2401:db00:f02f:0007:face:000 ["ber1","bom1"]   ["fnedge122.01.ber1.facebook.c ["Berlin,
                                            0:0003:0000","2401:db00:f02a:                    om","fnedge217.01.bom1.facebo DE","Bombay, IN"]
                                            000b:face:0000:0019:0000","24                    ok.com","fnedge172.02.bom1.fa
                                            01:db00:f02a:100b:face:0000:00                   cebook.com"]
                                            15:0000"]
                                            ["2401:db00:f016:0012:face:000 ["otp1"]          ["fnedge310.01.otp1.facebook.c ["Bucharest, RO"]
                                            0:001f:0000"]                                    om"]
                                            ["2401:db00:f01b:1010:face:000 ["mrs2"]          ["2401:db00:f01b:1010:face:0:1b ["unknown","Marseill
                                            0:001b:0000","2401:db00:f006:                    :0","fnedge111.01.mrs2.faceboo e, FR"]
                                            1009:face:0000:0021:0000"]                       k.com"]
                                            ["2401:db00:f009:1004:face:000 ["arn2"]          ["fnedge041.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:0001:0000"]                                    m"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                         center_countries         attacker_phones
                                            ["2401:db00:f01b:0005:face:000 ["amt2","mrs2"]   ["fnedge038.01.amt2.facebook.c ["Amsterdam,
                                            0:0005:0000","2401:db00:f01b:                    om","fnedge342.01.amt2.facebo NL","Marseille, FR"]
                                            0004:face:0000:0013:0000","24                    ok.com","fnedge229.01.mrs2.fac
                                            01:db00:f006:1005:face:0000:00                   ebook.com"]
                                            07:0000"]
                                            ["2401:db00:f036:0004:face:000 ["dus1","frt3"]   ["fnedge078.01.dus1.facebook.c ["Dusseldorf,
                                            0:0027:0000","2401:db00:f01c:2                   om","fnedge447.01.frt3.faceboo DE","Frankfurt, DE"]
                                            006:face:0000:0005:0000","240                    k.com","fnedge300.02.frt3.faceb
                                            1:db00:f01c:3008:face:0000:002                   ook.com"]
                                            5:0000"]
                                            ["2401:db00:f006:2009:face:000 ["mrs2"]          ["fnedge070.02.mrs2.facebook.c ["Marseille, FR"]
                                            0:0007:0000"]                                    om"]
                                            ["2401:db00:f013:1001:face:000 ["dfw5"]          ["fnedge016.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001d:0000","2401:db00:f013:                    om","fnedge755.02.dfw5.facebo
                                            4009:face:0000:0009:0000"]                       ok.com"]
                                            ["2401:db00:f013:1015:face:000 ["dfw5"]          ["fnedge274.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0011:0000"]                                    om"]
                                            ["2401:db00:f01b:1011:face:000                   ["2401:db00:f01b:1011:face:0:b: ["unknown"]
                                            0:000b:0000","2401:db00:f01b:                    0","2401:db00:f01b:1010:face:0:
                                            1010:face:0000:0011:0000"]                       11:0"]
                                            ["2401:db00:f033:0005:face:000 ["msp1"]          ["fnedge119.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0011:0000"]                                    om"]                            US"]
                                            ["2401:db00:f01a:2011:face:000 ["lht6"]          ["fnedge047.01.lht6.facebook.co ["London, UK"]
                                            0:000d:0000"]                                    m"]
                                            ["2401:db00:f00c:0005:face:000 ["sin2"]          ["fnedge100.01.sin2.facebook.co ["Singapore","unkno
                                            0:000b:0000","2401:db00:f01b:                    m","2401:db00:f01b:100f:face:0: wn"]
                                            100f:face:0000:001d:0000"]                       1d:0"]
                                            ["2401:db00:f000:2010:face:000 ["mia3"]          ["fnedge174.01.mia3.facebook.c ["Miami, Florida, US"]
                                            0:0019:0000","2401:db00:f000:                    om","fnedge619.02.mia3.facebo
                                            3007:face:0000:0013:0000"]                       ok.com"]
                                            ["2401:db00:f01c:0016:face:000 ["frx5","vie1"]   ["fnedge536.01.frx5.facebook.co ["Frankfurt,
                                            0:0007:0000","2401:db00:f007:                    m","fnedge119.01.vie1.facebook DE","Vienna, AT"]
                                            1018:face:0000:000f:0000","240                   .com","fnedge510.01.vie1.facebo
                                            1:db00:f007:1002:face:0000:000                   ok.com"]
                                            5:0000"]
                                            ["2401:db00:f013:100e:face:000 ["dfw5"]          ["fnedge195.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000","2401:db00:f013:4                   om","fnedge736.02.dfw5.facebo
                                            001:face:0000:000b:0000"]                        ok.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries       attacker_phones
                                            ["2401:db00:f00b:200a:face:000 ["ort2"]          ["fnedge102.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0009:0000"]                                    m"]
                                            ["2401:db00:f004:100d:face:000 ["mad1"]          ["fnedge899.01.mad1.facebook.c ["Madrid,
                                            0:001f:0000","2401:db00:f01b:1                   om","2401:db00:f01b:100b:face: ES","unknown"]
                                            00b:face:0000:0027:0000"]                        0:27:0"]
                                            ["2401:db00:f01c:3005:face:000 ["frt3","mad1"]   ["fnedge064.02.frt3.facebook.co ["Frankfurt,
                                            0:0003:0000","2401:db00:f01c:2                   m","fnedge429.01.frt3.facebook. DE","Madrid, ES"]
                                            005:face:0000:0015:0000","240                    com","fnedge659.01.frt3.facebo
                                            1:db00:f01c:2010:face:0000:001                   ok.com","fnedge525.01.mad1.fa
                                            b:0000","2401:db00:f004:1003:f                   cebook.com"]
                                            ace:0000:0023:0000"]
                                            ["2401:db00:f006:2005:face:000 ["mrs2"]          ["fnedge082.02.mrs2.facebook.c ["Marseille, FR"]
                                            0:0003:0000"]                                    om"]
                                            ["2401:db00:f013:4004:face:000 ["dfw5"]          ["fnedge861.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0001:0000"]                                    om"]
                                            ["2401:db00:f013:4006:face:000 ["dfw5"]          ["fnedge021.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0001:0000","2401:db00:f013:                    om","fnedge594.02.dfw5.facebo
                                            400a:face:0000:001b:0000"]                       ok.com"]
                                            ["2401:db00:f01c:200a:face:000 ["frt3","ber1"]   ["fnedge526.01.frt3.facebook.co ["Frankfurt,
                                            0:0005:0000","2401:db00:f01c:2                   m","fnedge624.01.frt3.facebook. DE","Berlin, DE"]
                                            00e:face:0000:0013:0000","240                    com","fnedge063.01.ber1.facebo
                                            1:db00:f02f:0003:face:0000:000                   ok.com"]
                                            7:0000"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers                  server                          center_countries     attacker_phones
                                            ["2401:db00:f00c:4006:face:000 ["sjc3","lax3","sin2"]   ["fnedge303.02.sin2.facebook.co ["Singapore","San
                                            0:0003:0000","2401:db00:f00c:4                          m","fnedge033.02.sin2.facebook. Jose, CA, uS","Los
                                            001:face:0000:0021:0000","240                           com","fnedge233.01.sin2.facebo Angeles, CA, US"]
                                            1:db00:f00c:000b:face:0000:001                          ok.com","fnedge018.02.sin2.face
                                            7:0000","2401:db00:f00c:400d:f                          book.com","fnedge151.01.sin2.f
                                            ace:0000:001f:0000","2401:db0                           acebook.com","fnedge077.02.sin
                                            0:f00c:0008:face:0000:0013:000                          2.facebook.com","fnedge785.01.
                                            0","2401:db00:f00c:4003:face:0                          lax3.facebook.com","fnedge074.
                                            000:0009:0000","2401:db00:f00                           02.lax3.facebook.com","fnedge0
                                            d:0012:face:0000:0003:0000","2                          81.02.lax3.facebook.com","fnedg
                                            401:db00:f00d:2006:face:0000:0                          e789.01.lax3.facebook.com","fne
                                            021:0000","2401:db00:f00d:200                           dge269.02.sin2.facebook.com","f
                                            6:face:0000:0027:0000","2401:d                          nedge382.02.sin2.facebook.com"
                                            b00:f00d:0011:face:0000:000b:0                          ,"fnedge437.01.sin2.facebook.co
                                            000","2401:db00:f00c:4015:face                          m","fnedge365.02.sin2.facebook.
                                            :0000:0027:0000","2401:db00:f                           com","fnedge954.01.sjc3.facebo
                                            00c:4004:face:0000:000f:0000",                          ok.com","fnedge799.01.lax3.face
                                            "2401:db00:f00c:0014:face:000                           book.com","fnedge739.01.lax3.fa
                                            0:0027:0000","2401:db00:f00c:4                          cebook.com","fnedge688.01.lax3
                                            007:face:0000:0005:0000","240                           .facebook.com","fnedge171.02.si
                                            1:db00:f022:1005:face:0000:000                          n2.facebook.com","fnedge378.0
                                            d:0000","2401:db00:f00d:0011:f                          1.sin2.facebook.com","fnedge88
                                            ace:0000:0021:0000","2401:db0                           9.01.sjc3.facebook.com","fnedge
                                            0:f00d:000e:face:0000:0005:000                          021.02.lax3.facebook.com","fned
                                            0","2401:db00:f00d:0013:face:0                          ge084.02.lax3.facebook.com","fn
                                            000:0017:0000","2401:db00:f00                           edge098.02.lax3.facebook.com",
                                            c:4008:face:0000:0009:0000","2                          "fnedge980.01.lax3.facebook.co
                                            401:db00:f00c:0013:face:0000:0                          m","fnedge078.01.lax3.facebook.
                                            00d:0000","2401:db00:f022:101
                                            ["2401:db00:f01b:1010:face:000                          com","fnedge484.01.lax3.facebo
                                                                                                    ["2401:db00:f01b:1010:face:0:1d ["unknown"]
                                            0:001d:0000"]                                           :0"]
                                            ["2401:db00:f01b:000b:face:000 ["amt2"]                 ["fnedge099.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:0015:0000"]                                           om"]
                                            ["2401:db00:f01c:0016:face:000 ["frx5","bom1"]          ["fnedge540.01.frx5.facebook.co ["Frankfurt,
                                            0:001f:0000","2401:db00:f01c:0                          m","fnedge236.01.frx5.facebook. DE","Bombay, IN"]
                                            002:face:0000:0019:0000","240                           com","fnedge033.02.bom1.faceb
                                            1:db00:f02a:1002:face:0000:001                          ook.com","fnedge185.02.bom1.f
                                            5:0000","2401:db00:f02a:100d:f                          acebook.com"]
                                            ace:0000:001f:0000"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers                server                          center_countries      attacker_phones
                                            ["2401:db00:f006:1011:face:000 ["mrs2","frx5","frt3"] ["fnedge355.01.mrs2.facebook.c ["Marseille,
                                            0:0011:0000","2401:db00:f006:                         om","fnedge400.01.mrs2.facebo FR","Frankfurt, DE"]
                                            1014:face:0000:000d:0000","24                         ok.com","fnedge120.01.frx5.face
                                            01:db00:f01c:000e:face:0000:00                        book.com","fnedge101.02.frt3.fa
                                            13:0000","2401:db00:f01c:3001:                        cebook.com"]
                                            face:0000:0003:0000"]
                                            ["2401:db00:f013:4004:face:000 ["dfw5"]               ["fnedge878.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0009:0000","2401:db00:f013:                         om","fnedge503.02.dfw5.facebo
                                            4015:face:0000:000d:0000"]                            ok.com"]
                                            ["2401:db00:f013:100f:face:000 ["dfw5"]               ["fnedge218.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001d:0000"]                                         om"]
                                            ["2401:db00:f033:0001:face:000 ["msp1"]               ["fnedge056.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0009:0000"]                                         om"]                            US"]
                                            ["2401:db00:f00b:200d:face:000 ["ort2","lax3"]        ["fnedge123.02.ort2.facebook.co ["Chicago, IL,
                                            0:0003:0000","2401:db00:f00b:                         m","fnedge486.01.ort2.facebook US","Los Angeles, CA,
                                            000c:face:0000:0025:0000","24                         .com","fnedge138.02.lax3.facebo US"]
                                            01:db00:f00d:2002:face:0000:00                        ok.com"]
                                            19:0000"]
                                            ["2401:db00:f01b:100e:face:000 ["bom1"]               ["2401:db00:f01b:100e:face:0:9: ["unknown","Bombay
                                            0:0009:0000","2401:db00:f02a:                         0","fnedge033.02.bom1.faceboo , IN"]
                                            1002:face:0000:0015:0000"]                            k.com"]
                                            ["2401:db00:f013:4009:face:000 ["dfw5"]               ["fnedge750.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001d:0000","2401:db00:f013:                         om","fnedge421.01.dfw5.facebo
                                            1009:face:0000:0001:0000"]                            ok.com"]
                                            ["2401:db00:f00c:0002:face:000 ["sin2"]               ["fnedge032.01.sin2.facebook.co ["Singapore"]
                                            0:0005:0000"]                                         m"]
                                            ["2401:db00:f00c:1014:face:000 ["sin6","sin2"]        ["fnedge067.01.sin6.facebook.co ["Singapore"]
                                            0:001f:0000","2401:db00:f00c:4                        m","fnedge098.02.sin2.facebook.
                                            005:face:0000:0011:0000"]                             com"]
                                            ["2401:db00:f01a:200b:face:000 ["lht6"]               ["fnedge059.01.lht6.facebook.co ["London, UK"]
                                            0:0021:0000","2401:db00:f01a:                         m","fnedge024.01.lht6.facebook.
                                            200f:face:0000:0023:0000"]                            com"]
                                            ["2401:db00:f013:4012:face:000 ["dfw5"]               ["fnedge394.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0019:0000","2401:db00:f013:                         om","fnedge566.02.dfw5.facebo
                                            4018:face:0000:0009:0000"]                            ok.com"]
                                            ["2401:db00:f00b:200a:face:000 ["ort2","lax3"]        ["fnedge310.02.ort2.facebook.co ["Chicago, IL,
                                            0:000d:0000","2401:db00:f00d:                         m","fnedge154.02.lax3.facebook. US","Los Angeles, CA,
                                            2005:face:0000:0021:0000"]                            com"]                           US"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers                server                           center_countries      attacker_phones
                                            ["2401:db00:f01b:1009:face:000 ["bom1"]               ["2401:db00:f01b:1009:face:0:17 ["unknown","Bombay
                                            0:0017:0000","2401:db00:f02a:                         :0","fnedge314.02.bom1.faceboo , IN"]
                                            1010:face:0000:001d:0000","24                         k.com","fnedge233.02.bom1.fac
                                            01:db00:f02a:100c:face:0000:00                        ebook.com","fnedge259.01.bom
                                            07:0000","2401:db00:f02a:0007                         1.facebook.com"]
                                            :face:0000:0009:0000"]
                                            ["2401:db00:f01a:2005:face:000 ["lht6","lhr3"]        ["fnedge326.01.lht6.facebook.co ["London, UK"]
                                            0:0021:0000","2401:db00:f01a:                         m","fnedge162.01.lhr3.facebook.
                                            100c:face:0000:001b:0000"]                            com"]
                                            ["2401:db00:f01c:200e:face:000 ["frt3","frx5","mad1"] ["fnedge637.01.frt3.facebook.co ["Frankfurt,
                                            0:000d:0000","2401:db00:f01c:0                        m","fnedge644.01.frx5.facebook. DE","Madrid, ES"]
                                            009:face:0000:0005:0000","240                         com","fnedge950.01.mad1.faceb
                                            1:db00:f004:1010:face:0000:000                        ook.com","fnedge790.01.mad1.f
                                            9:0000","2401:db00:f004:1017:f                        acebook.com"]
                                            ace:0000:000b:0000"]
                                            ["2401:db00:f02a:0007:face:000 ["bom1","frx5"]        ["fnedge114.01.bom1.facebook.c ["Bombay,
                                            0:0023:0000","2401:db00:f01c:0                        om","fnedge647.01.frx5.faceboo IN","Frankfurt, DE"]
                                            009:face:0000:0025:0000","240                         k.com","fnedge278.01.frx5.faceb
                                            1:db00:f01c:0003:face:0000:002                        ook.com"]
                                            3:0000"]
                                            ["2401:db00:f00b:200a:face:000 ["ort2"]               ["fnedge102.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0009:0000"]                                         m"]
                                            ["2401:db00:f00d:2001:face:000 ["lax3","ort2"]        ["fnedge072.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0013:0000","2401:db00:f00d:                         m","fnedge911.01.lax3.facebook. US","Chicago, IL, US"]
                                            0004:face:0000:0009:0000","24                         com","fnedge574.01.ort2.facebo
                                            01:db00:f00b:000f:face:0000:00                        ok.com","fnedge392.01.ort2.face
                                            23:0000","2401:db00:f00b:0003                         book.com"]
                                            :face:0000:001f:0000"]
                                            ["2401:db00:f02a:0014:face:000 ["bom1","frt3"]        ["fnedge066.01.bom1.facebook.c ["Bombay,
                                            0:0001:0000","2401:db00:f01c:2                        om","fnedge696.01.frt3.faceboo IN","Frankfurt, DE"]
                                            012:face:0000:001d:0000"]                             k.com"]
                                            ["2401:db00:f009:1002:face:000 ["arn2","dus1"]        ["fnedge025.02.arn2.facebook.co ["Stockholm,
                                            0:0021:0000","2401:db00:f036:                         m","fnedge022.01.dus1.faceboo SE","Dusseldorf, DE"]
                                            0004:face:0000:000f:0000"]                            k.com"]
                                            ["2401:db00:f00b:2001:face:000 ["ort2","msp1"]        ["fnedge006.02.ort2.facebook.co ["Chicago, IL,
                                            0:0023:0000","2401:db00:f033:                         m","fnedge050.01.msp1.faceboo US","Minneapolis,
                                            0001:face:0000:0013:0000"]                            k.com"]                          MN, US"]
                                            ["2401:db00:f01b:100f:face:000                        ["2401:db00:f01b:100f:face:0:27: ["unknown"]
                                            0:0027:0000"]                                         0"]



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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries     attacker_phones
                                            ["2401:db00:f01a:2013:face:000 ["lht6"]          ["fnedge423.01.lht6.facebook.co ["London, UK"]
                                            0:0009:0000"]                                    m"]
                                            ["2401:db00:f013:1001:face:000 ["dfw5"]          ["fnedge015.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001b:0000"]                                    om"]
                                            ["2401:db00:f01f:000d:face:000 ["cdt1"]          ["fnedge243.01.cdt1.facebook.co ["Paris, FR"]
                                            0:0011:0000"]                                    m"]
                                            ["2401:db00:f01b:0012:face:000 ["amt2"]          ["fnedge236.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:0009:0000"]                                    om"]
                                            ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge664.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0007:0000"]                                    om"]
                                            ["2401:db00:f01b:1011:face:000 ["mrs2"]          ["2401:db00:f01b:1011:face:0:7: ["unknown","Marseill
                                            0:0007:0000","2401:db00:f006:                    0","fnedge343.01.mrs2.facebook e, FR"]
                                            1011:face:0000:0003:0000"]                       .com"]
                                            ["2401:db00:f013:100e:face:000 ["dfw5"]          ["fnedge185.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0015:0000","2401:db00:f013:                    om","fnedge027.02.dfw5.facebo
                                            4006:face:0000:000b:0000"]                       ok.com"]
                                            ["2401:db00:f01c:2010:face:000 ["frt3"]          ["fnedge643.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0001:0000"]                                    m"]
                                            ["2401:db00:f006:100c:face:000 ["mrs2","amt2"]   ["fnedge164.01.mrs2.facebook.c ["Marseille,
                                            0:001d:0000","2401:db00:f01b:                    om","2401:db00:f01b:1011:face: FR","unknown","Ams
                                            1011:face:0000:0017:0000","24                    0:17:0","fnedge055.01.amt2.face terdam, NL"]
                                            01:db00:f01b:000d:face:0000:00                   book.com"]
                                            19:0000"]
                                            ["2401:db00:f00c:0003:face:000 ["sin2","lax3"]   ["fnedge047.01.sin2.facebook.co ["Singapore","Los
                                            0:0011:0000","2401:db00:f00c:0                   m","fnedge465.01.sin2.facebook. Angeles, CA, US"]
                                            017:face:0000:0017:0000","240                    com","fnedge981.01.lax3.facebo
                                            1:db00:f00d:0007:face:0000:000                   ok.com","fnedge132.02.lax3.face
                                            f:0000","2401:db00:f00d:2002:f                   book.com"]
                                            ace:0000:0025:0000"]
                                            ["2401:db00:f013:1012:face:000 ["dfw5"]          ["fnedge292.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000f:0000"]                                    om"]
                                            ["2401:db00:f01c:2001:face:000 ["frt3"]          ["fnedge361.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0017:0000"]                                    m"]
                                            ["2401:db00:f02a:100f:face:000 ["bom1"]          ["fnedge286.02.bom1.facebook.c ["Bombay,
                                            0:0013:0000","2401:db00:f01b:                    om","2401:db00:f01b:1007:face: IN","unknown"]
                                            1007:face:0000:001d:0000"]                       0:1d:0"]
                                            ["2401:db00:f00d:2003:face:000 ["lax3","ort2"]   ["fnedge097.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0011:0000","2401:db00:f00b:                    m","fnedge206.02.ort2.facebook US","Chicago, IL, US"]
                                            2006:face:0000:001f:0000"]                       .com"]



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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f013:100e:face:000 ["dfw5"]          ["fnedge195.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000"]                                    om"]
                                            ["2401:db00:f036:0005:face:000 ["dus1","mrs2"]   ["fnedge119.01.dus1.facebook.c ["Dusseldorf,
                                            0:0021:0000","2401:db00:f006:                    om","fnedge222.01.mrs2.facebo DE","Marseille, FR"]
                                            1005:face:0000:0005:0000"]                       ok.com"]
                                            ["2401:db00:f01a:100f:face:000 ["lhr3"]          ["fnedge395.01.lhr3.facebook.co ["London, UK"]
                                            0:0015:0000"]                                    m"]
                                            ["2401:db00:f013:1013:face:000 ["dfw5"]          ["fnedge462.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0003:0000"]                                    om"]
                                            ["2401:db00:f00d:2008:face:000 ["lax3"]          ["fnedge078.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:001d:0000"]                                    m"]                             US"]
                                            ["2401:db00:f000:300d:face:000 ["mia3"]          ["fnedge141.02.mia3.facebook.c ["Miami, Florida, US"]
                                            0:001b:0000","2401:db00:f000:                    om","fnedge170.01.mia3.facebo
                                            2002:face:0000:0013:0000"]                       ok.com"]
                                            ["2401:db00:f00d:2006:face:000 ["lax3"]          ["fnedge050.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0013:0000","2401:db00:f00d:                    m","fnedge756.01.lax3.facebook. US"]
                                            0010:face:0000:0023:0000"]                       com"]
                                            ["2401:db00:f013:4018:face:000 ["dfw5","qro1"]   ["fnedge569.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:0023:0000","2401:db00:f013:                    om","fnedge524.02.dfw5.facebo US","Queretaro, MX"]
                                            4016:face:0000:0003:0000","24                    ok.com","fnedge211.01.qro1.fac
                                            01:db00:f02e:000b:face:0000:00                   ebook.com"]
                                            19:0000"]
                                            ["2401:db00:f01f:1015:face:000 ["cdg2"]          ["fnedge801.01.cdg2.facebook.c ["Paris, FR"]
                                            0:0005:0000"]                                    om"]
                                            ["2401:db00:f013:4011:face:000 ["dfw5"]          ["fnedge697.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000"]                                    om"]
                                            ["2401:db00:f000:2014:face:000 ["mia3"]          ["fnedge509.01.mia3.facebook.c ["Miami, Florida, US"]
                                            0:000f:0000"]                                    om"]
                                            ["2401:db00:f033:0003:face:000 ["msp1"]          ["fnedge080.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0019:0000"]                                    om"]                            US"]
                                            ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge680.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000","2401:db00:f013:                    om","fnedge309.01.dfw5.facebo
                                            1011:face:0000:000d:0000"]                       ok.com"]
                                            ["2401:db00:f013:400a:face:000 ["dfw5","ort2"]   ["fnedge587.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:0015:0000","2401:db00:f00b:                    om","fnedge003.02.ort2.faceboo US","Chicago, IL, US"]
                                            2001:face:0000:001f:0000"]                       k.com"]
                                            ["2401:db00:f01c:2009:face:000 ["frt3"]          ["fnedge498.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:000f:0000","2401:db00:f01c:3                   m","fnedge276.02.frt3.facebook.
                                            00d:face:0000:0027:0000"]                        com"]



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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                         center_countries     attacker_phones
                                            ["2401:db00:f013:1012:face:000 ["dfw5","iad3"]   ["fnedge283.01.dfw5.facebook.c ["Dallas, Texas,
                                            0:0005:0000","2401:db00:f003:                    om","fnedge729.01.iad3.faceboo US","Washington, DC,
                                            1016:face:0000:0009:0000"]                       k.com"]                        US"]
                                            ["2401:db00:f01b:0001:face:000 ["amt2","otp1"]   ["fnedge146.01.amt2.facebook.c ["Amsterdam,
                                            0:001d:0000","2401:db00:f01b:                    om","fnedge167.01.amt2.facebo NL","Bucharest,
                                            0004:face:0000:001f:0000","240                   ok.com","twedge022.01.otp1.fac RO","unknown"]
                                            1:db00:f016:0003:face:0000:002                   ebook.com","2401:db00:f01b:10
                                            5:0000","2401:db00:f01b:100a:f                   0a:face:0:b:0"]
                                            ace:0000:000b:0000"]
                                            ["2401:db00:f013:400d:face:000 ["dfw5","ort2"]   ["fnedge611.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:001d:0000","2401:db00:f00b:                    om","fnedge551.02.ort2.faceboo US","Chicago, IL, US"]
                                            2009:face:0000:000d:0000"]                       k.com"]
                                            ["2401:db00:f01c:0012:face:000 ["frx5"]          ["fnedge172.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0017:0000","2401:db00:f01c:0                   m","fnedge579.01.frx5.facebook.
                                            006:face:0000:001b:0000"]                        com"]
                                            ["2401:db00:f01b:0007:face:000 ["amt2","mxp1"]   ["fnedge232.01.amt2.facebook.c ["Amsterdam,
                                            0:0023:0000","2401:db00:f01b:                    om","fnedge193.01.amt2.facebo NL","Milano, IT"]
                                            000c:face:0000:0005:0000","24                    ok.com","fnedge420.01.mxp1.fac
                                            01:db00:f008:1018:face:0000:00                   ebook.com"]
                                            13:0000"]
                                            ["2401:db00:f013:1003:face:000 ["dfw5"]          ["fnedge034.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000","2401:db00:f013:                    om","fnedge120.01.dfw5.facebo
                                            1002:face:0000:0027:0000"]                       ok.com"]
                                            ["2401:db00:f01b:1012:face:000 ["maa2"]          ["2401:db00:f01b:1012:face:0:5: ["unknown","Chennai
                                            0:0005:0000","2401:db00:f030:                    0","fnedge055.02.maa2.faceboo , India"]
                                            1003:face:0000:001f:0000"]                       k.com"]
                                            ["2401:db00:f030:0015:face:000 ["maa2"]          ["fnedge475.01.maa2.facebook.c ["Chennai,
                                            0:0011:0000","2401:db00:f01b:                    om","2401:db00:f01b:1009:face: India","unknown"]
                                            1009:face:0000:0009:0000"]                       0:9:0"]
                                            ["2401:db00:f012:2016:face:000 ["lga3"]          ["fnedge170.01.lga3.facebook.co ["New York, NY, US"]
                                            0:001a:0000"]                                    m"]
                                            ["2401:db00:f012:200b:face:000 ["lga3","lax3"]   ["fnedge847.01.lga3.facebook.co ["New York, NY,
                                            0:0017:0000","2401:db00:f00d:                    m","fnedge161.01.lax3.facebook. US","Los Angeles, CA,
                                            0015:face:0000:0007:0000"]                       com"]                           US"]
                                            ["2401:db00:f01c:0007:face:000 ["frx5","bom1"]   ["fnedge597.01.frx5.facebook.co ["Frankfurt,
                                            0:0007:0000","2401:db00:f02a:                    m","fnedge086.01.bom1.faceboo DE","Bombay, IN"]
                                            0009:face:0000:0027:0000"]                       k.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers               server                          center_countries      attacker_phones
                                            ["2401:db00:f02f:0003:face:000 ["ber1","frx5"]       ["fnedge077.01.ber1.facebook.c ["Berlin,
                                            0:0017:0000","2401:db00:f01c:0                       om","fnedge436.01.frx5.faceboo DE","Frankfurt, DE"]
                                            00b:face:0000:0017:0000"]                            k.com"]
                                            ["2401:db00:f023:0001:face:000 ["jnb1","amt2"]       ["fnedge082.01.jnb1.facebook.co ["Johannesburg,
                                            0:001d:0000","2401:db00:f01b:                        m","fnedge204.01.amt2.faceboo ZA","Amsterdam,
                                            000c:face:0000:0007:0000"]                           k.com"]                         NL"]
                                            ["2401:db00:f01a:2008:face:000 ["lht6","jnb1"]       ["fnedge041.01.lht6.facebook.co ["London,
                                            0:000f:0000","2401:db00:f01a:2                       m","fnedge413.01.lht6.facebook. UK","Johannesburg,
                                            00d:face:0000:000b:0000","240                        com","fnedge168.01.jnb1.facebo ZA"]
                                            1:db00:f023:0009:face:0000:002                       ok.com"]
                                            7:0000"]
                                            ["2401:db00:f00b:000f:face:000 ["ort2"]              ["fnedge568.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0013:0000","2401:db00:f00b:                        m","fnedge477.01.ort2.facebook
                                            000c:face:0000:000f:0000"]                           .com"]
                                            ["2401:db00:f013:4008:face:000 ["dfw5"]              ["fnedge440.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0027:0000"]                                        om"]
                                            ["2401:db00:f00b:200f:face:000 ["ort2"]              ["fnedge488.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:001d:0000","2401:db00:f00b:                        m","fnedge356.01.ort2.facebook
                                            0002:face:0000:0001:0000"]                           .com"]
                                            ["2401:db00:f00b:2009:face:000 ["ort2","lax3","dfw5" ["fnedge538.02.ort2.facebook.co ["Chicago, IL,
                                            0:0001:0000","2401:db00:f00d: ]                      m","fnedge916.01.lax3.facebook. US","Los Angeles, CA,
                                            0004:face:0000:0011:0000","24                        com","fnedge331.02.dfw5.faceb US","Dallas, Texas,
                                            01:db00:f013:400c:face:0000:00                       ook.com","fnedge102.01.dfw5.fa US"]
                                            0b:0000","2401:db00:f013:1002                        cebook.com"]
                                            :face:0000:0003:0000"]
                                            ["2401:db00:f013:100e:face:000 ["dfw5"]              ["fnedge200.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0023:0000","2401:db00:f013:                        om","fnedge400.02.dfw5.facebo
                                            4012:face:0000:0023:0000"]                           ok.com"]
                                            ["2401:db00:f01c:000e:face:000 ["frx5","maa2"]       ["fnedge047.01.frx5.facebook.co ["Frankfurt,
                                            0:0019:0000","2401:db00:f01c:0                       m","fnedge617.01.frx5.facebook. DE","Chennai, India"]
                                            008:face:0000:0017:0000","240                        com","fnedge100.01.maa2.faceb
                                            1:db00:f030:0005:face:0000:001                       ook.com","fnedge470.01.maa2.f
                                            5:0000","2401:db00:f030:0015:f                       acebook.com"]
                                            ace:0000:000b:0000"]
                                            ["2401:db00:f01c:0013:face:000 ["frx5"]              ["fnedge562.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0021:0000"]                                        m"]
                                            ["2401:db00:f00d:0009:face:000 ["lax3","ort2"]       ["fnedge1008.01.lax3.facebook.c ["Los Angeles, CA,
                                            0:0005:0000","2401:db00:f00b:                        om","fnedge216.02.ort2.faceboo US","Chicago, IL, US"]
                                            2002:face:0000:0023:0000"]                           k.com"]



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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries        attacker_phones
                                            ["2401:db00:f01c:2002:face:000 ["frt3"]          ["fnedge371.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0017:0000"]                                    m"]
                                            ["2401:db00:f00d:2003:face:000 ["lax3"]          ["fnedge104.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0001:0000","2401:db00:f00d:                    m","fnedge784.01.lax3.facebook. US"]
                                            0010:face:0000:0025:0000"]                       com"]
                                            ["2401:db00:f01c:2003:face:000 ["frt3","sin2"]   ["fnedge398.01.frt3.facebook.co ["Frankfurt,
                                            0:0025:0000","2401:db00:f00c:0                   m","fnedge201.01.sin2.facebook. DE","Singapore"]
                                            00c:face:0000:0019:0000"]                        com"]
                                            ["2401:db00:f011:0006:face:000 ["atl3"]          ["fnedge637.01.atl3.facebook.co ["Atlanda, Georgia,
                                            0:0011:0000","2401:db00:f011:                    m","fnedge634.01.atl3.facebook. US"]
                                            0006:face:0000:0019:0000"]                       com"]
                                            ["2401:db00:f00d:2002:face:000 ["lax3"]          ["fnedge035.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0027:0000","2401:db00:f00d:                    m","fnedge956.01.lax3.facebook. US"]
                                            0006:face:0000:0025:0000","24                    com","fnedge498.01.lax3.facebo
                                            01:db00:f00d:0001:face:0000:00                   ok.com"]
                                            11:0000"]
                                            ["2401:db00:f033:0001:face:000 ["msp1","ort2"]   ["fnedge050.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:0013:0000","2401:db00:f00b:                    om","fnedge366.01.ort2.faceboo US","Chicago, IL, US"]
                                            0002:face:0000:000f:0000"]                       k.com"]
                                            ["2401:db00:f01b:100a:face:000                   ["2401:db00:f01b:100a:face:0:21 ["unknown"]
                                            0:0021:0000"]                                    :0"]
                                            ["2401:db00:f012:200f:face:000 ["lga3","dfw5"]   ["fnedge079.01.lga3.facebook.co ["New York, NY,
                                            0:0003:0000","2401:db00:f013:                    m","fnedge444.01.dfw5.faceboo US","Dallas, Texas,
                                            1018:face:0000:0003:0000"]                       k.com"]                         US"]
                                            ["2401:db00:f00d:2006:face:000 ["lax3"]          ["fnedge081.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0027:0000","2401:db00:f00d:                    m","fnedge873.01.lax3.facebook. US"]
                                            000a:face:0000:001f:0000"]                       com"]
                                            ["2401:db00:f013:1016:face:000 ["dfw5","msp1"]   ["fnedge360.01.dfw5.facebook.c ["Dallas, Texas,
                                            0:0027:0000","2401:db00:f013:                    om","fnedge700.02.dfw5.facebo US","Minneapolis,
                                            4011:face:0000:0021:0000","24                    ok.com","fnedge436.02.dfw5.fac MN, US"]
                                            01:db00:f013:4008:face:0000:00                   ebook.com","fnedge101.01.msp
                                            17:0000","2401:db00:f033:0005                    1.facebook.com"]
                                            :face:0000:0001:0000"]
                                            ["2401:db00:f013:100c:face:000 ["dfw5"]          ["fnedge147.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0011:0000"]                                    om"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers                server                          center_countries     attacker_phones
                                            ["2401:db00:f01c:0017:face:000 ["frx5","sin2","mrs2"] ["fnedge263.01.frx5.facebook.co ["Frankfurt,
                                            0:0027:0000","2401:db00:f00c:0                        m","fnedge437.01.sin2.facebook. DE","Singapore","Ma
                                            014:face:0000:0027:0000","240                         com","fnedge382.01.mrs2.faceb rseille, FR"]
                                            1:db00:f006:1014:face:0000:001                        ook.com"]
                                            d:0000"]
                                            ["2401:db00:f01b:100e:face:000 ["mrs2"]               ["2401:db00:f01b:100e:face:0:11 ["unknown","Marseill
                                            0:0011:0000","2401:db00:f006:                         :0","fnedge057.02.mrs2.faceboo e, FR"]
                                            2007:face:0000:000d:0000"]                            k.com"]
                                            ["2401:db00:f013:1014:face:000 ["dfw5"]               ["fnedge226.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000b:0000","2401:db00:f013:                         om","fnedge385.01.dfw5.facebo
                                            1008:face:0000:0019:0000"]                            ok.com"]
                                            ["2401:db00:f01c:0015:face:000 ["frx5"]               ["fnedge512.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0001:0000"]                                         m"]
                                            ["2401:db00:f009:1002:face:000 ["arn2"]               ["fnedge040.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:001b:0000","2401:db00:f009:                         m","fnedge022.02.arn2.facebook
                                            1001:face:0000:0015:0000"]                            .com"]
                                            ["2401:db00:f013:4012:face:000 ["dfw5"]               ["fnedge397.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000"]                                         om"]
                                            ["2401:db00:f013:400e:face:000 ["dfw5"]               ["fnedge658.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000"]                                         om"]
                                            ["2401:db00:f006:1007:face:000 ["mrs2","frx5"]        ["fnedge065.01.mrs2.facebook.c ["Marseille,
                                            0:0007:0000","2401:db00:f006:                         om","fnedge013.02.mrs2.facebo FR","Frankfurt, DE"]
                                            2008:face:0000:001f:0000","240                        ok.com","fnedge603.01.frx5.face
                                            1:db00:f01c:0007:face:0000:002                        book.com"]
                                            1:0000"]
                                            ["2401:db00:f008:1013:face:000 ["mxp1"]               ["fnedge606.01.mxp1.facebook.c ["Milano, IT"]
                                            0:000b:0000"]                                         om"]
                                            ["2401:db00:f00d:2007:face:000 ["lax3"]               ["fnedge086.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0005:0000"]                                         m"]                             US"]
                                            ["2401:db00:f000:300e:face:000 ["mia3","amt2"]        ["fnedge644.02.mia3.facebook.c ["Miami, Florida,
                                            0:0019:0000","2401:db00:f01b:                         om","fnedge309.01.amt2.facebo US","Amsterdam,
                                            000d:face:0000:001f:0000"]                            ok.com"]                        NL"]
                                            ["2401:db00:f013:1002:face:000 ["dfw5"]               ["fnedge110.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000b:0000","2401:db00:f013:                         om","fnedge690.02.dfw5.facebo
                                            4011:face:0000:000f:0000"]                            ok.com"]
                                            ["2401:db00:f00b:2011:face:000 ["ort2"]               ["fnedge111.02.ort2.facebook.co ["Chicago, IL, US"]
                                            0:000b:0000","2401:db00:f00b:                         m","fnedge324.02.ort2.facebook
                                            2006:face:0000:000f:0000"]                            .com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers              server                           center_countries      attacker_phones
                                            ["2401:db00:f013:1007:face:000 ["dfw5"]             ["fnedge416.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0017:0000","2401:db00:f013:                       om","fnedge515.02.dfw5.facebo
                                            4015:face:0000:0027:0000"]                          ok.com"]
                                            ["2401:db00:f034:0003:face:000 ["mba1"]             ["fnedge043.01.mba1.facebook.c ["Mombasa, KE "]
                                            0:0003:0000"]                                       om"]
                                            ["2401:db00:f012:200f:face:000 ["lga3","dfw5"]      ["fnedge270.01.lga3.facebook.co ["New York, NY,
                                            0:0027:0000","2401:db00:f013:                       m","fnedge696.02.dfw5.faceboo US","Dallas, Texas,
                                            4011:face:0000:0015:0000"]                          k.com"]                          US"]
                                            ["2401:db00:f00d:2008:face:000 ["lax3"]             ["fnedge034.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:000d:0000","2401:db00:f00d:                       m","fnedge753.01.lax3.facebook. US"]
                                            0010:face:0000:0003:0000"]                          com"]
                                            ["2401:db00:f01f:1012:face:000 ["cdg2","cdt1","amt2 ["fnedge613.01.cdg2.facebook.c ["Paris,
                                            0:0019:0000","2401:db00:f01f:0 "]                   om","fnedge133.01.cdt1.faceboo FR","Amsterdam,
                                            00e:face:0000:0007:0000","240                       k.com","fnedge118.01.amt2.face NL"]
                                            1:db00:f01b:0009:face:0000:000                      book.com"]
                                            f:0000"]
                                            ["2401:db00:f00b:0008:face:000 ["ort2","dfw5"]      ["fnedge048.01.ort2.facebook.co ["Chicago, IL,
                                            0:0003:0000","2401:db00:f013:                       m","fnedge298.01.dfw5.faceboo US","Dallas, Texas,
                                            1012:face:0000:0025:0000"]                          k.com"]                          US"]
                                            ["2401:db00:f01b:100f:face:000                      ["2401:db00:f01b:100f:face:0:19: ["unknown"]
                                            0:0019:0000","2401:db00:f01b:                       0","2401:db00:f01b:1008:face:0:
                                            1008:face:0000:0015:0000"]                          15:0"]
                                            ["2401:db00:f01c:0018:face:000 ["frx5"]             ["fnedge053.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:000d:0000"]                                       m"]
                                            ["2401:db00:f030:000c:face:000 ["maa2","frx5"]      ["fnedge252.01.maa2.facebook.c ["Chennai,
                                            0:000f:0000","2401:db00:f01c:0                      om","fnedge120.01.frx5.faceboo India","Frankfurt,
                                            00e:face:0000:0013:0000"]                           k.com"]                          DE"]
                                            ["2401:db00:f01c:0009:face:000 ["frx5"]             ["fnedge648.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0007:0000"]                                       m"]
                                            ["2401:db00:f00b:200e:face:000 ["ort2","dfw5"]      ["fnedge181.02.ort2.facebook.co ["Chicago, IL,
                                            0:0013:0000","2401:db00:f013:                       m","fnedge270.01.dfw5.faceboo US","Dallas, Texas,
                                            1015:face:0000:0009:0000"]                          k.com"]                          US"]
                                            ["2401:db00:f013:1011:face:000 ["dfw5"]             ["fnedge309.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000d:0000"]                                       om"]
                                            ["2401:db00:f013:400e:face:000 ["dfw5"]             ["fnedge655.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001d:0000"]                                       om"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers                server                          center_countries      attacker_phones
                                            ["2401:db00:f013:1015:face:000 ["dfw5"]               ["fnedge277.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0017:0000","2401:db00:f013:                         om","fnedge595.02.dfw5.facebo
                                            400a:face:0000:001d:0000","24                         ok.com","fnedge657.02.dfw5.fac
                                            01:db00:f013:400e:face:0000:00                        ebook.com"]
                                            0f:0000"]
                                            ["2401:db00:f016:0004:face:000 ["otp1","amt2"]        ["fnedge435.01.otp1.facebook.c ["Bucharest,
                                            0:0011:0000","2401:db00:f01b:                         om","fnedge036.01.amt2.facebo RO","Amsterdam,
                                            000c:face:0000:001b:0000"]                            ok.com"]                        NL"]
                                            ["2401:db00:f013:4004:face:000 ["dfw5"]               ["fnedge863.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0027:0000","2401:db00:f013:                         om","fnedge798.02.dfw5.facebo
                                            4007:face:0000:001b:0000"]                            ok.com"]
                                            ["2401:db00:f036:0006:face:000 ["dus1"]               ["fnedge087.01.dus1.facebook.c ["Dusseldorf, DE"]
                                            0:0015:0000","2401:db00:f036:                         om","fnedge110.01.dus1.facebo
                                            0005:face:0000:0023:0000"]                            ok.com"]
                                            ["2401:db00:f02a:0003:face:000 ["bom1","frx5"]        ["fnedge137.01.bom1.facebook.c ["Bombay,
                                            0:000f:0000","2401:db00:f02a:1                        om","fnedge207.02.bom1.facebo IN","Frankfurt, DE"]
                                            008:face:0000:0003:0000","240                         ok.com","fnedge501.01.frx5.face
                                            1:db00:f01c:000d:face:0000:001                        book.com","fnedge232.01.frx5.fa
                                            5:0000","2401:db00:f01c:0011:f                        cebook.com"]
                                            ace:0000:0003:0000"]
                                            ["2401:db00:f004:1002:face:000 ["mad1","frt3","frx5"] ["fnedge513.01.mad1.facebook.c ["Madrid,
                                            0:0005:0000","2401:db00:f01c:2                        om","fnedge473.01.frt3.faceboo ES","Frankfurt, DE"]
                                            008:face:0000:0027:0000","240                         k.com","fnedge113.02.frt3.faceb
                                            1:db00:f01c:300e:face:0000:001                        ook.com","fnedge366.01.frx5.fac
                                            d:0000","2401:db00:f01c:0017:f                        ebook.com"]
                                            ace:0000:0015:0000"]
                                            ["2401:db00:f01c:0006:face:000 ["frx5"]               ["fnedge570.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:000f:0000"]                                         m"]
                                            ["2401:db00:f000:2007:face:000 ["mia3","ort2"]        ["fnedge111.01.mia3.facebook.c ["Miami, Florida,
                                            0:0011:0000","2401:db00:f00b:                         om","fnedge195.02.ort2.faceboo US","Chicago, IL, US"]
                                            200a:face:0000:000f:0000"]                            k.com"]
                                            ["2401:db00:f01c:0017:face:000 ["frx5"]               ["fnedge105.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0013:0000"]                                         m"]
                                            ["2401:db00:f013:1014:face:000 ["dfw5","qro1"]        ["fnedge231.01.dfw5.facebook.c ["Dallas, Texas,
                                            0:0011:0000","2401:db00:f013:                         om","fnedge392.02.dfw5.facebo US","Queretaro, MX"]
                                            4012:face:0000:000d:0000","24                         ok.com","fnedge036.01.dfw5.fac
                                            01:db00:f013:1003:face:0000:00                        ebook.com","fnedge050.01.qro1.
                                            1f:0000","2401:db00:f02e:0002:                        facebook.com"]
                                            face:0000:0015:0000"]



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victim_phone   attacker_ips   victim_ips    server_ips                     centers               server                          center_countries      attacker_phones
                                            ["2401:db00:f00d:2001:face:000 ["lax3","ort2"]       ["fnedge113.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:001f:0000","2401:db00:f00b:0                       m","fnedge481.01.ort2.facebook US","Chicago, IL, US"]
                                            00c:face:0000:0007:0000"]                            .com"]
                                            ["2401:db00:f02a:1010:face:000 ["bom1"]              ["fnedge311.02.bom1.facebook.c ["Bombay, IN"]
                                            0:001b:0000"]                                        om"]
                                            ["2401:db00:f00b:0010:face:000 ["ort2"]              ["fnedge228.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0005:0000"]                                        m"]
                                            ["2401:db00:f00d:2007:face:000 ["lax3","ort2"]       ["fnedge054.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:001b:0000","2401:db00:f00b:                        m","fnedge489.02.ort2.facebook US","Chicago, IL, US"]
                                            200f:face:0000:000d:0000"]                           .com"]
                                            ["2401:db00:f013:100a:face:000 ["dfw5"]              ["fnedge256.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000","2401:db00:f013:4                       om","fnedge853.02.dfw5.facebo
                                            005:face:0000:001b:0000"]                            ok.com"]
                                            ["2401:db00:f00b:200a:face:000 ["ort2","lga3","dfw5" ["fnedge313.02.ort2.facebook.co ["Chicago, IL,
                                            0:001f:0000","2401:db00:f00b:0 ]                     m","fnedge145.01.ort2.facebook US","New York, NY,
                                            008:face:0000:0027:0000","240                        .com","fnedge217.01.lga3.facebo US","Dallas, Texas,
                                            1:db00:f012:2015:face:0000:001                       ok.com","fnedge161.01.dfw5.fac US"]
                                            d:0000","2401:db00:f013:100d:f                       ebook.com"]
                                            ace:0000:0001:0000"]
                                            ["2401:db00:f009:1004:face:000 ["arn2"]              ["fnedge051.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:0023:0000"]                                        m"]
                                            ["2401:db00:f01b:1012:face:000 ["amt2"]              ["2401:db00:f01b:1012:face:0:5: ["unknown","Amster
                                            0:0005:0000","2401:db00:f01b:                        0","fnedge184.01.amt2.facebook dam, NL"]
                                            0008:face:0000:0017:0000"]                           .com"]
                                            ["2401:db00:f01c:0005:face:000 ["frx5"]              ["fnedge294.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:000d:0000"]                                        m"]
                                            ["2401:db00:f01b:1010:face:000 ["amt2","dus1"]       ["2401:db00:f01b:1010:face:0:b: ["unknown","Amster
                                            0:000b:0000","2401:db00:f01b:                        0","fnedge107.01.amt2.facebook dam,
                                            000a:face:0000:0019:0000","24                        .com","fnedge053.01.dus1.faceb NL","Dusseldorf, DE"]
                                            01:db00:f036:0002:face:0000:00                       ook.com","fnedge062.01.dus1.fa
                                            0d:0000","2401:db00:f036:0003                        cebook.com"]
                                            :face:0000:0011:0000"]
                                            ["2401:db00:f013:4012:face:000 ["dfw5","ort2"]       ["fnedge387.02.dfw5.facebook.c ["Dallas, Texas,
                                            0:0017:0000","2401:db00:f00b:                        om","fnedge117.01.ort2.faceboo US","Chicago, IL, US"]
                                            0010:face:0000:0027:0000"]                           k.com"]
                                            ["2401:db00:f00b:2002:face:000 ["ort2","lax3"]       ["fnedge105.02.ort2.facebook.co ["Chicago, IL,
                                            0:0025:0000","2401:db00:f00d:                        m","fnedge010.02.lax3.facebook. US","Los Angeles, CA,
                                            2004:face:0000:0017:0000"]                           com"]                           US"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries      attacker_phones
                                            ["2401:db00:f01c:2008:face:000 ["frt3"]          ["fnedge467.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:0007:0000","2401:db00:f01c:2                   m","fnedge694.01.frt3.facebook.
                                            012:face:0000:0011:0000"]                        com"]
                                            ["2401:db00:f01b:1010:face:000                   ["2401:db00:f01b:1010:face:0:7: ["unknown"]
                                            0:0007:0000"]                                    0"]
                                            ["2401:db00:f030:1005:face:000 ["maa2"]          ["fnedge141.02.maa2.facebook.c ["Chennai, India"]
                                            0:0019:0000","2401:db00:f030:                    om","fnedge119.01.maa2.facebo
                                            0006:face:0000:001f:0000"]                       ok.com"]
                                            ["2401:db00:f00d:0012:face:000 ["lax3","ort2"]   ["fnedge765.01.lax3.facebook.co ["Los Angeles, CA,
                                            0:0011:0000","2401:db00:f00b:                    m","fnedge420.01.ort2.facebook US","Chicago, IL, US"]
                                            0005:face:0000:0025:0000"]                       .com"]
                                            ["2401:db00:f009:1003:face:000 ["arn2"]          ["fnedge095.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:001b:0000","2401:db00:f009:                    m","fnedge017.02.arn2.facebook
                                            1001:face:0000:000b:0000"]                       .com"]
                                            ["2401:db00:f013:4015:face:000 ["dfw5"]          ["fnedge507.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0009:0000","2401:db00:f013:                    om","fnedge404.01.dfw5.facebo
                                            1007:face:0000:0023:0000"]                       ok.com"]
                                            ["2401:db00:f009:1001:face:000 ["arn2","dus1"]   ["fnedge001.02.arn2.facebook.co ["Stockholm,
                                            0:001d:0000","2401:db00:f036:                    m","fnedge009.01.dus1.faceboo SE","Dusseldorf, DE"]
                                            0001:face:0000:001f:0000"]                       k.com"]
                                            ["2401:db00:f013:100c:face:000 ["dfw5"]          ["fnedge158.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000","2401:db00:f013:                    om","fnedge360.01.dfw5.facebo
                                            1016:face:0000:0027:0000"]                       ok.com"]
                                            ["2401:db00:f01c:2003:face:000 ["frt3"]          ["fnedge393.01.frt3.facebook.co ["Frankfurt, DE"]
                                            0:000d:0000"]                                    m"]
                                            ["2401:db00:f00b:0010:face:000 ["ort2"]          ["fnedge264.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0019:0000"]                                    m"]
                                            ["2401:db00:f012:2008:face:000 ["lga3","lax3"]   ["fnedge736.01.lga3.facebook.co ["New York, NY,
                                            0:0005:0000","2401:db00:f00d:                    m","fnedge145.02.lax3.facebook. US","Los Angeles, CA,
                                            2001:face:0000:0001:0000"]                       com"]                           US"]
                                            ["2401:db00:f01b:1008:face:000                   ["2401:db00:f01b:1008:face:0:7: ["unknown"]
                                            0:0007:0000"]                                    0"]
                                            ["2401:db00:f013:4004:face:000 ["dfw5"]          ["fnedge868.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001f:0000","2401:db00:f013:4                   om","fnedge534.02.dfw5.facebo
                                            016:face:0000:0023:0000","240                    ok.com","fnedge366.01.dfw5.fac
                                            1:db00:f013:1017:face:0000:000                   ebook.com","fnedge402.01.dfw5
                                            9:0000","2401:db00:f013:1007:f                   .facebook.com"]
                                            ace:0000:000b:0000"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                         center_countries         attacker_phones
                                            ["2401:db00:f013:1011:face:000 ["dfw5"]          ["fnedge317.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0019:0000"]                                    om"]
                                            ["2401:db00:f013:400e:face:000 ["dfw5"]          ["fnedge643.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0003:0000","2401:db00:f013:                    om","fnedge107.01.dfw5.facebo
                                            1002:face:0000:0009:0000","24                    ok.com","fnedge638.02.dfw5.fac
                                            01:db00:f013:400b:face:0000:00                   ebook.com"]
                                            1b:0000"]
                                            ["2401:db00:f01c:3018:face:000                   ["2401:db00:f01c:3018:face:0:11 ["unknown"]
                                            0:0011:0000"]                                    :0"]
                                            ["2401:db00:f01a:2015:face:000 ["lht6"]          ["fnedge079.01.lht6.facebook.co ["London, UK"]
                                            0:001d:0000"]                                    m"]
                                            ["2401:db00:f006:1018:face:000 ["mrs2"]          ["fnedge431.01.mrs2.facebook.c ["Marseille, FR"]
                                            0:000d:0000"]                                    om"]
                                            ["2401:db00:f000:200f:face:000 ["mia3"]          ["fnedge340.01.mia3.facebook.c ["Miami, Florida, US"]
                                            0:0025:0000","2401:db00:f000:                    om","fnedge565.01.mia3.facebo
                                            2016:face:0000:000b:0000"]                       ok.com"]
                                            ["2401:db00:f013:1005:face:000 ["dfw5"]          ["fnedge085.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0005:0000","2401:db00:f013:                    om","fnedge577.02.dfw5.facebo
                                            4018:face:0000:001d:0000"]                       ok.com"]
                                            ["2401:db00:f01c:000d:face:000 ["frx5","mrs2"]   ["fnedge493.01.frx5.facebook.co ["Frankfurt,
                                            0:0003:0000","2401:db00:f006:                    m","fnedge065.01.mrs2.faceboo DE","Marseille, FR"]
                                            1007:face:0000:0007:0000","24                    k.com","fnedge065.02.mrs2.face
                                            01:db00:f006:2009:face:0000:00                   book.com"]
                                            03:0000"]
                                            ["2401:db00:f01c:300b:face:000 ["frt3","lhr3"]   ["fnedge255.02.frt3.facebook.co ["Frankfurt,
                                            0:0015:0000","2401:db00:f01a:                    m","fnedge227.01.lhr3.facebook. DE","London, UK"]
                                            1007:face:0000:001b:0000"]                       com"]
                                            ["2401:db00:f033:0004:face:000 ["msp1"]          ["fnedge089.01.msp1.facebook.c ["Minneapolis, MN,
                                            0:001d:0000"]                                    om"]                            US"]
                                            ["2401:db00:f01b:1011:face:000                   ["2401:db00:f01b:1011:face:0:19 ["unknown"]
                                            0:0019:0000"]                                    :0"]
                                            ["2401:db00:f006:2009:face:000 ["mrs2","amt2"]   ["fnedge065.02.mrs2.facebook.c ["Marseille,
                                            0:0003:0000","2401:db00:f01b:                    om","fnedge349.01.amt2.facebo FR","Amsterdam,
                                            000c:face:0000:0027:0000"]                       ok.com"]                        NL"]
                                            ["2401:db00:f036:0004:face:000 ["dus1","arn2"]   ["fnedge027.01.dus1.facebook.c ["Dusseldorf,
                                            0:0011:0000","2401:db00:f009:                    om","fnedge009.02.arn2.faceboo DE","Stockholm, SE"]
                                            1001:face:0000:0005:0000"]                       k.com"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers            server                          center_countries        attacker_phones
                                            ["2401:db00:f004:1006:face:000 ["mad1"]           ["fnedge620.01.mad1.facebook.c ["Madrid,
                                            0:000d:0000","2401:db00:f01b:                     om","2401:db00:f01b:100e:face: ES","unknown"]
                                            100e:face:0000:0027:0000","24                     0:27:0","2401:db00:f01b:100f:fa
                                            01:db00:f01b:100f:face:0000:00                    ce:0:1f:0"]
                                            1f:0000"]
                                            ["2401:db00:f013:4010:face:000 ["dfw5"]           ["fnedge712.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:001b:0000","2401:db00:f013:                     om","fnedge468.01.dfw5.facebo
                                            1013:face:0000:000d:0000"]                        ok.com"]
                                            ["2401:db00:f013:4018:face:000 ["dfw5"]           ["fnedge570.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0017:0000"]                                     om"]
                                            ["2401:db00:f00d:0004:face:000 ["lax3"]           ["fnedge918.01.lax3.facebook.co ["Los Angeles, CA,
                                            0:0023:0000","2401:db00:f00d:                     m","fnedge139.02.lax3.facebook. US"]
                                            2002:face:0000:0005:0000"]                        com"]
                                            ["2401:db00:f01a:1006:face:000 ["lhr3"]           ["fnedge270.01.lhr3.facebook.co ["London, UK"]
                                            0:000d:0000","2401:db00:f01a:                     m","fnedge276.01.lhr3.facebook.
                                            100e:face:0000:0007:0000"]                        com"]
                                            ["2401:db00:f013:4006:face:000 ["dfw5"]           ["fnedge067.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0021:0000","2401:db00:f013:                     om","fnedge164.01.dfw5.facebo
                                            100d:face:0000:0007:0000"]                        ok.com"]
                                            ["2401:db00:f00d:0008:face:000 ["lax3","ort2"]    ["fnedge1005.01.lax3.facebook.c ["Los Angeles, CA,
                                            0:0021:0000","2401:db00:f00b:                     om","fnedge258.01.ort2.faceboo US","Chicago, IL, US"]
                                            0008:face:0000:001b:0000"]                        k.com"]
                                            ["2401:db00:f00c:0010:face:000 ["sin2","sin6"]    ["fnedge286.01.sin2.facebook.co ["Singapore"]
                                            0:0011:0000","2401:db00:f00c:4                    m","fnedge248.02.sin2.facebook.
                                            00b:face:0000:001d:0000","240                     com","fnedge391.02.sin6.facebo
                                            1:db00:f00c:3017:face:0000:000                    ok.com"]
                                            1:0000"]
                                            ["2401:db00:f01b:1012:face:000                    ["2401:db00:f01b:1012:face:0:9: ["unknown"]
                                            0:0009:0000"]                                     0"]
                                            ["2401:db00:f013:400c:face:000 ["dfw5"]           ["fnedge322.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0023:0000"]                                     om"]
                                            ["2401:db00:f01a:100e:face:000 ["lhr3","jnb1"]    ["fnedge177.01.lhr3.facebook.co ["London,
                                            0:001b:0000","2401:db00:f023:                     m","fnedge079.01.jnb1.facebook UK","Johannesburg,
                                            0002:face:0000:0019:0000"]                        .com"]                          ZA"]
                                            ["2401:db00:f013:100b:face:000 ["dfw5"]           ["fnedge140.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:0025:0000"]                                     om"]
                                            ["2401:db00:f009:1003:face:000 ["arn2"]           ["fnedge085.02.arn2.facebook.co ["Stockholm, SE"]
                                            0:0019:0000"]                                     m"]




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victim_phone   attacker_ips   victim_ips    server_ips                     centers           server                          center_countries        attacker_phones
                                            ["2401:db00:f00c:0008:face:000 ["sin2","lax3"]   ["fnedge141.01.sin2.facebook.co ["Singapore","Los
                                            0:0019:0000","2401:db00:f00c:0                   m","fnedge228.01.sin2.facebook. Angeles, CA, US"]
                                            00b:face:0000:0003:0000","240                    com","fnedge490.01.lax3.facebo
                                            1:db00:f00d:0001:face:0000:000                   ok.com","fnedge105.01.lax3.face
                                            5:0000","2401:db00:f00d:0015:f                   book.com"]
                                            ace:0000:0005:0000"]
                                            ["2401:db00:f01c:0003:face:000 ["frx5"]          ["fnedge278.01.frx5.facebook.co ["Frankfurt, DE"]
                                            0:0023:0000"]                                    m"]
                                            ["2401:db00:f013:4011:face:000 ["dfw5"]          ["fnedge690.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                            0:000f:0000"]                                    om"]
                                            ["2401:db00:f006:2008:face:000 ["mrs2","amt2"]   ["fnedge008.02.mrs2.facebook.c ["Marseille,
                                            0:0015:0000","2401:db00:f01b:                    om","fnedge259.01.amt2.facebo FR","Amsterdam,
                                            0009:face:0000:0021:0000","24                    ok.com","2401:db00:f01b:1007:f NL","unknown"]
                                            01:db00:f01b:1007:face:0000:00                   ace:0:19:0"]
                                            19:0000"]
                                            ["2401:db00:f00b:000c:face:000 ["ort2"]          ["fnedge485.01.ort2.facebook.co ["Chicago, IL, US"]
                                            0:0023:0000"]                                    m"]
                                            ["2401:db00:f006:100f:face:000 ["mrs2","dus1"]   ["fnedge264.01.mrs2.facebook.c ["Marseille,
                                            0:000d:0000","2401:db00:f036:                    om","fnedge116.01.dus1.facebo FR","Dusseldorf, DE"]
                                            0005:face:0000:001b:0000"]                       ok.com"]
                                            ["2401:db00:f00d:2007:face:000 ["lax3"]          ["fnedge120.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0025:0000"]                                    m"]                             US"]
                                            ["2401:db00:f01c:3003:face:000 ["frt3"]          ["fnedge338.02.frt3.facebook.co ["Frankfurt, DE"]
                                            0:000b:0000","2401:db00:f01c:3                   m","fnedge101.02.frt3.facebook.
                                            001:face:0000:0003:0000"]                        com"]
                                            ["2401:db00:f01a:1001:face:000 ["lhr3"]          ["fnedge226.01.lhr3.facebook.co ["London, UK"]
                                            0:0009:0000","2401:db00:f01a:                    m","fnedge012.01.lhr3.facebook.
                                            1009:face:0000:0015:0000"]                       com"]
                                            ["2401:db00:f00d:2002:face:000 ["lax3","ort2"]   ["fnedge049.02.lax3.facebook.co ["Los Angeles, CA,
                                            0:0021:0000","2401:db00:f00b:                    m","fnedge552.02.ort2.facebook US","Chicago, IL, US"]
                                            2009:face:0000:001f:0000","240                   .com","fnedge061.02.ort2.faceb
                                            1:db00:f00b:2003:face:0000:000                   ook.com"]
                                            b:0000"]
                                            ["2401:db00:f01b:000d:face:000 ["amt2"]          ["fnedge092.01.amt2.facebook.c ["Amsterdam, NL"]
                                            0:0003:0000","2401:db00:f01b:                    om","fnedge045.01.amt2.facebo
                                            000b:face:0000:0023:0000"]                       ok.com"]




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              EXHIBIT 19
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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              EXHIBIT 20
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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        Requested information

           1.              : Does not belong to us
           2.                :
        There are 2 customers:
                https://prnLsc/tzb915
           -    https://prnLsc/tzb9p4
                Paypal email address:
           -    Service from 07/05/2017 to 09/05/2018
        And:
                https://p1·nt.sc/tzbaqh
                https://prnLsc/tzbauf
           - Service from 09/28/2018 until now
           3.
                https://prnt.sc/tzbc4p
                https://prnt.sc/tzbc8h
                https://bltpay,com/lnslght/#/BTC/malnnet/tx/56c13b9895e6f63be187e0dc14f6bc3aed
                6375d6e6711883abe0b36342e1af13
           4.                                                                          : The
                same customer
           5.
                https://prnt.sc/tzbf6b
                https://prnLsc/tzbfak
           -    https://bltpay.com/lnslght/ff/BTC/malnnet/tx/e2e1bd448dabfb0ea2b00f40a37f740c429
                08f7a17a5e4f50f4bc71b9da16b19
           6.
           -    .bJ.t.P..'.'?.J/prnt.sc/tzbfv_;,s
                https://p1·nt.sc/tzbg83
                https://bltpay,com/lnslght/ff/BTC/malnnet/tx/cc29b6fd26b919b18f5a5663207f38a569d
                23e0f2f4bd6b3fb92b9a9444aff22
           7.
                https://prnt.sc/tzbgwf
           -    https:j/prnt.sc/tzbh5t
                https://bitpay,com/inslght/#/STC/mainnet/tx/309 bd258949681ce32594dd0305f13a8e5
                3b086e628d68c9e0ba2560443b9ee4
           8.
                https://prnt.sc/tzbi0g
                https://prnt.sc/tzbl 3y
           -    https:j/prnt.sc/tzblbc
                https://prnt.sc/tzbien
                https://prnLsc/tzbl[b
           -    https://prnLsc/tzblob
           9.
           -    https:j/prnt.sc/tzbic5




CONFIDENTIAL                                                                             WA-NSO-00000019
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           - bJJP..?.}/prnLsc/tzb[ft.
           10.                 - does not belong to us
           11.

                 https://p1·nt.sc/tzbl4p
                 https://prnt.sc/tzbl7h
           12.
                 https://prnt.sc/tzbmOf
                 https://prnLsc/tzbm9f
           13.
                 https://p1·nt.sc/tzbmq4
                 https://prnt.sc/tzbmsu
                 Paypal:




CONFIDENTIAL                                                                           WA-NSO-00000020
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              EXHIBIT 21
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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              EXHIBIT 23
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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              EXHIBIT 25
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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              EXHIBIT 28
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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              EXHIBIT 35
   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                         Page 1

 1                            UNITED STATES DISTRICT COURT
 2                        NORTHERN DISTRICT OF CALIFORNIA
 3                                  OAKLAND DIVISION
 4      ---------------------------------X
 5      WHATSAPP INC.                                 :
 6      a Delaware corporation, and                   :
 7      META PLATFORMS INC.,                          :
 8      a Delaware Corporation                        :
 9                            Plaintiffs,             :
10                   v.                               :      Case No.
11      NSO GROUP TECHNOLOGIES LTD.                   :      4:19-cv-07123-PJH
12      and                                           :
13      Q CYBER TECHNOLOGIES LTD.,                    :
14                         Defendants.                :
15      ---------------------------------X
16
17                        Deposition of SARIT BIZINSKY GIL
18                                          LONDON
19                            FRIDAY, SEPTEMBER 6TH, 2024
20                                    8:19 A.M. BST
21
22                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
23
24
25

                                  Veritext Legal Solutions
     212-279-9424                   www.veritext.com                       212-490-3430
Case 4:19-cv-07123-PJH                   Document 679-6               Filed 04/04/25           Page 84 of 139

                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                                       Page 62                                                        Page 64
 1 A. So sales are the sales reps that actually connect or try    1 A. But for us it doesn't matter.
 2 to find those potential end users, potential agencies,         2 Q. And when a reseller sells for, let's say --
 3 government agencies; and the presales are a team that          3 I understand.
 4 accompanies the sales whenever there is a demo to be           4      So any additional income received by the reseller
 5 done to the potential customer.                                5 would not be accounted for by defendants, is that right?
 6 Q. Got it. Once the contract is signed, then the customer      6 A. Yes.
 7 starts working with client executives, is that right?          7 Q. What about in the case of WestBridge, as of 2018? Did
 8 A. Yes.                                                        8 WestBridge have its own books, so to speak?
 9 Q. Okay. Going on to the next page:                            9 MR. CRAIG: Objection. Foundation.
10      "Our sales force has expanded over time."                10 A. I don't know.
11      Do you see that?                                         11 Q. Okay. But any booking that WestBridge did would be
12 A. Yes.                                                       12 included in the booking information that's -- the
13 Q. Does this slide include resellers, finders, and agents,    13 defendants' booking information, right?
14 do you remember?                                              14 MR. CRAIG: Object to form.
15 A. No, it does not.                                           15 A. I believe so, yes.
16 Q. It does not?                                               16 Q. Okay. But it would not be -- this slide on business
17 A. It includes only the sales reps of the company.            17 partners is just finders and agents, right?
18 Q. Got it.                                                    18 A. Yes.
19      The next slide is "business partners overview". Do       19 Q. Okay.
20 you see that?                                                 20      The next slide is -- I want it go forward to 737.
21 A. Yes.                                                       21 A. Okay.
22 Q. Does "business partners overview" include resellers,       22 Q. Is this what you were talking about when you talked
23 agents, and finders?                                          23 about the pipeline?
24 A. This should include only agents and finders, because it    24 A. Yes.
25 represents the commission that we paid.                       25 Q. Okay. And the total -- I will just read from the slide.
                                                       Page 63                                                        Page 65
 1 Q. So agents and finders would earn a commission but        1 So under "pipeline process" it says:
 2 resellers would not?                                        2      "Total raw pipeline - scrubbed top to bottom
 3 A. Resellers mark up our price. As I explained, we do the   3 annually for quota/planning purposes though updated in
 4 deal with the reseller and then the reseller signs with     4 Salesforce codename on an ongoing basis."
 5 the end user.                                               5      Is that correct? Did I read that right?
 6 Q. How -- as of May 2018, can you explain how defendants 6 A. Yes. It is mostly bottom up. But, yes.
 7 accounted for reseller markups?                             7 Q. Okay.
 8 A. There is a limit of the markup that we sign them on the  8 A. It is the entire raw pipeline, like the entire
 9 reseller appointment letter, and -- yes.                    9 opportunities that we had at that particular time.
10 Q. And if a reseller sold a product, let's say for         10 Q. So, you would know -- starting with the total raw
11 a million dollars, and got to keep 5 percent, would that   11 pipeline, you would know every potential customer that
12 5 percent be a cost of the company? I am just trying to 12 might be in the pipeline?
13 understand how that factored into the company's overall 13 A. Yes.
14 accounting.                                                14 MR. CRAIG: Object to form.
15 A. No, so to explain you the difference between agent,     15 Q. And all of those customers were in Salesforce, correct?
16 finders, and resellers, so if it is a deal of -- if we     16 A. Yes.
17 do a deal directly with the end user, and the deal is on   17 Q. And this would include customers that were in
18 1 million, and we pay 5 percent commission to the agent, 18 jurisdictions where you had resellers, or jurisdictions
19 then the booking is 1 million and the net booking is       19 where you had agents, and jurisdictions where you had
20 1 million minus 5 percent. While, if it is a deal with     20 finders; it is everybody, right?
21 a reseller, if the deal is 1 million, the booking and      21 A. Yes. And also where we didn't have any of this.
22 net booking is 1 million, and, assuming this reseller      22 Q. Got it.
23 took 5 percent, it means that his agreement with the end 23 A. Most of the deals were direct deals.
24 user was on 1.05, with the additional 5 percent.           24 Q. Got it.
25 Q. I understand.                                           25      Then we go to qualify pipeline. Qualify pipeline

                                                                                                       17 (Pages 62 - 65)
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                                                      Page 66                                                          Page 68
 1 is:                                                           1 A. Yes.
 2     "Opportunities that have been reviewed and discussed      2 Q. Okay. And this includes customers and geographies that
 3 with head of sales, and has a good probability of             3 are being targeted by resellers?
 4 happening within the year."                                   4 A. Also by resellers, yes.
 5     Is that right?                                            5 Q. Okay. And is this a key piece of information for to you
 6 A. Yes.                                                       6 keep as part of your job?
 7 Q. So some subset of the total raw pipeline is in the         7 A. Yes.
 8 qualified pipeline, right?                                    8 Q. And it is accurate on a day to day basis?
 9 A. Yes.                                                       9 A. Yes.
10 Q. And that requires another review and discussion of, is    10 Q. And before any sale or contract can be entered into, it
11 this potential customer -- does it have a good               11 is likely that it passes through this pipeline, right?
12 probability of happening within the year, right?             12 A. Yes.
13 A. Yes.                                                      13 Q. Are you aware of any customer not passing through this
14 Q. So it is another check on are we likely to sell our       14 pipeline?
15 product into this market, right?                             15 A. No. This is the way we monitor, and the way we monitor
16 A. Yes.                                                      16 the pipeline and assess each opportunity, if it can be
17 Q. Okay. And then you have a third level, which is           17 qualified and if it is in the, what is called here the
18 internal target, and it says:                                18 internal target, meaning that we believe we can close it
19     "On daily basis we monitor the opportunities and         19 within the year.
20 split into high probability versus medium probability.       20 Q. As of May 2018, how many people at defendants were
21 These are deals that can close within the year and which     21 involved in this process of monitoring how customers
22 sales team has as part of their 'commit'."                   22 went through this pipeline?
23     Did I read that right?                                   23 MR. CRAIG: Objection. May lack foundation.
24 A. Yes.                                                      24 A. How many people were monitoring it?
25 Q. And this is a third level of review of a potential        25 Q. Mm-hm.
                                                      Page 67                                                          Page 69
 1 market. Is it a potential market or a potential               1 MR. CRAIG: Well, that's a different question.
 2 customer, or both?                                            2 A. So it is my team that was monitoring it. And, as it is
 3 MR. CRAIG: Object to form.                                    3 written here, together with the head of sales in each
 4 A. It's the -- as it says here, it is the potential of all    4 region -- because you do it on a region basis in order
 5 the customers that can be potentially closed, or won,         5 to see the entire picture -- and together with the CBO,
 6 within this particular year.                                  6 of course. So these are the people who are monitoring
 7 Q. So it could be multiple potential customers in the same    7 it.
 8 country?                                                      8 Q. So, if a customer was in the -- let's say had you
 9 A. Could be.                                                  9 a potential customer in the United States. They would
10 Q. Okay. Got it. So when I talk about -- when this slide     10 start in the total raw pipeline?
11 says "internal target", it is a third level of review of     11 MR. CRAIG: Objection. Foundation.
12 a potential customer in the country, right?                  12 A. Yes.
13 A. Again, sorry?                                             13 Q. And then that would be scrubbed, top to bottom, for
14 Q. It is the third level review. It starts with the total    14 quota or planning purposes. So that's the first step
15 raw pipeline --                                              15 for that customer, right?
16 A. Yes.                                                      16 MR. CRAIG: Objection. Vague.
17 Q. -- which you scrub annually. Then it is the qualified     17 A. What do you mean?
18 pipeline, which you review and discuss with the head of      18 Q. Well, we talked about the process that you did to create
19 sales. And then it is the internal target. So it is          19 the total raw pipeline. That same process would apply
20 the third level, right?                                      20 to a potential law enforcement customer in the
21 A. Yes.                                                      21 United States?
22 Q. And this is monitored on a daily basis?                   22 MR. CRAIG: Same objection.
23 A. Yes.                                                      23 A. Yes.
24 Q. So you know every day exactly what customers and          24 Q. And then they would go in to the qualified pipeline, so
25 geographies the company's targeting?                         25 they would be reviewed and discussed with the head of

                                                                                                       18 (Pages 66 - 69)
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 1    agencies?                                                          1 a zero click vector, have any impact on defendants'
 2 MR. CRAIG: Hold on.                                                   2 forecasts?
 3       Yeah, I don't think you can answer that without                 3 A. Again, sorry?
 4    revealing information about a customer.                            4 Q. Did the development of this zero click vector for
 5 A. Okay. I cannot answer.                                             5 Android in early 2018 have any impact on defendants'
 6 Q. Do you know -- you know that Mr. Shohat was deposed,               6 forecasts?
 7    correct?                                                           7 MR. CRAIG: Object to form.
 8 A. Yes.                                                               8 A. Err, not necessarily.
 9 Q. You know that, in Mr. Shohat's deposition, he told us              9 Q. What do you mean "not necessarily"?
10    that the FBI was a customer of defendants?                        10 A. It means that I cannot say that we sold more or less
11 MR. AKROTIRIANAKIS: That's not true. We can look at the              11 because of these specific vectors.
12    transcript if you want.                                           12 Q. My question wasn't about sales, it was about -- I wanted
13 MR. MARZORATI: Okay. We can skip this.                               13 to first talk about forecasts.
14 By Mr. Marzorati:                                                    14 A. Yes, but ...
15 Q. Throughout 2018 and 2019 you were in your role as VP of           15 Q. Same answer?
16    global business operations, correct?                              16 A. Yeah.
17 A. Again, when?                                                      17 Q. Did you make any changes to the forecast as a result of
18 Q. In 2018 and 2019 you were director of --                          18 the vector?
19 A. Director.                                                         19 A. No.
20 Q. Okay. And that involved an understanding of defendants'           20 Q. Did you understand, in December 2018, that Heaven
21    products generally, right?                                        21 stopped working?
22 A. As I said before, only to the extent of, as I said,               22 A. I don't know.
23    covert vectors, and triggered vectors.                            23 Q. You don't know or you don't remember?
24 Q. And you remained generally aware that there were                  24 A. Um, I don't remember.
25    different vectors for products?                                   25 Q. Okay. Have you ever heard of an installation vector
                                                              Page 87                                                         Page 89
 1 A. Yes.                                                     1   referred to as Eden, or Eden?
 2 Q. Yes. Do you remember hearing about a breakthrough in 2 A. Yes.
 3 installation vectors in 2018 or 2019? That the company      3 Q. What's your understanding of Eden?
 4 had a breakthrough?                                         4 A. Again, another covert Android vector.
 5 MR. CRAIG: Objection. Vague.                                5 Q. Okay.
 6 A. Yeah, what do you mean by breakthrough?                  6 A. From my perspective.
 7 Q. Do you remember hearing about any breakthrough with 7 Q. And who told you about Eden?
 8 respect to an installation vector?                          8 MR. CRAIG: Object to form.
 9 MR. CRAIG: Objection. Vague.                                9 A. No one in particular. I mean, the name was used in the
10 A. I don't remember.                                       10   company, so I heard the name. But, from a sales
11 Q. Okay. Are you aware that defendants developed a zero 11 perspective, we call it "covert Android" or
12 click vector for Android in early 2018?                    12   "Hummingbird", which was the name towards customers for
13 A. Yes.                                                    13   covert -- of covert Android vectors. So we never used
14 Q. Okay, and you are aware that's sometimes referred to    14   these internal names.
15 internally as Hummingbird?                                 15 Q. Okay.
16 A. Yes.                                                    16      I want to focus on 2017, which is the period when
17 Q. Okay. And that there is an installation vector called   17   you joined. Did defendants tell customers that they had
18 Heaven? Are you aware that defendants developed an         18   a covert vector for Android?
19 installation vector called Heaven in early 2018?           19 MR. CRAIG: Objection. Calls for speculation.
20 A. I heard the name.                                       20 A. Again, what was the question?
21 Q. Do you know how Heaven worked?                          21 Q. In 2017 did defendants tell their customers, or
22 A. No.                                                     22   potential customers, that there was a covert vector for
23 Q. Did you know that it used WhatsApp?                     23   Android?
24 A. No.                                                     24 A. I don't know.
25 Q. Okay. Did the development of an installation vector, of 25 Q. Okay. Do you remember that being used in internal

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 1    materials?                                                            1 A. Yes.
 2 MR. CRAIG: Objection. Vague.                                             2 Q. And you communicate with other people who work for
 3 A. I don't know.                                                         3    defendants via the WhatsApp app on your phone?
 4 Q. Did you ever talk to customers?                                       4 A. Yes.
 5 A. Um, not about that.                                                   5 Q. And you used the normal -- you downloaded it from the
 6 Q. Okay. What would you talk to them about?                              6    App Store? Tell me how you got the WhatsApp app on your
 7 A. I am not sure I can say.                                              7    phone?
 8 Q. Are you not allowed to say under Israeli law?                         8 A. It was so many years ago, I don't remember.
 9 A. Yes.                                                                  9 Q. Do you remember agreeing to the terms of service?
10   (Exhibit 2003           marked for identification)                    10 MR. CRAIG: Objection. Legal conclusion.
11 Q. Okay. I want to show you a document that has previously              11 A. I don't think I read it.
12    been marked as exhibit 2003.                                         12 Q. Okay. Whatever you needed to do to install it, you did
13 MR. CRAIG: Thank you.                                                   13    it?
14 Q. And for the record, this is a document with Bates stamp              14 A. Okay, yes.
15    DIVITTORIO_WhatsApp_00000058. I will represent to you                15 Q. So this is a WhatsApp message that was sent to a group
16    that this is the way that WhatsApp messages are produced             16    of participants, including you, is that correct?
17    in litigation.                                                       17 A. Yes. This is what I see, what I read here.
18 A. Okay.                                                                18 Q. And the date is January 31, 2019, right?
19 Q. So this is a WhatsApp message.                                       19 A. This is what I read.
20 A. Okay.                                                                20 Q. Okay, but you don't remember this WhatsApp message?
21 Q. And I will let you read the document, but I want to give             21 A. No.
22    you a flag on the first message, which is -- this is the             22 Q. Okay. But you have no reason to doubt that you actually
23    way the document was produced to us by your lawyers, but             23    received this message, right?
24    I understand, knowing no Hebrew myself, that --                      24 A. Yes.
25 A. Yes, it is like --                                                   25 Q. Okay. I understand that the first message is, in the

                                                                 Page 91                                                                  Page 93
 1 Q. -- it may be difficult to read.                                       1    way that your lawyers gave it to us, a little garbled.
 2 A. Yes, it is difficult to read.                                         2    But I am going to try to summarize what it says, and you
 3 Q. Okay.                                                                 3    can tell me if that's kind of what it says, is that
 4      The first name under "other recipients", at the top,                4    alright?
 5 is that you and your WhatsApp number?                                    5 MR. CRAIG: Well, you have a translator here that I think is
 6 MR. CRAIG: Objection. Vague.                                             6    in a much better position to do that than the witness
 7 A. Yeah, I can see my number and my name.                                7    is.
 8 Q.                  ?                                                    8 THE INTERPRETER: I can read it in the Hebrew.
 9 A. Yes.                                                                  9 MR. MARZORATI: Okay.
10 Q. Okay. Do you use that WhatsApp number for work                       10 THE INTERPRETER: Okay.
11 purposes?                                                               11 A. Okay.
12 A. Yes.                                                                 12 By Mr. Marzorati:
13 Q. Okay.                                                                13 Q. Do you understand, generally, what this message means or
14 MR. CRAIG: Sorry, Luca, I just want to note here for the                14    is it incomprehensible?
15 record, again, that we are continuing to designate this                 15 A. No, it is understandable.
16 transcript highly confidential, attorneys' eyes only.                   16 Q. Great. This is announcing that the Eden installation
17 Especially in light of now containing her personal phone                17    vector has been developed for Android, is that right?
18 number.                                                                 18    Eden for Android?
19 Q. Okay.                                                                19 MR. CRAIG: Objection to form.
20      Do you have another WhatsApp account that you use                  20 A. This is what I read.
21 for personal or do you have just one WhatsApp account?                  21 Q. Okay. And it was scheduled for deployment in
22 A. Should I answer?                                                     22    early February?
23 MR. CRAIG: Yes.                                                         23 A. This is what I read here.
24 A. I have only this one.                                                24 Q. And at the end of the message it says something like
25 Q. Okay. Do you have the WhatsApp app on your phone?                    25    "great success"?

                                                                                                                          24 (Pages 90 - 93)
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 1          CERTIFICATE OF COURT REPORTER                                   1 WHATSAPP INC., et al. vs.
 2 I, CHRIS LANG, an Accredited Real-time Reporter, hereby                      NSO GROUP TECHNOLOGIES LTD. et al.
 3 certify that the testimony of the witness SARIT GIL in the               2 9/6/2024 - SARIT BIZINSKY GIL
 4 foregoing transcript, taken on this 6TH day of SEPTEMBER,                3          ERRATA SHEET
 5 2024 was recorded by me in machine shorthand and was                     4 PAGE_____ LINE_____ CHANGE______________________
 6 thereafter transcribed by me; and that the foregoing                     5 ________________________________________________
 7 transcript is a true and accurate verbatim record of the                 6 REASON__________________________________________

 8 said testimony.                                                          7 PAGE_____ LINE_____ CHANGE______________________
                                                                            8 ________________________________________________
 9
                                                                            9 REASON__________________________________________
10 I further certify that I am not a relative, employee,
                                                                           10 PAGE_____ LINE_____ CHANGE______________________
11 counsel or financially involved with any of the parties to
                                                                           11 ________________________________________________
12 the within cause, nor am I an employee or relative of any
                                                                           12 REASON__________________________________________
13 counsel for the parties, nor am I in any way interested in
                                                                           13 PAGE_____ LINE_____ CHANGE______________________
14 the outcome of the within cause.
                                                                           14 ________________________________________________
15
                                                                           15 REASON__________________________________________
16      <%2120,Signature%>
                                                                           16 PAGE_____ LINE_____ CHANGE______________________
17 Name: CHRIS LANG
                                                                           17 ________________________________________________
18 Date: 9/6/24                                                            18 REASON__________________________________________
19                                                                         19 PAGE_____ LINE_____ CHANGE______________________
20                                                                         20 ________________________________________________
21                                                                         21 REASON__________________________________________
22                                                                         22
23                                                                         23 ________________________________ _____________
24                                                                         24 SARIT BIZINSKY GIL           Date
25                                                                         25

                                                                Page 247
 1 WHATSAPP INC., et al. vs.
     NSO GROUP TECHNOLOGIES LTD. et al.
 2 9/6/2024 - SARIT BIZINSKY GIL
 3         ACKNOWLEDGEMENT OF DEPONENT
 4 I, SARIT BIZINSKY GIL , do hereby declare that I
 5 have read the foregoing transcript, I have made
 6 any corrections, additions, or changes I deemed
 7 necessary as noted on the Errata to be appended
 8 hereto, and that the same is a true, correct and
 9 complete transcript of the testimony given by me.
10
11 ______________________________ _______________
12 SARIT BIZINSKY GIL                 Date
13 *If notary is required
14       SUBSCRIBED AND SWORN TO BEFORE ME THIS
15       ______ DAY OF ________________, 20___.
16
17
18             __________________________
19             NOTARY PUBLIC
20
21
22
23
24
25

                                                                                                              63 (Pages 246 - 248)
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              EXHIBIT 37
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   to Declaration of Micah G. Block in Support of
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               EXHIBIT 40
   to Declaration of Micah G. Block in Support of
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  Summary Judgment or Partial Summary Judgment
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           Infrastructure Related to Exploit Targeting WA VOiP
           Vulnerability
           c2 servers believed to be used to deliver malicious payloads (malware)


                  IP Address of C2           ASN   Subnet       Provider       Country Provider Full Name
                  Server                                                       Location
                                                                               of
                                                                               Provider
             1                                                  GREENCLOUDVPS- VN       365 Online technology joint
                                                                AS                      stock company, VN
             2                                                  SNL            HK       HK Starry Network Limited, HK
             3                                                  EXBCOID-AS     ID       AP PT. EXABYTES NETWORK
                                                                                        INDONESIA, ID
             4                                                  ASN-QUADRANET- us       QuadraNet Enterprises LLC, US
                                                                GLOBAL
             5                                                  IOMART         GB       AS, GB
             6                                                  UKSERVERS      GB       AS UK Dedicated Servers,
                                                                                        Hosting and Co-Location, GB
             7                                                  UKSERVERS      GB       AS UK Dedicated Servers,
                                                                                        Hosting and Co-Location, GB
             8                                                  UKSERVERS      GB       AS UK Dedicated Servers,
                                                                                        Hosting and Co-Location, GB
             9                                                  UKSERVERS      GB       AS UK Dedicated Servers,
                                                                                        Hosting and Co-Location, GB
             10                                                 PORTLANE       SE       www.portlane\.com, SE
             11                                                 HZ-NL          GB
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            ............               ............................      ................................................................. ............................ ...............................................................................................
              12                                                            WORLDSTREAM,                                                    NL
              13                                                            NET23                                                           HU
              14                                                            NET23                                                           HU
              15                                                            NET23                                                           HU
              16                                                            NET23                                                           HU
              17                                                            NET23                                                           HU
              18                                                            NET23                                                           HU
              19                                                            NET23                                                           HU
              20                                                            NET23                                                           HU
              21                                                            NET23                                                           HU
              22                                                            HostSailer                                                      AE
              23                                                            YISP                                                            NL
              24                                                            YISP                                                            NL
              25                                                            YISP                                                            NL
              26                                                            HS                                                              AE
              27                                                            TTM                                                             DE
              28                                                            IOMART                                                          GB
              29                                                            IOMART                                                          GB
              30                                                            DATACLUB                                                        LV
              31                                                            HZ-NL                                                            GB
              32                                                             IOMART                                                          GB
              33                                                            AMAZON-02                                                        us                           Amazon\.com, Inc., US
              34                                                            PORTLANE                                                        SE                            www.portlane\.com, SE
              35                                                            PORTLANE                                                        SE                            www.portlane\.com, SE
              36                                                            IOMART                                                          GB
              37                                                            IOMART                                                          GB
              38                                                            UKSERVERS                                                       GB                            AS UK Dedicated Servers,
                                                                                                                                                                           Hosting and Co-Location, GB
              39                                                             UKSERVERS                                                       GB                           AS  UK Dedicated Servers,
                                                                                                                                                                           Hosting and Co-Location, GB
              40                                                             UKSERVERS                                                       GB                           AS  UK Dedicated Servers,
            ............               ..                                ................................................................. ............................
                                                                                                                                                                        ___Hosting_and __Co-Location, __GB ____
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           Passive DNS for                                                                      showing NSO domains resolving to that IP:

                         A                                                                                                                                                                      B                                                                                              C
                 1       Domain                                                                                                                                                                 First Seen                                                                                     Last Seen
                2        sip.q\.co                                                                                                                                                                2018-03-27 09                                                                                2019-05-08 10
                                                                                                                                                                                               :19:49                                                                                          :31:54
                3 sip.nsogroup\.com                                                                                                                                                               2018-01-16 11                                                                                2019-05-06 02
                                                                                                                                                                                               :10:46                                                                                          :49:09
                4 sip.qtechnologies\.com                                                                                                                                                      2018-10-03 21                                                                                     2019-05-03 20
                                                                                                                                                                                               :08:22                                                                                          :35:25
                5 access.nsogroup\.com                                                                                                                                                         2018-01-16 11                                                                                   2018-03-20 12
                                                                                                                                                                                               :10:46
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                                                                                                                                                                                                                                                                                               :59:47
           resolve, firstSeen, lastSeen, source, tags
           sip.q.co,2018-03-27 09:19:49,2019-05-08 10:31:54,kasperskylpinglylriskiq,
           sip.nsogroup.com,2018-01-16 11:10:46,2019-05-06 02:49:09,kasperskylpinglylriskiq,
           sip.qtechnologies.com,2018-10-03 21:08:22,2019-05-03 20:35:25,kasperskylpinglylriskiq,
           sip.2access.xyz,2018-10-05 23:34:30,2019-03-30 22:38:41,kasperskylpinglylriskiq,
           access.2access.co,2018-03-27 03:42:49,2019-01-04 02:32:18,kasperskylp inglylriskiq,
           ec2-                                                                                               eu-central-1.compute.amazonaws.com,2017-12-05 17:29:48,2019-01-03 09:53:35,riskiq,
           access.nsogroup.com,�_018-01-16 11:10:46,2018-03-20 12:59:47, pinglylriskiq,



           Attacker to Target Numbers
           The following WA numbers appear to have been used by the attackers to send the first stage of the exploit to at least one
           individual in the Un ited S ta tes and o ther indiv iduals in mul tiple coun tries, including Mexico, Bahra in, Algeria, Morocco,
           India, Pakistan, Uzbekistan, and other locations.
                      Attacker Phone (D ist inct )                                               Attacker Phone Locale            Total Attacker
                                                                                                                                  Phones/Locale
             1                                                                                   Austria Europe                   2
            2                              ................................................... ..A.L.l.�t,r,i�---�-LJ.r.<?.P�....
Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                                      WA-NSO-00192009
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Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                            WA-NSO-00192010
                                                                  Case 4:19-cv-07123-PJH                                                          Document 679-6                                         Filed 04/04/25                                   Page 123 of 139




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             60                                                                                                                             Indonesia Asia                                                                                                                            9
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Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                                                                  WA-NSO-00192011
                                                                  Case 4:19-cv-07123-PJH                                                                               Document 679-6                                                             Filed 04/04/25   Page 124 of 139




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             67                                                                                                                                                                                        Indonesia Asia
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Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                                                                  WA-NSO-00192012
                                        Case 4:19-cv-07123-PJH                                         Document 679-6                                         Filed 04/04/25                                   Page 125 of 139




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             99                                                                                    Netherlands Europe
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Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                       WA-NSO-00192013
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             131                                                                                        Sweden Europe
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Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                            WA-NSO-00192014
                                                            Case 4:19-cv-07123-PJH                                                        Document 679-6                                         Filed 04/04/25                                   Page 127 of 139




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              163                                                                                                                   Sweden Europe
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                                                                                                                                    Turkey Asia ....................................................................................................................
           Victim              Country Count
           ............................................................................................................................................
                                         Victim Country                                                                                                                                                                                                Count
             1                           Mexico, North America                                                                                                                                                                                        456
             2                            India, Asia                                                                                                                                                                                                 100
             3                           Bahrain, Asia                                                                                                                                                                                                82
             4                           Morocco, Africa                                                                                                                                                                                              69
             5                            Pakistan, Asia                                                                                                                                                                                              58
             6                            Indonesia, Asia                                                                                                                                                                                             54
              7                           Israel, Asia                                                                                                                                                                                                51
             8                           Uzbekistan, Asia                                                                                                                                                                                             43
             9                           Algeria, Africa                                                                                                                                                                                              38
             10                          Cyprus, Asia                                                                                                                                                                                                 31
             11                          Turkey, Asia                                                                                                                                                                                                 26
             12                          Spain, Europe                                                                                                                                                                                                21
              13                         Uganda, Africa                                                                                                                                                                                               18
              14                         Togo, Africa                                                                                                                                                                                                 16
              15                         Netherlands, Europe                                                                                                                                                                                          11
              16                         Syria, Asia                                                                                                                                                                                                  11
              17                         Democratic Republic of the Congo, Africa                                                                                                                                                                     10
              18                         Djibouti, Africa                                                                                                                                                                                             10
              19                         Lebanon, Asia                                                                                                                                                                                                9
              20                         South Africa, Africa                                                                                                                                                                                         9
              21                          Hungary, Europe                                                                                                                                                                                             8
              22                                                                                                                                                                                                                                      7
                                         Croatia, Europe .......................................................................................................................................................................................... .................
Highly Confidential - Attorneys' Eyes Only                                                                                                                                                                                                                                                                                          WA-NSO-00192015
                                                                  Case 4:19-cv-07123-PJH                                                          Document 679-6                                         Filed 04/04/25                                   Page 128 of 139




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             23                          France, Europe                                                                                                                                                                                                                            7
             24                          Kazakhstan, Asia                                                                                                                                                                                                                          7
             25                          Latvia, Europe                                                                                                                                                                                                                            7
             26                          Kyrgyzstan, Asia                                                                                                                                                                                                                          6
             27                          United Arab Emirates, Asia                                                                                                                                                                                                                6
             28                          Estonia, Europe                                                                                                                                                                                                                           5
             29                          Belgium, Europe                                                                                                                                                                                                                           4
             30                          Burundi, Africa                                                                                                                                                                                                                           4
             31                          Finland, Europe                                                                                                                                                                                                                           4
             32                          Brazil, South America                                                                                                                                                                                                                     3
             33                          Rwanda, Africa                                                                                                                                                                                                                            3
             34                          Singapore, Asia                                                                                                                                                                                                                           3
             35                          Sudan, Africa                                                                                                                                                                                                                             3
             36                          Switzerland, Europe                                                                                                                                                                                                                       3
             37                          Germany, Europe                                                                                                                                                                                                                           2
             38                          Kenya, Africa                                                                                                                                                                                                                             2
             39                          Qatar, Asia                                                                                                                                                                                                                               2
             40                          Tanzania, Africa                                                                                                                                                                                                                          2
             41                          United Kingdom, Europe                                                                                                                                                                                                                    2
             42                          Afghanistan, Asia                                                                                                                                                                                                                         1
             43                          Barbados, North America                                                                                                                                                                                                                   1
             44                          Bosnia and Herzegovina, Europe                                                                                                                                                                                                            1
             45                          Canada, North America                                                                                                                                                                                                                     1
             46                          Egypt, Africa                                                                                                                                                                                                                             1
             47                          Peru, South America                                                                                                                                                                                                                       1
             48                          Thailand, Asia                                                                                                                                                                                                                            1
             49                          Venezuela, South America                                                                                                                                                                                                                  1
             50                          Yemen, Asia                                                                                                                                                                                                                               1
             51                          United:        North America                                                                                                                                                                                                              1


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           The following errors were encountered while copying your document:
            - An error occurred while attempting to fix Embedded Tables.




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   to Declaration of Micah G. Block in Support of
   Plaintiffs’ Opposition to Defendants’ Motion for
  Summary Judgment or Partial Summary Judgment
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userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates         transfers               num_transfer
         6103743987   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        NL                                                               1
         6108289999   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                                               1
         6334562024   attacker     attacker       5/9/2019      4/3/2019          purge             6/8/2019        NL                                                               1
         6205347333   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                                               1
         6151092881   attacker     attacker       5/6/2019      2/27/2019         purge             7/7/2019        SE                                                               1
         6108210128   attacker     attacker       4/30/2019     2/19/2019         purge             7/1/2019        SE                                                               1
         6149450483   attacker     attacker       5/8/2019      2/27/2019         purge             7/9/2019        NL                                                               1
         6050032579   attacker     attacker       5/5/2019      2/8/2019          purge             7/6/2019        NL                                                               1
         6500203792   attacker     attacker       5/12/2019     5/5/2019          purge             6/17/2019       CY                                                               1
         5744876452   attacker     attacker       5/2/2019      12/13/2018        purge             7/3/2019        IL                                                               1
         6153549116   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                                               1
         6499248604   attacker     attacker       5/6/2019      5/5/2019          purge             6/5/2019        CY                                                               1
         6022847519   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                                               1
         6155579743   attacker     attacker       5/4/2019      2/28/2019         purge             6/3/2019        NL                                                               1
         6102570691   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                                               1
         6357577570   NSO          NSO Group      5/2/2019      4/8/2019          purge             7/9/2019        IL                ["2019-04-23","2019- ["IN -> IL","IL -> IN"]   2
                                                                                                                                      04-15"]
         6105974611   attacker     attacker       5/7/2019      2/18/2019         purge             6/6/2019        NL                                                               1
         6106812082   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                                               1
         6478849795   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                                               1
         6005916338   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                                               1
         5732503229   attacker     attacker       5/6/2019      12/10/2018        purge             7/7/2019        SE                                                               1
         6146761662   attacker     attacker       5/6/2019      2/26/2019         purge             7/7/2019        SE                                                               1
         5663498053   NSO          NSO Group      2/11/2019     11/27/2018        purge             4/20/2019       IL                                                               1
         6002339476   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                                               1
         6258373447   attacker     attacker       5/2/2019      3/20/2019         purge             7/3/2019        NL                                                               1
         6500404661   attacker     attacker       5/5/2019      5/5/2019          purge             6/5/2019        CY                                                               1
         6024496487   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                                               1
         6109448239   attacker     attacker       5/7/2019      2/19/2019         purge             7/8/2019        SE                                                               1
         6206331649   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                                               1
         6002816412   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                                               1
         6216603413   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        SE                                                               1
         6504044703   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                                               1
         6099324154   attacker     attacker       5/8/2019      2/17/2019         purge             7/9/2019        NL                                                               1
         6207724985   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                                               1
         6218708984   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        CY                                                               1
         6218150132   attacker     attacker       5/4/2019      3/12/2019         purge             6/3/2019        NL                                                               1
         6301207753   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                                               1
         6109953296   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                                               1
         6472543390   attacker     attacker       5/2/2019      4/30/2019         purge             6/2/2019        CY                                                               1
         6394764087   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                                               1
         6152974278   attacker     attacker       5/3/2019      2/28/2019         purge             6/3/2019        NL                                                               1
         6153573186   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                                               1
         6108203369   attacker     attacker       5/6/2019      2/19/2019         purge             6/6/2019        NL                                                               1
         6061647976   NSO          NSO Group      5/2/2019      2/10/2019         purge             7/9/2019        IL                ["2019-04-18","2019- ["IN -> IL","IL ->        6
                                                                                                                                      03-17","2019-03-     ID","ID -> IL","IL ->
                                                                                                                                      27","2019-04-        IN","SG -> IL","IL ->
                                                                                                                                      14","2019-04-        SG"]
                                                                                                                                      08","2019-03-31"]




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userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6476845603   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6071275998   attacker     attacker       5/4/2019      2/12/2019         purge             6/3/2019        NL                                             1
         6506415140   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6205049002   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6504646455   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6513224559   attacker     attacker       5/8/2019      5/8/2019          purge             6/7/2019        CY                                             1
         6156905113   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6208790002   attacker     attacker       5/4/2019      3/10/2019         purge             6/3/2019        SE                                             1
         6104008493   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                             1
         6477477878   attacker     attacker       5/1/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6120017825   attacker     attacker       5/6/2019      2/21/2019         purge             6/5/2019        SE                                             1
         6299619093   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                             1
         6156837889   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6392792360   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                             1




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               EXHIBIT 42
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userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6105444136   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6243581667   attacker     attacker       5/4/2019      3/17/2019         natural           5/4/2019        ID                                             1
         6029451264   attacker     attacker       5/12/2019     2/4/2019                                            SE                                             1
         6076902872   attacker     attacker       5/10/2019     2/13/2019                                           SE                                             1
         6103743987   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        NL                                             1
         6108289999   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                             1
         6028162683   attacker     attacker       5/10/2019     2/4/2019                                            NL                                             1
         6334562024   attacker     attacker       5/9/2019      4/3/2019          purge             6/8/2019        NL                                             1
         6501096241   attacker     attacker       5/12/2019     5/5/2019                                            CY                                             1
         6368836156   attacker     attacker       5/12/2019     4/10/2019                                           CY                                             1
         6004453026   attacker     attacker       5/12/2019     1/30/2019                                           SE                                             1
         6469249783   attacker     attacker       5/12/2019     4/29/2019                                           CY                                             1
         6152786953   attacker     attacker       5/12/2019     2/28/2019                                           NL                                             1
         6205347333   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6503225476   attacker     attacker       5/12/2019     5/6/2019                                            ID                                             1
         6078718634   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6151092881   attacker     attacker       5/6/2019      2/27/2019         purge             7/7/2019        SE                                             1
         6098770247   attacker     attacker       5/10/2019     2/17/2019                                           SE                                             1
         6325260330   attacker     attacker       5/11/2019     4/2/2019                                            CY                                             1
         6032145169   attacker     attacker       5/12/2019     2/4/2019                                            SE                                             1
         6262392959   attacker     attacker       5/12/2019     3/20/2019                                           SE                                             1
         6082128641   attacker     attacker       5/10/2019     2/14/2019                                           SE                                             1
         6108210128   attacker     attacker       4/30/2019     2/19/2019         purge             7/1/2019        SE                                             1
         6208986194   attacker     attacker       5/12/2019     3/10/2019                                           SE                                             1
         6212034284   attacker     attacker       5/10/2019     3/11/2019                                           SE                                             1
         6149450483   attacker     attacker       5/8/2019      2/27/2019         purge             7/9/2019        NL                                             1
         6267490104   attacker     attacker       5/12/2019     3/21/2019                                           SE                                             1
         6050032579   attacker     attacker       5/5/2019      2/8/2019          purge             7/6/2019        NL                                             1
         6179538473   attacker     attacker       7/3/2019      3/5/2019                                            US                                             1
         6143676951   attacker     attacker       5/12/2019     2/26/2019                                           NL                                             1
         6500203792   attacker     attacker       5/12/2019     5/5/2019          purge             6/17/2019       CY                                             1
         6467895549   attacker     attacker       5/12/2019     4/29/2019                                           CY                                             1
         5744876452   attacker     attacker       5/2/2019      12/13/2018        purge             7/3/2019        IL                                             1
         6153549116   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6499248604   attacker     attacker       5/6/2019      5/5/2019          purge             6/5/2019        CY                                             1
         6121335644   attacker     attacker       5/12/2019     2/21/2019                                           SE                                             1
         6355080920   attacker     attacker       5/11/2019     4/7/2019                                            CY                                             1
         6022847519   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                             1
         6256086398   attacker     attacker       5/12/2019     3/19/2019                                           SE                                             1
         6113150304   attacker     attacker       5/9/2019      2/20/2019                                           NL                                             1
         6032563548   attacker     attacker       5/10/2019     2/4/2019                                            NL                                             1
         6154923185   attacker     attacker       5/13/2019     2/28/2019                                           SE                                             1
         5509702620   attacker     attacker       5/24/2019     10/29/2018                                          US                                             1
         6155579743   attacker     attacker       5/4/2019      2/28/2019         purge             6/3/2019        NL                                             1
         6077635271   attacker     attacker       5/11/2019     2/13/2019                                           NL                                             1
         6102570691   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                             1
         6259834569   attacker     attacker       5/11/2019     3/20/2019                                           SE                                             1
         6247183445   attacker     attacker       5/12/2019     3/18/2019                                           SE                                             1
         6210905678   attacker     attacker       5/10/2019     3/11/2019                                           SE                                             1
         6105974611   attacker     attacker       5/7/2019      2/18/2019         purge             6/6/2019        NL                                             1



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userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         5738969028   attacker     attacker       5/13/2019     12/12/2018                                          AT                                             1
         6106812082   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                             1
         6367649888   attacker     attacker       5/12/2019     4/10/2019                                           NL                                             1
         6103780102   attacker     attacker       5/9/2019      2/18/2019                                           SE                                             1
         6478849795   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6005916338   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                             1
         6114856199   attacker     attacker       5/11/2019     2/20/2019                                           SE                                             1
         6051518815   attacker     attacker       5/12/2019     2/8/2019                                            NL                                             1
         6076081163   attacker     attacker       5/10/2019     2/13/2019                                           NL                                             1
         5732503229   attacker     attacker       5/6/2019      12/10/2018        purge             7/7/2019        SE                                             1
         6077823677   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6146761662   attacker     attacker       5/6/2019      2/26/2019         purge             7/7/2019        SE                                             1
         6050401515   attacker     attacker       5/12/2019     2/8/2019                                            NL                                             1
         6040981076   attacker     attacker       5/10/2019     2/6/2019                                            NL                                             1
         6047995313   attacker     attacker       5/10/2019     2/7/2019                                            NL                                             1
         6081075313   attacker     attacker       5/12/2019     2/14/2019                                           SE                                             1
         6259442613   attacker     attacker       5/10/2019     3/20/2019                                           NL                                             1
         6002339476   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                             1
         6076252847   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6258373447   attacker     attacker       5/2/2019      3/20/2019         purge             7/3/2019        NL                                             1
         6032654071   attacker     attacker       5/9/2019      2/4/2019                                            CY                                             1
         6500404661   attacker     attacker       5/5/2019      5/5/2019          purge             6/5/2019        CY                                             1
         6070521361   attacker     attacker       5/12/2019     2/12/2019                                           NL                                             1
         6024496487   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                             1
         6109448239   attacker     attacker       5/7/2019      2/19/2019         purge             7/8/2019        SE                                             1
         6100061526   attacker     attacker       5/12/2019     2/17/2019                                           SE                                             1
         6247061970   attacker     attacker       5/12/2019     3/18/2019                                           SE                                             1
         6078252728   attacker     attacker       5/10/2019     2/13/2019                                           SE                                             1
         6120394832   attacker     attacker       5/12/2019     2/21/2019                                           SE                                             1
         6105563586   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6206331649   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6337444467   attacker     attacker       5/9/2019      4/4/2019                                            NL                                             1
         6143553766   attacker     attacker       5/12/2019     2/26/2019                                           SE                                             1
         6002816412   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                             1
         6216603413   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        SE                                             1
         6114552550   attacker     attacker       5/12/2019     2/20/2019                                           SE                                             1
         6050764839   attacker     attacker       5/11/2019     2/8/2019                                            NL                                             1
         6329156411   attacker     attacker       5/12/2019     4/2/2019                                            CY                                             1
         6504044703   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6187021912   attacker     attacker       7/9/2019      3/6/2019                                            US                                             1
         6099324154   attacker     attacker       5/8/2019      2/17/2019         purge             7/9/2019        NL                                             1
         6207724985   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6218708984   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        CY                                             1
         6101002346   attacker     attacker       5/12/2019     2/17/2019                                           SE                                             1
         6256288700   attacker     attacker       5/9/2019      3/19/2019                                           SE                                             1
         6216568907   attacker     attacker       5/12/2019     3/12/2019                                           SE                                             1
         6109548904   attacker     attacker       5/12/2019     2/19/2019                                           SE                                             1
         6082767014   attacker     attacker       5/10/2019     2/14/2019                                           SE                                             1
         6218150132   attacker     attacker       5/4/2019      3/12/2019         purge             6/3/2019        NL                                             1
         6301207753   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                             1



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userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6174391968   attacker     attacker       5/12/2019     3/4/2019                                            ZA                                             1
         6109953296   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                             1
         6329749998   attacker     attacker       5/12/2019     4/2/2019                                            CY                                             1
         6108486367   attacker     attacker       5/7/2019      2/19/2019                                           CY                                             1
         6121451178   attacker     attacker       5/9/2019      2/21/2019                                           SE                                             1
         6242775066   attacker     attacker       5/12/2019     3/17/2019                                           ID                                             1
         6085286680   attacker     attacker       5/11/2019     2/14/2019                                           NL                                             1
         6148701473   attacker     attacker       5/12/2019     2/27/2019                                           SE                                             1
         6053747406   attacker     attacker       5/10/2019     2/8/2019                                            NL                                             1
         5893135494   attacker     attacker       5/8/2019      1/9/2019                                            CY                                             1
         6472543390   attacker     attacker       5/2/2019      4/30/2019         purge             6/2/2019        CY                                             1
         6105623221   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6394764087   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                             1
         6152974278   attacker     attacker       5/3/2019      2/28/2019         purge             6/3/2019        NL                                             1
         6353188228   attacker     attacker       5/12/2019     4/7/2019                                            CY                                             1
         5974715003   attacker     attacker       5/12/2019     1/24/2019                                           NL                                             1
         6096293436   attacker     attacker       5/12/2019     2/17/2019                                           SE                                             1
         6153573186   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6111174567   attacker     attacker       5/11/2019     2/19/2019                                           NL                                             1
         6371123810   attacker     attacker       5/9/2019      4/10/2019                                           CY                                             1
         6261706711   attacker     attacker       5/11/2019     3/20/2019                                           SE                                             1
         6326040444   attacker     attacker       5/11/2019     4/2/2019                                            CY                                             1
         6328452740   attacker     attacker       5/11/2019     4/2/2019                                            CY                                             1
         6368267588   attacker     attacker       5/10/2019     4/10/2019                                           CY                                             1
         6108203369   attacker     attacker       5/6/2019      2/19/2019         purge             6/6/2019        NL                                             1
         6476845603   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6500911096   attacker     attacker       5/12/2019     5/5/2019                                            CY                                             1
         6029574962   attacker     attacker       5/10/2019     2/4/2019                                            NL                                             1
         6071275998   attacker     attacker       5/4/2019      2/12/2019         purge             6/3/2019        NL                                             1
         6369100390   attacker     attacker       5/10/2019     4/10/2019                                           CY                                             1
         6506415140   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6466873266   attacker     attacker       5/11/2019     4/29/2019                                           CY                                             1
         6079841064   attacker     attacker       5/11/2019     2/13/2019                                           SE                                             1
         6205049002   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6080011461   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6504646455   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6252258794   attacker     attacker       5/9/2019      3/19/2019                                           SE                                             1
         6513224559   attacker     attacker       5/8/2019      5/8/2019          purge             6/7/2019        CY                                             1
         6255422384   attacker     attacker       5/9/2019      3/19/2019                                           SE                                             1
         6475586409   attacker     attacker       5/10/2019     4/30/2019                                           CY                                             1
         6156905113   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6338832036   attacker     attacker       5/9/2019      4/4/2019                                            NL                                             1
         6208790002   attacker     attacker       5/4/2019      3/10/2019         purge             6/3/2019        SE                                             1
         6400224506   attacker     attacker       5/12/2019     4/16/2019                                           SE                                             1
         6104008493   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                             1
         6114418429   attacker     attacker       5/10/2019     2/20/2019                                           NL                                             1
         6153215353   attacker     attacker       5/10/2019     2/28/2019                                           NL                                             1
         6261959812   attacker     attacker       5/11/2019     3/20/2019                                           SE                                             1
         5738500677   attacker     attacker       5/9/2019      12/12/2018                                          AT                                             1
         6477477878   attacker     attacker       5/1/2019      5/1/2019          purge             6/2/2019        CY                                             1



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userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6120017825   attacker     attacker       5/6/2019      2/21/2019         purge             6/5/2019        SE                                             1
         6032594369   attacker     attacker       5/9/2019      2/4/2019                                            CY                                             1
         6248385121   attacker     attacker       5/10/2019     3/18/2019                                           SE                                             1
         6101712833   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6052236642   attacker     attacker       5/11/2019     2/8/2019                                            NL                                             1
         6299619093   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                             1
         6150781378   attacker     attacker       5/12/2019     2/27/2019                                           NL                                             1
         6147574643   attacker     attacker       5/9/2019      2/27/2019                                           CY                                             1
         6249134404   attacker     attacker       5/12/2019     3/18/2019                                           ID                                             1
         6080922666   attacker     attacker       5/12/2019     2/14/2019                                           NL                                             1
         6244335608   attacker     attacker       5/12/2019     3/17/2019                                           ID                                             1
         6474340973   attacker     attacker       5/10/2019     4/30/2019                                           CY                                             1
         6467887309   attacker     attacker       5/10/2019     4/29/2019                                           CY                                             1
         6156837889   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6116352919   attacker     attacker       5/12/2019     2/20/2019                                           SE                                             1
         6204999327   attacker     attacker       5/11/2019     3/10/2019                                           SE                                             1
         5737158373   attacker     attacker       5/8/2019      12/11/2018                                          NL                                             1
         6328577949   attacker     attacker       5/10/2019     4/2/2019                                            CY                                             1
         6151201631   attacker     attacker       5/12/2019     2/27/2019                                           NL                                             1
         6392792360   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                             1




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